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                         Exhibit A
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Validate the Vote 2020

Goal
To ensure the 2020 election returns reflect one vote cast by one eligible voter and thereby protect the
right to vote and the integrity of the election.
                                                                                                                                    TEAM
Problem
There is significant evidence that there are numerous instances of illegal ballots being cast and
counted in the 2020 general election. Most of these illegal votes are being counted in Democrat                            True the Vote
counties and are suppressing legitimate results.                                                                  Catherine Engelbrecht
                                                                                                                                   President
This is a result of Democrat officials refusal to obey state election laws and counting illegal votes. It is
also the result of deliberate election fraud. This situation has been aided by the Democrat’s deliberate                             Legal
effort to radically expand mail-in balloting, creating myriad opportunities for voter fraud that does                             Jim Bopp
not exist with in-person voting.                                                                                True the Vote General Counsel

Furthermore, this flood of illegal votes violates the U.S. Constitution's right to vote by diluting the                    Public Affairs
votes of legitimate voters.                                                                                              David Polyansky
                                                                                                                                 Principal
                                                                                                                        Catherine Frazier
Plan                                                                                                                             Principal
• Solicit whistleblower testimonies from those impacted by or involved in election fraud - True the
 Vote                                                                                                               Data and Research
• Build public momentum through broad publicity - True the Vote                                                         OPSEC Group
• Galvanize Republican legislative support in key states - True the Vote                                                    Gregg Phillips
                                                                                                                                   President
• Aggregate and analyze data to identify patterns of election subversion - OPSEC Group
• File lawsuits in Federal Court with capacity to be heard by SCOTUS - True the Vote
                                                                                                                      Funding Estimate
Tactical Organizing: National, State, with micro-targeting in key counties                                      Whistleblower Campaign
                                                                                                                            $2,000,000
Key States: Arizona, Nevada, Georgia, North Carolina, Pennsylvania, Michigan, Wisconsin
                                                                                                                       Data and Research
                                                                                                                               $1,750,00
Legal Strategy
                                                                                                                                 Litigation
Jim Bopp, True the Vote General Counsel, lead attorney in Bush v. Gore and Citizens United, will file           District Courts $2,500,00
federal suits in the seven closest battleground states to investigate voter fraud, expose it, and to                    Appeals $375,000
nullify the results of the state's election, so that the Presidential Electors can be selected in a special            US Supreme Court
election or by the state legislature.                                                                                           $700,000

Step 1: A federal civil rights lawsuit will be filed in each targeted state. This will provide the vehicle to
serve subpoenas on state election officials to produce critical election data.
                                                                                                                              Total Effort
                                                                                                                              $7,325,000
Step 2: Along with publicly available data, the produced election data will be analyzed to identify both
illegal voters and illegal votes.
                                                                                                                       Funding Vehicles
Step 3: If sufficient election fraud is proven, making the results of the election doubtful, the lawsuit                   True the Vote
                                                                                                                        Non-Profit 501c3
will seek to have the state's election results overturned, leading to a special election, to selection of
Presidential Elector by the state legislature, or to the selection the President by the U.S. House of                      OPSEC Group
Representatives.                                                                                                   Limited Liability Corp.
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                         EXHIBIT B
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                                          Press
                                          Press Releases
                                                Releases




  TRUE THE VOTE UPDATE ON LITIGATION AND ONGOING
           FIGHT FOR ELECTION INTEGRITY
                              By True
                                 True the
                                      the Vote
                                          Vote   November 17, 2020




True the Vote Update on Litigation and Ongoing Fight for Election Integrity


HOUSTON, Texas – True the Vote Founder and President Catherine Engelbrecht issued the
following statement regarding the “Validate the Vote” initiative, dismissal of lawsuits, and
ongoing ﬁght for election integrity:
                                                                                         
“Yesterday, we made the diﬃcult decision to dismiss our current lawsuits in
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Georgia, Michigan, Pennsylvania, and Wisconsin. While we stand by the voters’ testimony that
was brought forth, barriers to advancing our arguments, coupled with constraintsDONATE
  U TRUEll[}:l][gVOTE                                                            on time,
made it necessary for us to pursue a diﬀerent path. But our ﬁght for election integrity
continues. The litigation component of our work is only a fraction of what we are doing to
pursue real solutions to vulnerabilities in our election system. We are proud of the work we
have done to inform Americans of the massive gaps in election security – and after the chaos
that ensued after November 3, there is no denying the real and widespread problems
nationwide. Americans are now ‘woke’ about the mess – let’s clean it up together.


“Our mission is much bigger than just one election. It is about repairing the system for all
future elections. Our data analysis is ongoing and we’ll continue our own thorough top to
bottom investigation in the key battleground states to expose the gaping security lapses in
our election system. American voters deserve to know the truth. They deserve to have every
legal vote counted, which means exposing the illegal votes and shoring up the system to
minimize future illegal votes. We are pressing onward.… Georgia here we come.”


                                              ###


True
True the
     the Vote
         Vote (TTV) is an IRS-designated 501(c)3 voters’ rights organization, founded to inspire
and equip volunteers for involvement at every stage of our electoral process. TTV empowers
organizations and individuals across the nation to actively protect the rights of legitimate
voters, regardless of their political party aﬃliation. For more information, please
visit www.truethevote.org.




               TRUE THE VOTE
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    WITH TRUMP: RESOLUTE, CONFIDENT,
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                          NEVER QUIT
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CONTACT US
Email
Email Us
      Us
PO Box 3109 #19128
Houston, TX
713-401-6017
RESOURCES
Voter Resource Center
Training Programs
In Your State
News & Media
TAKE ACTION
Call Your County
Election Integrity Hotline
Pray the Vote
Volunteer
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Donate
FOLLOW US
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                         Exhibit C
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Case 4:20-cv-04034 Document 41-2 Filed on 01/11/21 in TXSD Page 10 of 161




                          Exhibit D
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                          Exhibit E
  Case 4:20-cv-04034 Document 41-2 Filed on 01/11/21 in TXSD Page 13 of 161




November 21, 2020                                                Ronald M. Jacobs
                                                                 T 202.344.8215
                                                                 F 202.344.8300
                                                                 RMJacobs@Venable.com




Via email to: catherine@truethevote.org

Ms. Catherine H. Engelbrecht
True the Vote, Inc.
13909 Track Road East
Cat Spring, TX 78933


       Re:    Return of Funds

Dear Ms. Engelbrecht:

We represent Fred Eshelman with respect to the directed donations that he made to True
the Vote, Inc. in the two weeks following the election, totaling $2.5 million. In short, and as
Mr. Eshelman has previously requested, we ask that these funds be returned immediately.
To that end, I will need an email this weekend (no later than 7:00 p.m. EST on Sunday,
November 22, 2020) agreeing to the prompt return, and a wire transfer initiated Monday
morning (10:00 a.m. EST) to return those funds, or we will have to take additional steps to
collect those funds.

 We understand that True the Vote may have engaged in some limited activities in
furtherance of the specific projects for which Mr. Eshelman agreed to make a donation. With
appropriate documentation and accounting, Mr. Eshelman is willing to allow True the Vote
to retain some of the funds he donated. Given the lack of information provided to date about
these activities, we anticipate this will be a relatively low number, but are willing to discuss.
Please contact me immediately if True the Vote believes it is entitled to retain any of these
funds so that we can maintain our timeline.

As should be clear from the prior correspondence you have had with Mr. Eshelman, no further
funds should be expended from the money he donated. In addition, True the Vote must retain
all necessary records to justify any funds that were expended previously.

If I do not receive confirmation that you intend to return the funds to Mr. Eshelman, and if
we do not receive proof of a wire transfer on Monday morning, we will be forced to take legal
action to obtain redress. Given the reasonable foreseeability of litigation, True the Vote must
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Ms. Catherine H. Engelbrecht
November 21, 2020
Page 2


immediately take steps to preserve all hard-copy and electronically stored information that
may contain evidence relevant to Mr. Eshelman’s claims. True the Vote must also
immediately cease all data destruction (scheduled or otherwise) and undertake efforts to
prevent the destruction or disposition of hard-copy materials or electronically stored
information that may contain relevant evidence.

We are hopeful that this matter can be resolved quickly and amicably. Please know, however,
that Mr. Eshelman expects his money back immediately as he has other efforts he wishes to
fund that have very short timelines. We look forward to your prompt response.

                                         Sincerely,




                                         Ronald M. Jacobs



cc:      Mr. Fredric N. Eshelman
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                          Exhibit F
              Case 4:20-cv-04034 Document 41-2 Filed on 01/11/21 in TXSD Page 16 of 161




From:                             Catherine Engelbrecht <catherine@truethevote.org>
Sent:                             Sunday, November 22, 2020 5:38 PM
To:                               Jacobs, Ronald M.
Subject:                          Re: Fred Eshelman Return of Funds


Caution: External Email


Dear Mr. Jacobs,

Since Mr. Eshelman asked for his money back, we have started to put together the costs and expenses of the
project that he helped fund.

Unfortunately, we only have a few invoices and other receipts at this point, with many more forthcoming. Most
vendors bill monthly, so we don't expect to have complete information on what we have spent on the project
this month until next month.

In addition, we have made commitments to many people, including whistleblowers, that we must fulfill. And we
have committed to activities that we must complete.

Finally, we have a invoice for one million dollars from Old Town Digital Agency, LLC, which Mr. Eshelman
asked us to pay from his gift, which is not resolved. We have contacted them to get information about this but
have not heard back. This invoice must be resolved before we are able to provide you a report of what we
have spent so far on the project.

We have provided regular reports to Mr. Eshelman directly and through extensive communication with the
people he said he is working with. I assure you that we have spent the money on the project we discussed with
Mr. Eshelman.

I am happy to discuss this further with you, once we get all the information together, and I hope we can resolve
this.

Sincerely,
Catherine Engelbrecht

On Sat, Nov 21, 2020 at 1:47 PM Jacobs, Ronald M. <RMJacobs@venable.com> wrote:

 Dear Ms. Engelbrecht:



 We represent Mr. Eshelman with respect to his directed donation to True the Vote, Inc. Please see that attached letter.
 I look forward to your prompt reply.



 Sincerely,

 Ron Jacobs

                                                           1
                    Case 4:20-cv-04034 Document 41-2 Filed on 01/11/21 in TXSD Page 17 of 161




 Ronald M. Jacobs | Chair, Political Law Practice | Venable LLP
 t 202.344.8215 | f 202.344.8300 | m 202.329.4296
 600 Massachusetts Avenue, NW, Washington, DC 20001

 RMJacobs@Venable.com | www.Venable.com | www.PoliticalLawBriefing.com




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    Catherine Engelbrecht
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    In ternet.




Founder, True the Vote




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                          Exhibit G
            Case 4:20-cv-04034 Document 41-2 Filed on 01/11/21 in TXSD Page 19 of 161




From:                                 Jacobs, Ronald M.
Sent:                                 Sunday, November 22, 2020 7:44 PM
To:                                   Catherine Engelbrecht
Subject:                              RE: Fred Eshelman Return of Funds


Dear Ms. Engelbrecht:

Thank you for your email. Mr. Eshelman expects a wire of at least $2 million first thing in the morning. Based on the
limited reports that he has received, we cannot believe that True the Vote has committed more than $500,000. If we see
the $2 million set to wire, we can hold off on filing the lawsuit in federal district court that we are preparing, which will
seek a full refund, plus attorney’s fees and damages. Thanks.

Sincerely,
Ron Jacobs


Ronald M. Jacobs | Chair, Political Law Practice | Venable LLP
t 202.344.8215 | f 202.344.8300 | m 202.329.4296
600 Massachusetts Avenue, NW, Washington, DC 20001

RMJacobs@Venable.com | www.Venable.com | www.PoliticalLawBriefing.com


From: Catherine Engelbrecht <catherine@truethevote.org>
Sent: Sunday, November 22, 2020 5:38 PM
To: Jacobs, Ronald M. <RMJacobs@Venable.com>
Subject: Re: Fred Eshelman Return of Funds

Caution: External Email


Dear Mr. Jacobs,

Since Mr. Eshelman asked for his money back, we have started to put together the costs and expenses of the
project that he helped fund.

Unfortunately, we only have a few invoices and other receipts at this point, with many more forthcoming. Most
vendors bill monthly, so we don't expect to have complete information on what we have spent on the project
this month until next month.

In addition, we have made commitments to many people, including whistleblowers, that we must fulfill. And we
have committed to activities that we must complete.

Finally, we have a invoice for one million dollars from Old Town Digital Agency, LLC, which Mr. Eshelman
asked us to pay from his gift, which is not resolved. We have contacted them to get information about this but
have not heard back. This invoice must be resolved before we are able to provide you a report of what we
have spent so far on the project.




                                                                 1
                     Case 4:20-cv-04034 Document 41-2 Filed on 01/11/21 in TXSD Page 20 of 161
We have provided regular reports to Mr. Eshelman directly and through extensive communication with the
people he said he is working with. I assure you that we have spent the money on the project we discussed with
Mr. Eshelman.

I am happy to discuss this further with you, once we get all the information together, and I hope we can resolve
this.

Sincerely,
Catherine Engelbrecht

On Sat, Nov 21, 2020 at 1:47 PM Jacobs, Ronald M. <RMJacobs@venable.com> wrote:

 Dear Ms. Engelbrecht:



 We represent Mr. Eshelman with respect to his directed donation to True the Vote, Inc. Please see that attached letter.
 I look forward to your prompt reply.



 Sincerely,

 Ron Jacobs




 Ronald M. Jacobs | Chair, Political Law Practice | Venable LLP
 t 202.344.8215 | f 202.344.8300 | m 202.329.4296
 600 Massachusetts Avenue, NW, Washington, DC 20001

 RMJacobs@Venable.com | www.Venable.com | www.PoliticalLawBriefing.com




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    Catherine Engelbrecht
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     In ternet.




Founder, True the Vote




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                          Exhibit H
    Case 4:20-cv-04034 Document 41-2 Filed on 01/11/21 in TXSD Page 22 of 161




November 23, 2020                                             Ronald M. Jacobs
                                                              T 202.344.8215
                                                              F 202.344.8300
                                                              RMJacobs@Venable.com




Via email to: catherine@truethevote.org

Ms. Catherine H. Engelbrecht
True the Vote, Inc.
13909 Track Road East
Cat Spring, TX 78933


       Re:    Notice of Claim and Pre-Suit Demand

Dear Ms. Engelbrecht:

I write subsequent to my e-mail correspondence dated November 22, 2020. Despite our
reasonable request that True the Vote return at least $2 million of Mr. Eshelman’s
conditional gifts totaling $2.5 million by wire transfer this morning, no such wire transfer
has materialized. In light of True the Vote’s repeated failure to comply with Mr. Eshelman’s
requests for repayment, this will serve as notice of our intent to file suit against True the
Vote in federal court tomorrow, Tuesday, November 24, if True the Vote fails to remit $2
million to Mr. Eshelman by wire transfer before 5 p.m. EST today.

First, a summary of the underlying facts. Immediately after the November 3rd general
election, Mr. Eshelman decided to support efforts to investigate allegations of illegal and
fraudulent conduct in connection with the 2020 general election. Following conversations
with you about True the Vote’s plan to pursue such investigations and to bring related
litigation, Mr. Eshelman agreed on November 5th to donate $2 million to True the Vote on
the condition that the funds would be used exclusively to fund its “Validate the Vote 2020”
initiative.1 Mr. Eshelman caused those funds to be wired to True the Vote that same day.
Eight days later, on November 13th, Mr. Eshelman agreed to give True the Vote an additional
$500,000 – again on the condition that those funds would be used to fund the Validate the
Vote 2020 efforts.



1A one-page summary of that initiative circulated by True the Vote to Mr. Eshelman is
attached hereto as Exhibit A.
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Ms. Catherine H. Engelbrecht
November 23, 2020
Page 2


Between November 5th and November 16th, Mr. Eshelman and his team repeatedly sought
substantive updates on the status of the Validate the Vote 2020 efforts, including
investigation, litigation, and communication strategy in key states. Those requests, however,
were met with platitudes and empty promises of follow-up. After eleven days with little
progress and a rapidly approaching deadline for certification of election results, Mr.
Eshelman called a meeting on November 16th with you and other individuals affiliated with
True the Vote in order to develop a comprehensive strategy to accomplish the goals of the
Validate the Vote 2020 effort. Unfortunately, that call proceeded just as so many before and
ended without any meaningful action items or next steps. All the while, time marched on.

Following the November 16th meeting, it became clear that True the Vote had wasted too
much time and would be unable to execute the ambitious plans that Mr. Eshelman had
agreed to fund. Accordingly, Mr. Eshelman sent you an e-mail early on November 17th to
request that True the Vote refund the balance of his $2.5 million donation and provide an
accounting of all funds spent out of that $2.5 million. Mr. Eshelman’s e-mail made clear his
expectation that any such expenditures “should be de minimis since nothing was
accomplished over the 10 or so days” as well as his expectation that True the Vote would
provide a “prompt response.”2

Consistent with True the Vote’s dilatory conduct that initially led Mr. Eshelman to seek the
return of his directed donation, 48 hours passed without any action or response to Mr.
Eshelman’s request. Given other organizations’ immediate need for funds to pursue similar
activities, Mr. Eshelman followed up with you early on November 19. Specifically, he
requested that you “[p]lease acknowledge receipt of my previous email with wiring
instructions” and that you “return the bulk of the money” he had conditionally donated to
True the Vote.3

Again, 48 hours passed without a response from you or anyone affiliated with True the Vote.
Given True the Vote’s refusal to respond to Mr. Eshelman’s correspondence, I wrote you to
specifically request that True the Vote confirm by 7 p.m. EST on November 22 that it would
agree to promptly return Mr. Eshelman’s $2.5 million by wire transfer initiated by 10 a.m.
EST on Monday, November 23. My November 21 letter further underscored that time was of




2   A copy of Mr. Eshelman’s November 17 e-mail is attached hereto as Exhibit B.
3   A copy of Mr. Eshelman’s November 19 e-mail is attached hereto as Exhibit C.
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Ms. Catherine H. Engelbrecht
November 23, 2020
Page 3


the essence, noting that “Mr. Eshelman expects his money back immediately as he has other
efforts he wishes to fund that have very short timelines.”4

Less than an hour and a half before 7 p.m. on November 22, you responded to my letter via
e-mail without indicating whether True the Vote would agree to return the balance of Mr.
Eshelman’s $2.5 million in donations.5 Instead, your e-mail again sought to kick the can down
the road. While it notes that True the Vote has “started to put together the costs and expenses
of the project” and has “spent the money on the project [you] discussed with Mr. Eshelman,”
you also note without any specificity that True the Vote does not “expect to have complete
information on what [it has] spent on the project this month until next month,” that True the
Vote has “made commitments to many people, including whistleblowers, that [it] must
fulfill,” and that True the Vote has “committed to activities that we must complete.”6

Shortly after receiving your November 22 e-mail, I responded by e-mail noting Mr.
Eshelman’s expectation that True the Vote would wire at least $2 million to him first thing
today, November 23.7 I also noted that we were highly skeptical that more than $500,000 of
Mr. Eshelman’s $2.5 million in directed contributions had been committed based on the
limited reports Mr. Eshelman has received to-date. Again, True the Vote failed to comply
with that request.

Given True the Vote’s repeated refusal to comply with Mr. Eshelman’s time-sensitive
requests for return of the balance of his $2.5 million in gifted funds and the urgent need for
those funds to support other election-related projects, True the Vote has left us no choice but
to pursue legal redress to obtain those funds. As noted above, we intend to file complaint in
federal court against True the Vote on Tuesday, November 24. We expect that complaint will
allege claims for breach of contract, conversion, and violation of the Texas Deceptive Trade
Practices Act. We intend to seek a full refund of the $2.5 million in conditional gifts that Mr.
Eshelman gave to True the Vote as well as damages and attorney’s fees. We also intend to




4 A copy of my November 21 correspondence is attached hereto as Exhibit D.
5 A copy of your November 22 e-mail is attached hereto as Exhibit E.
6 To the extent your November 22 e-mail references an invoice for $1 million from Old Town

Digital Agency, LLC, we understand that invoice has been cancelled since the time for
communications is over and True the Vote never requested Old Town Digital to perform
any of the contemplated services.
7 A copy of my November 22 e-mail is attached hereto as Exhibit F.
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Ms. Catherine H. Engelbrecht
November 23, 2020
Page 4


seek equitable relief to preserve the status quo and to prevent any further disbursement of
Mr. Eshelman’s funds.

As you are no doubt aware, Texas law provides that donors have the right to revoke a gift
whenever the gift remains “conditional on a future act.” Oadra v. Stegall, 871 S.W.2d 882,
891-92 (Tex. App. 1994). That right has been recognized even where possession of the
allegedly gifted property has been transferred to the purported donee. Yates v. Blake, 491
S.W.2d 751, 754 (Tex. App. 1973). Here, there appears to be no dispute that Mr. Eshelman’s
gifts were made contingent on their use to fund the Validate the Vote 2020 effort or that those
efforts remain largely unfulfilled.8 Since the conditions on Mr. Eshelman’s gifts have not been
satisfied, he retains the right to revoke his conditional gift. Again, there can be no reasonable
dispute that Mr. Eshelman has requested his funds be returned four times now.9 Accordingly,
there can be no doubt that the gift is not valid. To the extent True the Vote disagrees, it will
be burdened to prove a valid gift by clear and convincing evidence. Oadra, 871 S.W.2d at 891.

In similar circumstances, other courts have held that a non-profit entity’s failure to abide by
a condition on a directed donation amounts to a breach of the underlying gift agreement
remediable by a return of the gifted funds. Adler v. SAVE, 74 A.3d 41, 43 (N.J. App. Div.
2013); Tennessee Div. of United Daughters of the Confederacy v. Vanderbilt Univ., 174 S.W.3d
98, 119 (Tenn. Ct. App. 2005). Those courts have so held even where “the conditions that
existed at the time of the gift may have materially changed, making the fulfillment of the
donor's condition either impossible or highly impractical.” Adler, 74 A.3d at 43. Since True
the Vote has failed to comply with the conditions on Mr. Eshelman’s $2.5 million gift – that
is, that the funds would be used in support of the Validate the Vote 2020 activities as
originally outlined in Exhibit A – there can be no doubt that True the Vote is obliged to return
those funds.

Because True the Vote has no legal or equitable right to retain Mr. Eshelman’s $2.5 million
in conditional gifts, they must be returned immediately. Failure to do so will give rise to
claims for conversion, breach of the gift agreement between Mr. Eshelman and True the Vote,
and violation of the Texas Deceptive Trade Practices Act. If Mr. Eshelman were to prevail on
those claims – which we expect he would – he would be entitled not only to repayment of the
$2.5 million in conditional gifts, but also to damages under as well as attorneys’ fees under
Texas Business & Commerce Code § 17.50(d) (breach of Deceptive Trade Practices Act), Texas

8 See Ex. E (“I assure you that we have spent the money on the project we discussed with
Mr. Eshelman.”)
9 See Exs. B, C, D, F.
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Ms. Catherine H. Engelbrecht
November 23, 2020
Page 5


Civil Practice & Remedies Code § 38.001 (breach of contract), and Texas Civil Practice &
Remedies Code § 37.009 (declaratory judgments).

We remain hopeful that this matter can be resolved quickly and amicably. That cannot occur,
however, if True the Vote refuses to return Mr. Eshelman’s funds. Given Mr. Eshelman’s
desire to use those funds in connection with other election-related efforts with very short
timelines, time is of the essence. Accordingly, we will have no choice but to seek judicial
intervention if we cannot reach a resolution before 5 p.m. EST today. I look forward to your
prompt response.

                                          Sincerely,




                                          Ronald M. Jacobs



cc:      Mr. Fredric N. Eshelman
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                          Exhibit I
    Case 4:20-cv-04034 Document 41-2 Filed on 01/11/21 in TXSD Page 28 of 161



  JAMES BOPP, JR.
  jboppjr@aol.com
                              THE BOPP LAW FIRM, PC
  __________________                    ATTORNEYS AT LAW

  MELENA S. SIEBERT                   THE NATIONAL BUILDING
  msiebert@bopplaw.com                     1 South Sixth Street
                                 TERRE HAUTE, INDIANA 47807-3510
                             Telephone 812/232-2434 Facsimile 812/235-3685
                                           www.bopplaw.com
                                         ____________

                                        November 23, 2020
                               Via email to: RMJacobs@venable.com

Mr. Ronald M. Jacobs                                 Re:     True the Vote, Inc.
Venable LLP
500 Massachusetts Ave., NW
Washington, DC 20001


Dear Mr. Jacobs:

We represent Ms. Engelbrecht with respect to the $2.5 million donation True the Vote, Inc.
received from Mr. Eshelman. Please direct all communications regarding this matter to us.

Our client has advised us that she has been trying to resolve this issue with your client, but has
been unable to do so to this point. After receiving your client’s initial request for a refund of his
entire $2.5 million donation, our client responded via email to you that True the Vote was still
gathering details of the costs and expenses of the project, including commitments made to
whistleblowers and others involved in True the Vote’s project. In an email on November 22,
2020, you responded via email that your client expected at least $2 million of the $2.5 million
donation to be returned by the morning of November 23, 2020.

True the Vote, Inc. also received an invoice from Old Town Digital Agency, LLC. Ms.
Engelbrecht inquired as to what agreement or services this invoice was based upon, as she was
unaware of any specific services that had been provided to date from Old Town Digital Agency,
LLC. On November 23, 2020, Ms. Engelbrecht received an email from Dikran Yacoubian that
this invoice was canceled.

After reviewing the expenses and obligations incurred regarding this project, including
commitments made to whistleblowers, our client is prepared to offer your client a return of $1
million of his donation to True the Vote, Inc. This return will be contingent upon your client, and
others he is associated with, to enter into a written agreement to waive any claims regarding the
donation by Mr. Eshelman to True the Vote, and regarding the Old Town Digital Agency, LLC’s
$1 million invoice and any agreement with True the Vote. Furthermore, this return is contingent
on Mr. Eshelman’s and Old Town Digital Agency LLC’s agreement not to file suit against True
    Case 4:20-cv-04034 Document 41-2 Filed on 01/11/21 in TXSD Page 29 of 161



 Mr. Ronald M. Jacobs
 November 23, 2020
 Page 2

the Vote, Inc. while the written agreement is being finalized. True the Vote, Inc. will wire the $1
million refund to Mr. Eshelman within 24 hours of the execution the written agreement.

Given the reasonable foreseeability of litigation if no settlement can be reached, Mr. Eshelman
and Old Town Digital Agency, LLC must immediately take steps to preserve all hard-copy and
electronically stored information that may contain evidence relevant to the donation by Mr.
Eshelman to True the Vote, and regarding the Old Town Digital Agency, LLC’s $1 million
invoice and any agreement with True the Vote. Likewise, Mr. Eshelman and Old Town Digital
Agency, LLC must also immediately cease all data destruction (scheduled or otherwise) and
undertake efforts to prevent the destruction or disposition of hard-copy materials or electronically
stored information that may contain relevant evidence.

We hope that this matter can be resolved quickly and amicably. Please respond to True the Vote,
Inc.’s offer of the refund of $1 million of Mr. Eshelman’s donation in lieu of litigation by noon on
Tuesday, November 24, 2002. We look forward to your prompt response.

                                                    Sincerely,
CC: Ms. Catherine Engelbrecht
                                                    THE BOPP LAW FIRM, PC



                                                    James Bopp, Jr.
                                                    Melena S. Siebert
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                          Exhibit J
Redacted
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Redacted
 Case 4:20-cv-04034 Document 41-2 Filed on 01/11/21 in TXSD Page 32 of 161
Redacted
 Case 4:20-cv-04034 Document 41-2 Filed on 01/11/21 in TXSD Page 33 of 161
Redacted
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Redacted
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Redacted
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Redacted
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Redacted
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                         Exhibit K
                  Case 4:20-cv-04034 Document 41-2 Filed on 01/11/21 in TXSD Page 41 of 161




INVOICE
                                                                   Invoice Date               OPSEC Group
                                                                   Nov 9, 2020
                                                                   Invoice Number
       True the Vote                                               INV-006
       PO Box 3109, #19128
       HOUSTON TX 77253-3109
       USA




Description                                             Quantity         Unit Price          Tax     Amount USD

Validate the Vote:                                         1.00         350,000.00 Tax Exempt         350,000.00

Data -
State Files
Political Files
Identity
Residency
Felony

Analysis -
Ground queries
Network / Cluster based
Time based
Person based
Residency based
Teams (3x2, 1x3)

Litigation Support -
Person based methodology
Expert Witness
PA
MI
WI
GA
Combined

Whistleblower -
Hotline (Live)
Interviews
Packaging
Legal Coordination
Security

                                                                                         Subtotal     350,000.00

                                                                                      TOTAL USD       350,000.00




 CONFIDENTIAL                                                                                          TTV 0060
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                         Exhibit L
              Case 4:20-cv-04034 Document 41-2 Filed on 01/11/21 in TXSD Page 43 of 161




                                                              Invoice Date              OPSEC Group
INVOICE                                                       Dec 7, 2020
                                                              Invoice Number
      True the Vote                                           INV-0007
      PO Box 3109, #19128
      HOUSTON TX 77253-3109
      USA




Description                                        Quantity        Unit Price          Tax    Amount USD

Eyes on Georgia:                                       1.00        400,000.00 Tax Exempt        400,000.00

Ground Data -
Political Lists
GA Updates
Cell based
Ad based
Social Media Based
ETL

Analysis-
Identity/Residency Analysis
Time based Analysis
Georgia Code Analysis
Litigation Support

                                                                                   Subtotal     400,000.00

                                                                                TOTAL USD       400,000.00
                                                                         Less Amount Paid       400,000.00

                                                                      AMOUNT DUE USD                  0.00




Due Date: Dec 7, 2020




 CONFIDENTIAL                                                                                    TTV 0058
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                       EXHIBIT M
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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION


 FREDRIC N. ESHELMAN,

          Plaintiff,
                                                     Case No. 4:20-cv-04034
 v.
                                                     JURY DEMANDED
 TRUE THE VOTE, INC. ,


          Defendant.


                   DECLARATION OF TIM WILSON IN SUPPORT OF
                PLAINTIFF'S MOTION FOR PRELIMINARY I JUNCTION

         1.      My name is Tim Wilson. I am of legal age and othe1wise competent to make this

declaration.

         2.      I am a private investigator licensed by the State of Texas.

         3.      All of the facts stated in this declaration are trne and correct and are based on my

personal knowledge. I acquired my personal knowledge during the course and scope of my work

as a private investigator retained by counsel for Plaintiff Frederic N. Eshelman to locate and

serve the registered agent for True the Vote, Inc.

         4.      I made numerous attempts to locate Catherine Engelbrecht, who pmports to be

Defendant True the Vote's founder, Executive Director, and registered agent.

         5.      True the Vote, Inc. represents to the Texas Secretary of State that its address is

18720 FM 249, Suite A, Houston, Texas, 77070. I visited that address, but it is a tax office with

a sign on the door stating that the office is closed until tax season. I saw no evidence that the

office is occupied by Defendant True the Vote, Inc.



Declaration of Tim Wilson -    Page 1
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       6.      I next visited the address of True the Vote, Inc. ' s registered agent, which,

according to the Texas Secretary of State, is 7232 Wynnwood Lane, Houston, Texas 77008-

6041. That address is occupied by a Camp Bow Wow dog daycare and boarding facility that has

not heard of Ms. Engelbrecht or True the Vote, Inc.

       7.      Despite having made other efforts to locate Ms. Engelbrecht, including visiting

her home address, I have been unable to locate her.

       8.      I declare under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct.

       Executed in ~~ Texas on                 ~/~'2.__-~l_'.2___---..~-' 2020.




Declaration of Tim Wilson -   Page 2
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                          EXHIBIT 1
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                          EXHIBIT O
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 Form    990 ,.                                Return of Organization Exempt From income Tax                                                                                0MB No. 1545-0047


                                    Under section 501(c), 527, or 4947(a)(1) of the Internal Revenue Code (except private foundations)                                         ~©17
Department of the Treasury
                                                • Do not enter social security numbers on this form as it may be made publl
Internal Revenue Service                          • Go to www.irs.gov/Form990 for instructions and the latest infonnation.
A F0 r th e 2017 ca Ien dar year, or t ax year beginn
                                                  . Ing                                                          , 2017,an d en dini:i                                   ,20
e Check 1f applicable. C Name of organization TRI IF THF vnTF 1Nr.                                                                                       D Employer Identification number

• Address   change      Doing business as                                                                                                                  XX-XXXXXXX
• Name   change         Number       street (or P.O. box mail 1s not delivered to street address)
                                               and                   If                             Room/suite                                          E Telephone number

• FmaJ
  lmbal return          PO      BOX      131768
• Amended return HOUSTON, TX 77219-1768
       return/temunated     or town, state or province, country, and ZIP or foreign postal code
                                    City

• Application pending Name and address of pnncIpal officer CATHERINE H ENGELBRECHT                                                                     G Gross receipts $                 42353 5
•                               F
                                TRACK ROAD EAST CAT SPRING, TX
                                    13909                                                    78933
                                                                                                                                         Hfa) Is this a group return for subordinates? D Yes
                                                                                                                                         H(b) Are all subordinates ,ncluded7      0 Vee D No
                                                                                                                                                                                               ~ No

                                                                   )• ftnsert no.) D 4947(a)(1) or •~-~
                                                                                                                                 A

I Tax-exemot status.     ~ 501(c)(3)             Dso11cll                                                                                        If "No," attach a hst. (see instructions)
J      Website:     •                                                                                    I             UJ H(c) Group exemption number •
K      Form of organization.~ Corporation D Trust D Association D Other •                                 \ I L Year of forrnabon: 2 0 1 0 I M State of legal domIc1le TX
lillll Summary                                                                                               '
         1         Briefly describe the organization's mission or most significant activities:
                                                                                                                           ----------------------------------------------------------------------
 ~                 __'l_;~__ ':':!~_1_1:'__c1 t;_zens__ to_ take_ a_ stan~- for_ free_ and_ fair_ elections ----------------------------------------------------------------------------------
 C

 e2
 GI
 >
                                           •
                   Check this box D if the organization discontinued its operations or disposed of more than 25% of its net assets.
 0
 C,      3         Number of voting members of the governing body (Part VI, hne 1a) .                            3                     4
 all     4         Number of independent voting members of the governing body (Part VI, line 1b)                 4                     4
 Ill
 GI
 .:
 '>
         5         Total number of individuals employed In c a1en
                                                                     ru::·
                                                                           ·•
                                                                              t:.       llnE 2a)  :tvrov,        5                     1
 .:      6         Total number of volunteers (estimate 1f ne ~e --•v                                            6                 12000
                   Total unrelated business revenue from Pc: ~ Ill, column (C), line 12 ~
  u
 c(      7a                                                                                                     7a
           b       Net unrelated business taxable income fri ~ ~om£(®-!, Gii                            ~te . '?7b
                                                              .....,
                                                                                                                      a:                    Prior Year                        Current Vear
         8  Contributions and grants (Part VIII, line 1 ~
                                                                                  ·OGDEN-UT·                                                     304891                               423535
 GI
 :I
 C:      9  Program service revenue (Part VIII, line 2:
                                                                            ,
 GI
 >
 Cl)   10   Investment income (Part VIII, column (A), lines 3, 4, and 7d)
a:
       11   Other revenue (Part VIII, column (A), lines 5, 6d, 8c, 9c, 10c, and 11e) .                                                           129904
       12 Total revenue-add lines 8 through 11 (must equal Part VIII, column (Al, line 12)                                                       434795                               423535
       13   Grants and s1m1tar amounts paid (Part IX, column (A), hnes 1-3) .
       14 Benefits paid to or for members (Part IX, column (A), line 4)
 Ill
 GI
       15 Salaries, other compensation, employee benefits (Part IX, column (A), lines 5-10)                                                         97064                             121285
 Ill
 C:    16a Professional fund raising fees (Part IX, column (A), hne 11 e)
                                                                                                • _________________________
sQI
          b Total fundraising expenses (Part IX, column (D), line 25)
       17 Other expenses (Part IX, column (A), lines 11 a-11 d, 11 f-24e)                                                                        338664                             442103
                                                                                                                                                                                                      !
       18 Total expenses. Add hnes 13-17 (must equal Part IX, column (A), line 25)                                                               435728                             563388
       19 Revenue less expenses. Subtract hne 18 from line 12                                                                                      -933                            -139853
-"'
oa>                                                                                                                                  Beginning of Current Year                End of Year
~i    20           Total assets (Part X, hne 16)                                                                                                 111848                                  60732


-~
ill"'
<m
-si
    21             Total l1abilit1es (Part X, line 26)                                                                                            12604                                   6625
Zit 22             Net assets or fund balances. Subtract line 21 from line 20                                                                     99244                                  54107
     l"ill • I • ,Signature Block
 Under penalties of periury, I declare that I have examined this return, 1nclud1ng accompanying schedules and statements, and to the best of my knowledge and behef, 111s
 true, correct, ~d com le. D larat1on of reparer (other than officer) Is based on all 1nformat1on of which preparer has any knowledge,
                                                                                                                                                           -\'--2.o\'\
Sign                                                                                                                                              Date
Here                       CATHERINE H ENGELBRECHT, EXECUTIVE DIRECTOR
                    Type or print name and title
Paid           ~ Print/Type preparer's name                                                                                      Date                     Check
                                                                                                                                 11 / 1 5 / 2 0 18 self-employed
                                                                                                                                                                  • if PTINPO 1 7 7 3 3 4 4 (
Preparer CHAR ESTES
Use Only Finrn's name • EVERYONES                                                                                                               Firm's EIN • 4 5 - 513 4 6 3 6
              Finrn's address •
             1 ~                5018 ANTOINE DR SUITE D 77092-3352                                                                              Phone no. 7 1 3 - 6 8 3 - 8 8 8 8
May the. !BS discuss this return with the preparer shown above? (see instructions)                                                             . . . . . . .        IX)Yes 0No
For Paperwork Reduction Act Notice, see the separate Instructions.                                                                                                   Form 990 (2017)
QNA
                  •'     .
             Case 4:20-cv-04034 Document 41-2 Filed on 01/11/21 in TXSD Page 81 of 161
       TRUE THE VOTE, INC                                                      XX-XXXXXXX
Form 990 (201 7)                                                                                                                                                                                                                                     Page2
1:ffij1jj1     Statement of Program Service Accomplishments

   1
               Check if Schedule O contains a response or note to any line in this Part Ill
         Briefly describe the organization's mission:
                                                                                                                                                                                                                                                          •
          TO EQUIP CITIZENS TO TAKE A STAND FOR FREE AND
         _FA I R __ ELECT I_Q_~? ---------------------------------------------------------------------------------------------------------------------------------------------

  2      Did the organization undertake any significant program services during the year which were not listed on the
         prior Form 990 or 990-EZ? .                                                                                    D Yes IZ] No
         If "Yes," describe these new services on Schedule 0.
  3      Did the organization cease conducting, or make significant changes in how 1t conducts, any program
         services? .                                                                                                    D Yes IZ] No
         If "Yes," describe these changes on Schedule 0.
  4      Describe the organization's program service accomplishments for each of its three largest program services, as measured by
         expenses. Section 501 (c)(3) and 501 (c)(4) organizations are required to report the amount of grants and allocations to others,
         the total expenses, and revenue, 1f any, for each program service reported.

        (Code:                  (Expenses $                2 4 6 including grants of $               ) (Revenue $              2 4 68 8 )
  4a
        _ 0 ff      e-rTng·--1:)raining_    --ediic3 8___2a_na-- _SU pp t       Cit fze-ns ___ rn~fer e Ste d -- in----------------------------------
                                                                                                                                O --

        -the __ us___ electoral __ proc __ and __ volunteer ism __ as __ po 11 __ workers-----------------------------------------
        __incl uding. develop __ of __ materials___ both __ written __ and __ video ___________________________________________ _


        ----------------------------------------------------------------------
                                                                      ' ,_
                                                                               t ------------- .____:~--------------------------------------------------------------------------------------

        ------------------------------------------------------------- I ( :::; I -----.--------------------------------------------------------------------------------------------------------
        --- - -- - ------ --------- - - - - - ---------------- -------- - --- - --- -- I_ l. \, ; - ----------- - ---- - - - --------- __ '. :-~- - - ----- - ----- - - - ------ - - ------- ------ - --- - - ------- - - - - - - - -- -- - - - - - - -- - - - --


        ______________________________________________________________________ L_•______ _~:LI i.:: J [ --------- '--------------------------------------------------------------------------
                                                                                                                      1
                                                                                                                          ' ,




  4b    (Code: _______________ ) (Expenses $ _______________________ including grants of $ _________________________ ) (Revenue $ _________________________ )




  4c    (Code: _______________ ) (Expenses $ _______________________ including grants of $ _________________________ ) (Revenue $ _________________________ )




  4d Other program services (Describe in Schedule 0.)
     (Expenses $                 including grants of $                                                                                   ) (Revenue$
  4e Total program service expenses              3 82 2 4 6             •
QNA                                                                                                                                                                                                                                  Form    990 (2017)
               Case 4:20-cv-04034 Document 41-2 Filed on 01/11/21 in TXSD Page 82 of 161
      TRUE THE VOTE, INC •
Form 990 (2017)                                                                                                                             Page3
··~·•-•'•       Checklist of Required Schedules
                                                                                                                                      Yes    No
  1       Is the organization described in section 501 (c)(3) or 4947(a)(1) (other than a private foundation)? If "Yes,"
          complete Schedule A .                                                                                                  ,     X
  2       Is the organization required to complete Schedule B, Schedule of Contributors (see instructions)?                      2           X
  3       Did the organization engage in direct or indirect political campaign activities on behalf of or in opposItIon to
          candidates for public office? If "Yes," complete Schedule C, Part I                                                    3           X
  4       Section 501 (c)(3) organizations. Did the organization engage in lobbying act1v1ties, or have a section 501 (h)
          election in effect during the tax year? If "Yes," complete Schedule C, Part II .                                       4           X
  5       Is the organization a section 501 (c)(4), 501 (c)(5), or 501 (c)(6) organization that receives membership dues,
          assessments, or s1m1lar amounts as defined in Revenue Procedure 98-19? If "Yes," complete Schedule C,
          Part Ill .                                                                                                             5           X
  6       Did the organization maintain any donor advised funds or any similar funds or accounts for which donors
          have the right to provide advice on the distribution or investment of amounts in such funds or accounts? If
          "Yes," complete Schedule D, Part I                                                                                     6           X
  7       Did the organization receive or hold a conservation easement, including easements to preserve open space,
          the environment, historic land areas, or historic structures? If "Yes," complete Schedule D, Part II                   7           X
  8       Did the organization maintain collections of works of art, historical treasures, or other similar assets? If "Yes,"
          complete Schedule D, Part Ill                                                                                          8           X
  9       Did the organization report an amount in Part X, line 21, for escrow or custodial account liability, serve as a
          custodian for amounts not listed in Part X; or provide credit counseling, debt management, credit repair, or
          debt negotIatIon services? If "Yes," complete Schedule D, Part IV .                                                    9           X
10        Did the organization, directly or through a related organization, hold assets in temporarily restricted
          endowments, permanent endowments, or quasi-endowments? If "Yes," complete Schedule D, Part V                          10           X


                                                                                                                                -- -- _J
11        If the organization's answer to any of the following questions Is "Yes," then complete Schedule D, Parts VI,
          VII, VIII, IX, or X as applicable.
      a   Did the organization report an amount for land, buildings, and equipment in Part X, line 10? If "Yes,"
          complete Schedule D, Part VI                                                                                          11a          X
      b   Did the organization report an amount for investments-other securities in Part X, line 12 that is 5% or more
          of its total assets reported in Part X, line 16? If "Yes," complete Schedule 0, Part VII                              11b          X
      C   Did the organization report an amount for investments-program related in Part X, line 13 that is 5% or more
          of its total assets reported In Part X, line 16? If "Yes," complete Schedule D, Part VIII .                           11c          X
      d   Did the organization report an amount for other assets in Part X, line 15 that is 5% or more of ,ts total assets
          reported In Part X, line 16? If "Yes," complete Schedule 0, Part IX                                                   11d          X
  e Did the organization report an amount for other liabilities in Part X, line 25? If "Yes," complete Schedule D, Part X       11e          X
  f Did the organization's separate or consolidated financial statements for the tax year include a footnote that addresses
    the organization's habihty for uncertain tax posItIons under FIN 48 (ASC 740)? If "Yes," complete Schedule D, Part X        11f          X
12a Did the organization obtain separate, independent audited financial statements tor the tax year? If "Yes," complete
    Schedule D, Parts XI and XII                                                                                                12a          X
  b Was the organization included in consolidated, independent audited financial statements for the tax year? If
    "Yes," and if the organization answered "No" to /me 12a, then completing Schedule D, Parts XI and XII is optional           12b          X
13   Is the organization a school described in section 170(b)(1 )(A)(ii)? If "Yes," complete Schedule E                          13          X
14a Did the organization maintain an office, employees, or agents outside of the United States?                                 14a          X
   b Did the organization have aggregate revenues or expenses of more than $10,000 from grantmaking,
     fundrais1ng, business, investment, and program service activities outside the United States, or aggregate
     foreign investments valued at $100,000 or more? If "Yes," complete Schedule F, Parts I and IV.                             14b          X
15   Did the organization report on Part IX, column (A), line 3, more than $5,000 of grants or other assistance to or
     for any foreign organization? If "Yes," complete Schedule F, Parts II and IV                                               15           X
16   Did the organization report on Part IX, column (A), line 3, more than $5,000 of aggregate grants or other
     assistance to or for foreign individuals? If "Yes," complete Schedule F, Parts Ill and IV.                                 16           X
17   Did the organization report a total of more than $15,000 of expenses for professional fundra,sing services on
     Part IX, column (A), lines 6 and 11 e? If "Yes," complete Schedule G, Part I (see instructions)                            17           X
18   Did the organization report more than $15,000 total of fundraising event gross income and contributions on
     Part VIII, lines 1c and Sa? If "Yes," complete Schedule G, Part II .                                                       18           X
19   Did the organization report more than $15,000 of gross income from gaming activities on Part VIII, line 9a?
     If "Yes," complete Schedule G, Part Ill                                                                                    19           X
QNA                                                                                                                              Form 990 (2017)
                   Case 4:20-cv-04034 Document 41-2 Filed on 01/11/21 in TXSD Page 83 of 161
       TRUE THE VOTE, INC                                                                                             XX-XXXXXXX
Form 990 (201 7)                                                                                                                             Page4
1:r.ni • 1••       Checklist of Required Schedules (continued)
                                                                                                                                      •Yes    No
 20 a Did the organization operate one or more hospital facilities? If "Yes," complete Schedule H .                 20a           X
                                                                                                                   1---1----<t---
    b If "Yes" to line 20a, did the organization attach a copy of its audited financial statements to this return? 1-2_0_b--+----+--X_
 21   Did the organization report more than $5,000 of grants or other assistance to any domestic organization or
      domestic government on Part IX, column (A), line 1? If "Yes," complete Schedule I, Parts I and II              21           X
                                                                                                                   1---1---1---
 22   Did the organization report more than $5,000 of grants or other assistance to or for domestic individuals on
      Part IX, column {A), line 2? If "Yes," complete Schedule I, Parts I and Ill                                    22
                                                                                                                   ,___,___,___   X
 23   Did the organization answer "Yes" to Part VII, Section A, hne 3, 4, or 5 about compensation of the
      organization's current and former officers, directors, trustees, key employees, and highest compensated
      employees? If "Yes," complete Schedule J .                                                                     23            X
                                                                                                                   1---1---1---
 24a Did the organization have a tax-exempt bond issue with an outstanding principal amount of more than
      $100,000 as of the last day of the year, that was issued after December 31, 2002? If "Yes," answer lines 24b
      through 24d and complete Schedule K. If "No," go to line 25a                                                  24a
                                                                                                                   ,___,___,___   X
      b Did the organization invest any proceeds of tax-exempt bonds beyond a temporary penod exception? .       1-2_4b__,,____,_ _
      c Did the organization maintain an escrow account other than a refunding escrow at any time dunng the year
        to defease any tax-exempt bonds?                                                                          24c
                                                                                                                             1---1---1---
      d Did the organization act as an "on behalf of" issuer for bonds outstanding at any time during the year? .            1-2_4_d--+----+---
 25a      Section 501 (c)(3), 501 (c)(4), and 501 (c)(29) organizations. Did the organization engage in an excess benefit
          transaction with a d1squalif1ed person during the year? If "Yes," complete Schedule L, Part I                       25a             X
                                                                                                                             1---1---1---
      b Is the organization aware that it engaged in an excess benefit transaction with a disqualified person in a prior
          year, and that the transaction has not been reported on any of the organization's prior Forms 990 or 990-EZ?
          If "Yes," complete Schedule L, Part I .                                                                             25b             X
                                                                                                                             i--;..._l---l---
 26       Did the organization report any amount on Part X, hne 5, 6, or 22 for receivables from or payables to any
          current or former officers, directors, trustees, key employees, highest compensated employees, or
          d1squalif1ed persons? If "Yes," complete Schedule L, Part II                                                        26              X
                                                                                                                             1---1---1---
 27       Did the organization provide a grant or other assistance to an officer, director, trustee, key employee,
          substantial contributor or employee thereof, a grant selection committee member, or to a 35% controlled
          entity or family member of any of these persons? If "Yes," complete Schedule L, Part Ill .                          27              X
 28       Was the organization a party to a business transaction with one of the following parties (see Schedule L,
          Part IV instructions for applicable filing thresholds, conditions, and exceptions):
                                                                                                                             --  --
                                                                                                                                             _J
      a   A current or former officer, director, trustee, or key employee? If "Yes," complete Schedule L, Part IV            28a    X
      b A family member of a current or former officer, director, trustee, or key employee? If "Yes," complete
          Schedule L, Part IV                                                                                                28b              X
      c   An entity of which a current or former officer, director, trustee, or key employee {or a family member thereof)
          was an officer, director, trustee, or direct or indirect owner? If "Yes," complete Schedule L, Part IV             28c              X
 29       Did the organization receive more than $25,000 in non-cash contnbut1ons? If "Yes," complete Schedule M              29              X
 30       Did the organization receive contributions of art, historical treasures, or other similar assets, or qualified
          conservation contributions? If "Yes," complete Schedule M                                                           30              X
 31       Did the organization liquidate, terminate, or dissolve and cease operations? If "Yes," complete Schedule N,
          Part I                                                                                                              31              X
 32       Did the organization sell, exchange, dispose of, or transfer more than 25% of its net assets? If "Yes,"
          complete Schedule N, Part II                                                                                        32              X
 33       Did the organization own 100% of an entity disregarded as separate from the organization under Regulations
          sections 301.7701-2 and 301.7701-3? If "Yes," complete Schedule R, Part I .                                         33              X
 34       Was the organization related to any tax-exempt or taxable entity? If "Yes," complete Schedule R, Part II, Ill,
          or IV, and Part V, line 1                                                                                           34              X
35a       Did the organization have a controlled entity within the meaning of section 512{b)(13)?                            35a              X
      b If "Yes" to line 35a, did the organization receive any payment from or engage in any transaction with a
          controlled entity within the meaning of section 512(b)(13)? If "Yes," complete Schedule R, Part V, line 2 .        35b
36        Section 501 (c)(3) organizations. Did the organ1zat1on make any transfers to an exempt non-charitable
          related organization? If "Yes," complete Schedule R, Part V, /me 2 .                                                36              X
37        Did the organization conduct more than 5% of its act1vit1es through an entity that is not a related organization
          and that is treated as a partnership for federal income tax purposes? If "Yes," complete Schedule R,
          Part VI .                                                                                                           37              X
38        Did the organization complete Schedule O and provide explanations 1n Schedule O for Part VI, Imes 11 b and
          19? Note. All Form 990 filers are required to complete Schedule 0.                                                  38              X
ONA                                                                                                                            Form   990 (2017)
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          TRUE THE VOTE, INC '                                                    XX-XXXXXXX
Form 990 (2017)                                                                                                                                                     Page5
i@l!I            Statements Regarding Other IRS Filings and 1 ax Compiiance
                 Check if Schedule O contains a response or note to any line m this Part V
                                                                                                                                                              Yes
                                                                                                                                                                      •
                                                                                                                                                                     No
  1a        Enter the number reported in Box 3 of Form 1096. Enter -0- if not applicable        1a          0                I      I
   b



  2a
      c
            Enter the number of Forms W-2G included in hne 1 a. Enter -0- if not applicable .   1b I
            Did the organization comply with backup withholding rules for reportable payments to vendors and
            reportable gaming (gambling) winnings to pnze winners?
     Enter the number of employees reported on Form W-3, Transmittal of Wage and Tax                                         I I
                                                                                                                                                  o
                                                                                                                                                      1c       X
                                                                                                                                                                    J
     Statements, filed for the calendar year ending with or within the year covered by this return L...:2:a-1-_ _ _ _--.f-1--+--~-
   b If at least one Is reported on line 2a, did the organization file all required federal employment tax returns?     2b   X
     Note. If the sum of lines 1a and 2a is greater than 250, you may be required to e-file (see instructions)
  3a Did the organization have unrelated business gross income of $1,000 or more during the year?                       3a      X
   b If "Yes," has 1t filed a Form 990-T for this year? If "No" to line 3b, provide an explanation m Schedule O .       3b
  4a At any time during the calendar year, did the organization have an interest in, or a signature or other authority
     over, a financial account in a foreign country (such as a bank account, securities account, or other financial
     account)? .


                                                                                                                                                      ---_J
                                                                                                                        4a      X
      b If "Y~~•-" enter the name of the foreign country:        • ................................................................................
      See instructions for filing requirements for F1nCEN Form 114, Report of Foreign Bank and Financial Accounts
      (FBAR).
  5a Was the organization a party to a prohibited tax shelter transaction at any time during the tax year? .                                          5a             X
    b Did any taxable party notify the organization that It was or is a party to a proh1b1ted tax shelter transaction?                                5b             X
    c If "Yes" to line 5a or 5b, did the organization file Form 8886-T?                                                                               5c
  6a Does the organization have annual gross receipts that are normally greater than $100,000, and did the
      organization solicit any contributions that were not tax deductible as charitable contributions? .                                              6a             X
    b If "Yes," did the organization include with every solicitation an express statement that such contributions or
      gifts were not tax deductible?                                                                                                                  6b
  7   Organizations that may receive deductible contributions under section 170(c).
   a Did the organization receive a payment in excess of $75 made partly as a contribution and partly for goods
      and services provided to the payor?                                                                                                             7a
      b If "Yes," did the organization notify the donor of the value of the goods or services provided?                                               7b
      c    Did the organization sell, exchange, or otherwise dispose of tangible personal property for which it was
           required to file Form 8282?                                                                                                          7c
      d    If "Yes," 1nd1cate the number of Forms 8282 filed dunng the year                                                 l.__7d__.l____...____ _J
      e    Did the organization receive any funds, directly or indirectly, to pay premiums on a personal benefit contract?                      7e
      f    Did the organization, during the year, pay premiums, directly or indirectly, on a personal benefit contract? .                       7f
      g    If the organization received a contnbut1on of qualified intellectual property, did the organization hie Form 8899 as required?       7g
      h    If the orgamzat1on received a contnbut1on of cars, boats, airplanes, or other vehicles, did the organization file a Form 1098-C?     7h
  8        Sponsoring organizations maintaining donor advised funds. Did a donor advised fund maintained by the _ _ _ j
           sponsoring organization have excess business holdings at any time during the year?                                                    8       X
  9        Sponsoring organizations maintaining donor advised funds.                                                                           _ _ _J
      a    Did the sponsoring organization make any taxable distributions under section 4966?                                                   9a
      b    Did the sponsoring organization make a distribution to a donor, donor advisor, or related person?                                    9b
10         Section 501(c)(7) organizations. Enter:
      a    Initiation fees and capital contributions included on Part VIII, line 12                                         I 1oa  I
      b    Gross receipts, included on Form 990, Part VIII, line 12, for public use of club facilities                        10b
11         Section 501 (c)(12) organizations. Enter:
      a    Gross income from members or shareholders •                                                                        11a
      b    Gross income from other sources (Do not net amounts due or paid to other sources
           against amounts due or received from them.)                                                                        11b
                                                                                                                            i....;..;...;;.J----+--·1-- . -
12a        Section 4947(a)(1) non-exempt charitable trusts. Is the organization filing Form 990 in heu of Form 1041?                           12a
      b    If "Yes," enter the amount of tax-exempt interest received or accrued during the year. .                         I-------1
                                                                                                                               I
                                                                                                                              12b
13         Section 501(c)(29) qualified nonprofit health insurance issuers.
      a    Is the organization licensed to issue qualified health plans in more than one state?                                                13a
           Note. See the instructions for additional information the organization must report on Schedule 0.
      b    Enter the amount of reserves the organization is required to maintain by the states in which

  c
           the organization Is licensed to issue qualified health plans
           Enter the amount of reserves on hand                                                            13c
                                                                                                                            l13bl
                                                                                                                            ,___,__     ___________-
14a        Did the organization receive any payments for indoor tanning services during the tax year? .                                               14a
     b     If "Yes," has it filed a Form 720 to reoort these oavments? If "No," provide an explanation in Schedule 0                                  14b
ONA                                                                                                                                                    Fonn   990 (2017)
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         TRUE THE VOTE, INC                                                       XX-XXXXXXX
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•@iii           Governance, Management, and Disclosure For each "Yesn response to lines 2 through lb below, and for a "Non
                response to line Ba, Bb, or 10b below, describe the circumstances, processes, or changes in Schedule 0. See instructions.
                Check if Schedule O contains a response or note to any line in this Part VI                  .   .   .   .    .   .   .   .   •    .    .       .   .   IZI
Section A Governing Body and Management
                                                                                                                                                            Yes         No
   1a      Enter the number of voting members of the governing body at the end of the tax year.                          1a                   4
           If there are material differences in voting rights among members of the governing body, or
           1f the governing body delegated broad authority to an executive committee or similar
           committee, explain In Schedule 0.
    b      Enter the number of voting members included in line 1a, above, who are independent                1b           4
   2       Did any officer, director, trustee, or key employee have a family relationship or a business relat1onsh1p with
           any other officer, director, trustee, or key employee?                                                             2      X
                                                                                                                            l---+---+---
   3       Did the organization delegate control over management duties customarily performed by or under the direct
           supervision of officers, directors, or trustees, or key employees to a management company or other person?         3      X
                                                                                                                                                  l---+---1---
  4   Did the organization make any significant changes to rts governing documents since the pnor Form 990 was filed?   4
                                                                                                                      l---t---t---
                                                                                                                                  X
  5   Did the organization become aware during the year of a significant diversion of the organization's assets?      1--5-+---1--X-
  6   Did the organization have members or stockholders?                                                              1--6-t--X-1--_
  7a Did the organization have members, stockholders, or other persons who had the power to elect or appoint
      one or more members of the governing body?                                                                        7a
                                                                                                                      ,___,___,___X
    b Are any governance decisions of the organization reserved to (or sub1ect to approval by) members,
      stockholders, or persons other than the governing body?                                                          7b         X
                                                                                                                      l---+---1---
  8   Did the organization contemporaneously document the meetings held or written actions undertaken during                    ~
      the year by the following:
    a The governing body?
    b Each committee with authority to act on behalf of the governing body?
                                                                                                                        8a
                                                                                                                                 ·
                                                                                                                                  X
                                                                                                                       1---t---1---
                                                                                                                       _a_b-+-_-+-_X_
                                                                                                                                                  ·-·
  9   Is there any officer, director, trustee, or key employee listed In Part VII, Section A, who cannot be reached at
      the organization's mailing address? If "Yes," provide the names and addresses m Schedule O.                        9        X
Section B. Policies (This Section B requests information about policies not required by the Internal Revenue Code.)
                                                                                                                                                            Yes         No
 10a  Did the organization have local chapters, branches, or affiliates?                                                                          10a                   X
    b If "Yes," did the organization have written policies and procedures governing the activities of such chapters,
      affiliates, and branches to ensure their operations are consistent with the organization's exempt purposes?                                 10b
 11 a Has the organization provided a complete copy of this Form 990 to all members of its governing body before filing the form?                 11a           X
    b Describe In Schedule O the process, 1f any, used by the organization to review this Form 990.                                               _ _ _J
 12a Did the organization have a written conflict of interest policy? If "No," go to line 13                                                      12a           X
    b Were officers, directors, or trustees, and key employees required to disclose annually interests that could give rise to conflicts?         12b           X
     c     Did the organization regularly and consistently monitor and enforce compliance with the policy? If "Yes,"
           describe m Schedule O how this was done .                                                                                              12c           X
 13        Did the organization have a written whistleblower policy?                                                                              13            X
 14        Did the organization have a written document retention and destruction policy?                                                          14           X
 15        Did the process for determining compensation of the following persons include a review and approval by
           independent persons, comparability data, and contemporaneous substant1at1on of the deliberation and decision?                          - -•_J
     a The organization's CEO, Executive Director, or top management official                                                                     15a           X
     b Other officers or key employees of the organization                                                                                        15b           X

 16a
           If "Yes" to line 15a or 15b, describe the process in Schedule O (see instructions).
           Did the organization invest in, contribute assets to, or participate In a 10Int venture or similar arrangement
                                                                                                                                                  __ _J
           with a taxable entity during the year? .                                                                                               16a                   X
     b If "Yes," did the organization follow a written policy or procedure requiring the organization to evaluate its
          participation in Joint venture arrangements under applicable federal tax law, and take steps to safeguard the
          organization's exempt status with respect to such arrangements?
                                                                                                                                                  ~-_J
                                                                                                                                                  16b
Section C. Disclosure
17        List the states with which a copy of this Form 990 is required to be filed        •
18        Section 6104 requires an organization to make its Forms 1023 (or 1024 if applicable), 990, and 990-T (Section 501 (c)(3)s only)
          available for public inspection. Indicate how you made these available. Check all that apply.
          D Own website        D Another's website          D Upon request D Other (exp/am in Schedule 0)
19        Describe In Schedule O whether (and if so, how) the organization made its governing documents, conflict of interest policy, and
          financial statements available to the public during the tax year.
20        State the name, address, and teleohone number of the person who possesses the organization's books and records:
                              CATHERINE ENGELBRECHT 832-444-7701
                                                                                                                                                            •
                              13909 TRACK ROAD E CAT SPRING TX 78933
QNA                                                                                                                                                Form     990 (2017)
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        TRUE THE VOTE, INC •                                                          XX-XXXXXXX
 Form 990 (2017)                                                                                                                                                                                 Page 7

•@fU•.. Compensation of Officers, Directors, Trustees, Key Employees, Highest Compensated Employees, and-
        Independent Contractors
             Check if Schedule O contains a response or note to any line in this Part VII .                                    O
 Section A. Officers, Directors, Trustees, Key Employees, and Highest Compensated Employees
 1a Complete this table for all persons required to be listed. Report compensation for the calendar year ending with or within the
 organization's tax year.
   • List all of the organization's current officers, directors, trustees (whether individuals or organizations), regardless of amount of
 compensation. Enter -0- In columns (D), (E), and (F) if no compensation was paid.
    • List all of the organization's current key employees, 1f any. See 1nstruct1ons for definition of "key employee."
    • List the organization's five current highest compensated employees (other than an officer, director, trustee, or key employee)
 who received reportable compensation (Box 5 of Form W-2 and/or Box 7 of Form 1099-MISC) of more than $100,000 from the
 organization and any related organizations.
    • List all of the organization's former officers, key employees, and highest compensated employees who received more than
$100,000 of reportable compensation from the organization and any related organizations.
    • List all of the organization's former directors or trustees that received, in the capacity as a former director or trustee of the
organization, more than $10,000 of reportable compensation from the organization and any related organizations.
List persons in the following order: individual trustees or directors; institutional trustees; officers; key employees; highest
compensatea employees; and former such persoos.
0     Check this box 1f neither the organization nor any related organization compensated any current officer, director, or trustee.
                                                                                                                     (C}
                                                                                                             PosrtIon
                                      (A)                                              (BJ                                                             (D)              (E)               (F)
                                                                                                  (do not check more than one
                              Name and Title                                         Average      box, unless person Is both an                       Reportable      Reportable       Estimated
                                                                                    hours per     officer and a director/trustee)                   compensation compensation from     amount of
                                                                                  ~eek 01st an, o-                                                       from           related           other
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- {1)____ ~~!_1:1_~~~~~-~-~~~~~~~~~!.. _________________________                       1~-----
    EXECUTIVE DIR                                                                                  X                                                  112500                   0                 0
_(2) ___ DIANNE JOSEPHS ---------------------------------                                1
   BOARD MEMBER                                                                                    X                                                          0                0                 0
- (3) ---~~~~~-~~(~!:~~-~---------------------------···----- --------~-----
    BOARD MEMBER                                                                                   X                                                          0                0                 0
- {4)_-- -~~~~-!-~-~_l?_I?_ -------------------------------·· ------
                                                                                          1
    BOARD MEMBER                                                                                   X                                                          0                0                 0
- (5) -- ----- -·· ---- ----- ----- ---. --------- --- ---- ---------··· ---· - ·------ -------

- (6)__ ---- ---------------· -----· ----- --------- --- ------ ----- --·· -- . ---- -------- -


- (7) ---- -- ------ ---------- ---- ---- --------- ---- ----- ------------ -

. (8) ... --- --------- --- ------------ ------ -------- -- ----- ---- ----- - -···· -- -------


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(11) ·------------------------------------------------------------ --------------
(12) --- _____ -------- _____ ---- _------- __________ -- ___ . ---------- __

(13) -- _______ -- ___ --- _--- __ --- _------ __________ ---- ___ ---------- _

(14) __ -------------- ____ ---- _---•____ -- _-------- __ -------- _--- _--

QNA                                                                                                                                                                                   Form   990 (2017)
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        TRUE THE VOTE, INC                                                      XX-XXXXXXX
                                                                                                                                                                                        Page8
            ---------------------------------""'.""'"--~--""'.""'"-----
Form 990 (201 7)

                      Section A. Officers, Directors, Trustees, Key Employees, and Highest Compensated Employees (continued)
                                                                                                                   (C)
                                                                                                                  Pos1t1on                                    (E)                (F)
                                        (A)                                                  (B)                                             (D)
                                                                                                     (do not check more than one
                                Name and title                                            Average    box, unless person Is both an       Reportable       Reportable          Estimated
                                                                                         hours per   officer and a director/trustee)   compensation compensation from         amount of
                                                                                       week (hst an•,,1---~~-~~-~"""--l
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(16) ___ --- ________ ------- _--- -- _---- -- ____ ------- -- __ --- _--- __ --- ----- _--------


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(24) _---------- _____ --- _________ -- ---------- ____ -- ------ _--- _---- -- _-- --- -- -- __

(25) ---- _-- --- ___________ --- -- _-- ___________ -- ---- ------ --- ----- _

   1b       Sub-total .                                                                        112500                               •
     c      Total from continuation sheets to Part VII, Section A                                                                   •
     d      Total (add lines 1b and 1c). .                                                     112500                               •
   2        Total number of individuals (including but not limited to those listed above) who received more than $100,000 of
            reportable compensation from the organization                        1            •
                                                                                                                                                                                            No
   3        Did the organization list any former officer, director, or trustee, key employee, or highest compensated
            employee on line 1a? If "Yes," complete Schedule J for such md1v1dual
   4        For any individual listed on line 1a, Is the sum of reportable compensation and other compensation from the
            organization and related organizations greater than $150,000? If "Yes," complete Schedule J for such




  1
   5
            individual .
            Did any person listed on line 1a receive or accrue compensation from any unrelated organization or ind1v1dual
            for services rendered to the organ1zat1on? If "Yes," complete Schedule J for such person
Section B. Independent Contractors
                                                                                                                     5

      Complete this table for your five highest compensated independent contractors that received more than $100,000 of
      compensation from the organization. Report compensation for the calendar year ending with or within the organization's tax
                                                                                                                                                                           --4




      year.
                                                                   (A)                                                                                 (Bl                   (C)
                                                  Name and business address                                                                  Description of services     Compensation

    ROBERTA SWANK PO BOX 69 COLLEGE GROVE, TN 37046                                                                                 AOMIN                                     12000




   2       Total number of independent contractors (including but not limited to those listed above) who
           received more than $100,000 of compensation from the organization                                             •
                                                                                                                                                                             Form   990 (2017)
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             TRUE THE VOTE, INC •                                                        XX-XXXXXXX
Form 990 (201 7)
                                                                                                                                                                           Page9
•ftfflfJjj1 Statement of Revenue
                        Ch ec
                            ~k.If Sche d ue
                                          I 0 contains a response or note to any line in this Part VIII .
                                                                                                                    (Al
                                                                                                               Total revenue
                                                                                                                                  (Bl                (Cl             (DI
                                                                                                                                                                              •
                                                                                                                               Related or         Unrelated       Revenue
                                                                                                                                 exempt           business    excluded from tax
                                                                                                                                function           revenue     under sections

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                  Federated campaigns                                               1a
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C, 0              Membership dues                                                   1b
  • E           C Fundraising events                                                1c
£!·- ~ca        d Related organizations                                             1d
Cl =                                                                                                           -- -- ---· --------
rn E            e Government grants (contributions)                                 1e
50
==::J ..GI      f All other contributions, gifts, grants,
                  and similar amounts not included above
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                 g Noncash contnbubons included in lines 1a-1 f $
                                                                            423535
C 'ti
0 C                                                               ------------------ ----
O ca
   a,
                 h Total. Add lines 1a-1f .
                                                                                           Business Code
                                                                                                           •      423535
   ~
   C
   a,          2a
   >
   a,
  a:
                       -------------------------------·-------------------
                b
  a,
  ()
                      .. --------------------------------------------------
                C
  ·e:
 CD
                       ---------------------------------------------------
                 d ___________________________________ .., _______________
 U)
  E              e
  l!!              ---------------------------------------------------
  a,             f All other program service revenue .
  e
 Q.

               3
                 g Total. Add lines 2a-2f
                   Investment income (including dividends, interest,
                                                                                                           •                                                                        j

                   and other similar amounts)                                                              •
               4   Income from investment of tax-e><empt bond proceeds                                     •
               5   Royalties
                                                                       (1) Real
                                                                                                           •

                                                                                                                                                              __J
                                                                                            ~1) Personal

               6a Gross rents
                b Less: rental e><penses
                C Rental income or (loss)
                d Net rental income or noss)
               7a Gross amount from sales of  (i) Secunt1es                                   (11) Other
                                                                                                           •
                  assets other than inventory
                b Less: cost or other basis
                  and sales expenses
                C Gain or (loss)
                d Net gain or (loss}                                                                       •
  Cl)
  ::,
  C
               Ba Gross income from fundrais,ng
  Cl)
  >                   events (not including $
  Cl)                                         ------------------
                      of contnbutions reported on line 1c).                                                                                 - -
 a:
  ...                 See Part IV, line 18                       a
 -
  Cl)
 .s::.
 0              b     Less: direct expenses                      b
                C
               9a
                      Net income or (loss) from fundra1sing events
                      Gross income from gaming activities.
                                                                                                           •
                      See Part IV, line 19                       a
                b     Less: direct expenses                      b

             10a
                C     Net income or (loss) from gaming activities
                      Gross sales of inventory, less
                                                                                                           •
                      returns and allowances                     a
                b     Less: cost of goods sold                   b
                C     Net income or (loss) from sales of inventory .
                                      Miscellaneous Revenue                                Business Code
                                                                                                           •
             11a
                  --.. ----- .----.----- ... --- .------- ... -------- ----- -
               b
                  ----- -. -. ------ . -. --- . ---- -......... --- ---- ------- .......
                C
                  ---- ----- . --- -........ ---------- ---............... ---·------ .
               d All other revenue
               e Total. Add lines 11a-11d .                                                                •                                                                      I
QNA
             12  Total revenue. See instructions.                                                          •      423535
                                                                                                                                                                Form   990 (2017)
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      TRUE THE VOTE, INC                                                      XX-XXXXXXX
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l:ffll•fl Statement of Functional Expenses
Section 501 (c)(3) and 501 (c)(4) organizations must complete all columns. All other organ,zat,ons must complete column (A).
            Check If Schedule O contains a response or note to anv line m t h"Is Part IX                                                                    .      IXI
Do not include amounts reported on lines 6b, 7b,           (Al                  (Bl                                                 (C)                 (D)
                                                     Total expenses     Program service                                      Management and         Fundra1sing
Sb, 9b, and 10b of Part VIII.                                              expenses                                          general expenses        expenses
  1     Grants and other assistance to domestic organizations
        and domestic governments. See Part IV, line 21
  2     Grants and other assistance to domestic
        individuals. See Part IV, line 22
  3     Grants and other assistance to foreign
        orgamzat1ons, foreign governments, and foreign
        individuals. See Part IV, Imes 15 and 16 ..
  4     Benefits paid to or for members .         .
  5     Compensation of current officers, directors,
        trustees, and key employees      .        .
  6     Compensation not included above, to disqualified
        persons (as defined under section 4958(0(1)) and
        persons described m section 4958(c)(3)(B)
  7   Other salaries and wages                                                    112500                   112500
  8   Pension plan accruals and contributions (include
      section 401 (kl and 403(b) employer contributions)
  9   Other employee benefits .
 10   Payroll taxes .                                                                 8785                     8785
 11   Fees for services (non-employees):
    a Management
    b Legal
    C Accounting
    d Lobbying .
    e Professional fundra1sing services. See Part N, line 17
    f Investment management fees
   g Other. (If line 11 g amount exceeds 10% of hne 25, column
      (A) amount, list line 11 g expenses on Schedule 0.)
 12     Advertising and promotion
 13     Office expenses                                                             34895                    34895
 14     Information technology
 15     Royalties
 16     Occupancy                        .
 17     Travel
 18     Payments of travel or entertainment expenses
        for any federal, state, or local public officials
19    Conferences, conventions, and meetings
20    Interest
21    Payments to affiliates .
22    Depreciation, depletion, and amortization
23    Insurance.
24    Other expenses. Itemize expenses not covered
      above (List miscellaneous expenses in hne 24e. If
      hne 24e amount exceeds 10% of hne 25, column
      (A) amount, list hne 24e expenses on Schedule 0.)
   a DUES AND REGISTRATIONS                                                        34970                     34970
      ---------------------------------------------------------------
   b WEB INTERN GRAPHICS COMMUNICATIONS                                            28928                                              28928
      ---------------------------------------------------------------
   c LEGAL PROF                                                                    28500                                              28500
   d CONTR LABOR                               -----------··----·----              19794                     19794
       ---------------------------------------------------·-----------
       All other expenses other managemenl aCIMl18s-Bank fees                                            Laiot44ilt,7, ~Qa onal expensls4 6 2 4 7
  e                                                                      Paym Proc ~~'1.Jt1&1 Contract

25     Total functional expenses. Add lines 1 through 24e                         563388                  359713                   203675
26     Joint costs. Complete this hne only if the
       organization reported m column (B) joint costs
       from a combined educational campaign and
       fundra1s1n~ sohcitat1on. Check here
       following OP 98-2 (ASC 958-720)
                                                  D if •
ONA                                                                                                                                                 Form   990 (2017)
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       TRUE THE VOTE, INC ·                                                         XX-XXXXXXX
Form 990 (2017)                                                                                                                                     Page 11
lifilf# Balance Sheet
                      '" k 'f
                  Ch ec                 I 0 contains a response or note to anv line in this Part X
                           I S c h e d ue                                                                    .                                          •
                                                                                                                 (A)                         (B)
                                                                                                         BegInmng of year                End of year
        1       Cash-non-interest-bearing              .   . .                 .                                   71241             1           20125
        2       Savings and temporary cash investments     . .      .                                                                2
        3       Pledges and grants receivable, net                                                                                   3
        4       Accounts receivable, net                                                                                             4
        5       Loans and other receivables from current and former officers, directors,
                trustees, key employees, and highest compensated employees.
                                                                                                       -~----·~-·- ---- _..,. --
                                                                                                                            __               ---              I
                Complete Part II of Schedule L                                                                     40607             5           40607
        6       Loans and other receivables from other dIsquahfied persons (as defined under section
                4958(ij(1)), persons described m section 4958(c)(3)(B), and contnbutmg employers and
                sponsonng organizations of section 501 (c)(9) voluntary employees' beneficiary


•rn
 rn
 rn
cc
        7
        8
                organizations (see instructions). Complete Part II of Schedule L
                Notes and loans receivable, net
                Inventories for sale or use
                                                          ..               .
                                                                                                                                     6
                                                                                                                                     7
                                                                                                                                     8
        9       Prepaid expenses and deferred charges                                                                                9
       10a      Land, buildings, and equipment: cost or
                other basis. Complete Part VI of Schedule D      10a
            b    Less: accumulated depreciation                  10b                                                             10c
       11       Investments-publicly traded securities                  .                                                         11
       12       Investments-other secunties. See Part IV, line 11 .                    . .                                       12
       13       Investments-program-related. See Part IV, hne 11                                                                 13
       14       Intangible assets                  .                                             .                               14
       15       Other assets. See Part IV, lme 11                                                                                15
       16       Total assets. Add lines 1 throuQh 15 (must eciual line 34) .                                     111848          16              60732
       17       Accounts payable and accrued expenses                                                             12604          17               6625
       18       Grants payable .                                                                                                 18
       19       Deterred revenue                                                                                                 19
       20       Tax-exempt bond habilit1es .                                                                                     20
       21       Escrow or custodial account liability. Complete Part IV of Schedule D .                                          21
 rn    22       Loans and other payables to current and former officers, directors,
 CD
~               trustees, key employees, highest compensated employees, and
:sca            disqualified persons. Complete Part II of Schedule L                                                             22
:.J 23          Secured mortgages and notes payable to unrelated third parties         .                                         23
       24       Unsecured notes and loans payable to unrelated third parties                                                     24
       25       Other liabillt1es (including federal income tax, payables to related third
                parties, and other liab1hties not included on lines 17-24). Complete Part X
                of Schedule D                                                                                                    25
       26       Total liabilities. Add lines 17 throuah 25                                                         12604         26                6625
 rn
                Organizations that follow SFAS 117 (ASC 958), check here               • • and
 CD             complete lines 27 through 29, and lines 33 and 34.
u
C
ca 27           Unrestncted net assets . .                    .                    .                                             27
ii 28
m               Temporarily restricted net assets .                  .                       .                                   28
"Cl    29       Permanently restricted net assets •                                                                              29
 C
 ::J            Organizations that do not follow SFAS 117 (ASC 958), check here         • 1K) and
...0
LI,.



..
 rn
 Cl)
       30
                complete lines 30 through 34•
                Capital stock or trust principal, or current funds
                                                                                                                                 -
                                                                                                                                 30
 II)   31       Paid-in or capital surplus, or land, building, or equipment fund                                                 31
..
~
z
 Cl)
       32
       33
                Retained earnings, endowment, accumulated income, or other funds
                Total net assets or fund balances .
                                                                                                                  99244
                                                                                                                  99244
                                                                                                                                 32
                                                                                                                                 33
                                                                                                                                                 54107
                                                                                                                                                 54107
       34       Total liabilities and net assets/fund balances .         .     .   .         . .                 111848          34              60732
ONA                                                                                                                                       Form   990 (2017)
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      TRUE THE VOTE, INC                                                                                         XX-XXXXXXX
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•=tfflf3•
Form 990 (2017)

              Reconciliation of Net Assets

  1
              Check if Schedule O contains a response or note to any line in this Part XI
        Total revenue (must equal Part VIII, column (A), line 12) .                                          1         423535
                                                                                                                                •
  2     Total expenses (must equal Part IX, column (A), hne 25)                                             2          563388
  3     Revenue less expenses. Subtract line 2 from line 1                                                  3         -139853
  4     Net assets or fund balances at beginning of year (must equal Part X, line 33, column (A)) .          4          99244
  5     Net unrealized gains (losses) on investments                                                        5
  6     Donated services and use of fac1ht1es                                                               6
  7     Investment expenses .                                                                               7
  8     Prior period adjustments .                                                                          8
  9     Other changes 1n net assets or fund balances (explain in Schedule 0)                                9             94716
 10     Net assets or fund balances at end of year. Combine lines 3 through 9 (must equal Part X, hne
        33, column (B))                                                                                     10            54107
• !!-,•••·••• Financial Statements and Reporting
              Check if Schedule O contains a response or note to any line in this Part XII                                      D
                                                                                                                          Yes   No
  1     Account1rig method used to prepare the Form 990: D Cash IZ) Accrual , D Other
                                                                                        --------
        1f the organization changed its method of accounting from a prior year or checked "Other," explain m
        Schedule 0.
  2a    Were the organization's financial statements compiled or reviewed by an independent accountant?              2a         X
        If "Yes," check a box below to indicate whether the financial statements for the year were compiled or
        reviewed on a separate basis, consolidated basis, or both:
     D Separate basis D Consolidated basis D Both consolidated and separate basis                                    ----1-
   b Were the organization's financial statements audited by an independent accountant?                              2b   X
     If "Yes," check a box below to indicate whether the financial statements for the year were audited on a
     separate basis, consolidated basis, or both·
     D Separate basis D Consolidated basis D Both consolidated and separate basis
   c If "Yes" to hne 2a or 2b, does the organization have a committee that assumes responsibility for oversight
                                                                                                                     ____       ,_

     of the audit, review, or comp1lat1on of its financial statements and selection of an independent accountant?    2c
     If the organization changed either its oversight process or selection process during the tax year, explain in
     Schedule 0.
  3a As a result of a federal award, was the organization required to undergo an audit or audits as set forth 1n
     the Single Audit Act and 0MB Circular A-133?.                                                                   3a         X
   b If "Yes," did the organization undergo the required audit or audits? If the organization did not undergo the
     required audit or audits, explain why in Schedule O and describe any steps taken to undergo such audits.        3b
QNA                                                                                                                  Form 990 (2017)
                 Case 4:20-cv-04034 Document 41-2 Filed on 01/11/21 in TXSD Page 92 of 161
                                                                                                                                                                          0MB No. 1545-0047
SCHEDULE A                                      Public Charity Status and Public Support
 (Form 990 or 990-EZ)
                                 Complete ii the organization is a section 501 (c)(3} organization or a section 4947(a)(1} nonexempt charitable trust.                     ~@17
Department of the Treasury                                                 •
                                                                     Attach to Form 990 or Form 990-EZ.                                                                   Open to Public
Internal Revenue Service                       • Goto www.frs.gov/Fonn990 for instructions and the latest information.                                                     Inspection
Name of the organiution                                                                                                                         Employer identification number




                                                                                                                                                                  0q
          TRUE THE VOTE, INC                                                                                                                        XX-XXXXXXX

The organization Is not a private foundation because it Is: (For Imes 1 through 12, check only one box.)
  1 DA church, convention of churches, or association of churches described in section 170(b)(1)(A)(i}.
  2 DA school described in section 170(b)(1)(A)(ii). (Attach Schedule E (Form 990 or 990-EZ).)
  3 DA hospital or a cooperative hospital service organization described in section 170(b)(1)(A)(iii).
  4 DA medical research organization operated 1n conjunction with a hospital described in section 170(b)(1)(A)(iii). Enter the
        hospital's name, city, and state:
  5 D An organization operated for the benefit of a college or university owned or operated by a governmental unit described in
        section 170(b)(1)(A)(iv). (Complete Part II.)
      6   DA federal, state, or local government or governmental unit described in section 170(b)(1)(A)(v).
      7   D An organization that normally receives a substantial part of its support from a governmental unit or from the general public
            described in section 170(b)(1)(A)(vi). (Complete Part 11.)
  8       DA community trust described in section 170(b)(1)(A)(vi). (Complete Part II.)
      9   D An agricultural research organization described in section 170(b)(1)(A)Ox) operated 1n conjunction with a land-grant college
            or university or a non-land-grant college of agriculture (see instructions). Enter the name, city, and state of the college or
            university:
 10       ~ An organization.that normafly"rece1ves:·~1} more than 33l13o/o.of its support from contributions, membership.fees, and gross···
            receipts from activities related to its exempt functions-subject to certain exceptions, and (2) no more than 33 113% of its
            support from gross investment income and unrelated business taxable income (less section 511 tax) from businesses
            acquired by the organization after June 30, 1975. See section 509(a)(2). (Complete Part Ill.)
 11       D An organization organized and operated exclusively to test for pubhc safety. See section 509(a)(4).
 12       D An organization organized and operated exclusively for the benefit of, to perform the functions of, or to carry out the purposes
            of one or more publicly supported organizations described in section 509(a)(1) or section 509(a)(2). See section 509(a)(3).
            Check the box in lines 12a through 12d that describes the type of supporting organization and complete lines 12e, 12f, and 12g.
      a      D    Type I. A supporting organization operated, supervised, or controlled by its supported organization(s), typically by giving
                  the supported organization{s) the power to regularly appoint or elect a majonty of the directors or trustees of the
                  supporting organization. You must complete Part IV, Sections A and 8.
      b      D    Type II. A supporting organization supervised or controlled in connection with ,ts supported organization(s), by having
                  control or management of the supporting organization vested in the same persons that control or manage the supported
                  organization(s). You must complete Part IV, Sections A and C.
      c      D    Type Ill functionally integrated. A supporting organization operated in connection with, and functionally integrated with,
                  its supported organization(s) (see instructions). You must complete Part IV, Sections A, D, and E.
      d      D   Type Ill non-functionally integrated. A supporting organization operated in connection with its supported organization(s)
                 that is not functionally integrated. The organization generally must satisfy a distribution requirement and an attentiveness
                 requ,rement (see instructions). You must complete Part IV, Sections A and D, and Part V.
      e      D  Check this box if the organization received a written determination from the IRS that ,t is a Type I, Type II, Type Ill
                functionally integrated, or Type Ill non-functionally integrated supporting organization.
      f    Enter the number of supported organizations . . . . . . . . . . . • . . . . . . . . . . .
      g    Provide the following infonnation about the supported orgarnzation(s).
          (i} Name of supported organization                    (IQ EIN                    {IIQ Type of organization    (ivJ Is the organ1zat1on (v) Amount of monetary      (vQ Amount of
                                                                                           (described on lines 1-10    listed m your governing         support (see        other support (see
                                                                                           above (see 1nstruct1ons))           document?               instructions)          instructions)

                                                                                                                         Yes           No

(A)

(8)

(C)

(D)

(E)

Total                                                it}•':.f11 , 1 ~~ •II~.~~   ·_ ,·A!, 2~       '
                                                                                                  ', .   ~
                                                                                                             ,,
                                                                                                                  '         ·- '    ,.. '
For Paperwork Reduction Act Notice, see the Instructions for Form 990 or 990-EZ.                                                   QNA                  Schedule A (Fonn 990 or 990-EZ) 2017
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         TRUE THE VOTE, INC                                                  XX-XXXXXXX
Schedule A (Form 990 or 990-EZ) 2017                                                                                                              Page 2
•:ffilli• Support Schedule for Organizations Described in Sections 170(b)(1}(A)(iv) and 170(b)(1}(~)(vi)
             (Complete only if you checked the box on line 5, 7, or 8 of Part I or if the org,6ization failed to qualify, under
             Part Ill. If the organization fails to qualify under the tests listed below, please- complete Part Ill.)
Section A. Public Support                                                                       I
Calendar year (or fiscal year beginning in)    •     (a) 2013      (b) 2014      (c) 2015     /(d) 2016    (e) 2017     (f) Total
  1   Gifts,    grants,      contributions,
      membership fees received. (Do not
                                             and
                                                                                                         I
      include any "unusual grants.")                                                                 I
                                                                                                 I
  2     Tax     revenues   levied    for   the
        organization's benefit and either paid
        to or expended on its behalf



                                                                                             I
  3     The value of services or fac1l1t1es
        furnished by a governmental unit to the
        organization without charge .
  4     Total. Add lines 1 through 3 .                                                   I
  5     The portion of total contributions by
        each     person     (other     than     a
                                                                                     I

                                                                                 I
        governmental      unit    or     publicly
        supported organization) included on
        line 1 that exceeds 2% of the amount
        shown on line 11, column (f) .
  6   Public support. Subtract line 5 from line 4                            I
Section B. Total Suooort                                                 I
Calendar year (or fiscal year beginning in)    •        (a) 2013       IID 2014          (c) 2015            (d) 2016      (e) 2017        (f) Total
  7   Amounts from line 4                                          I
 8    Gross income from interest, dividends,                       V


                                                             I
      payments received on securities loans,
      rents, royalties, and income from
      similar sources .



                                                        I
 9    Net income from unrelated business
      act1v1ties, whether or not the business
      Is regularly carried on
 10     Other income. Do not include gain or        V
        loss from the sale of capital asser

 11
        (Explain In Part VI.) . . . . .
      Total support. Add lines 7 through b0
 12   Gross receipts from related acti~t~es, etc. (see in~truct1ons)_                                           12 I
 13   First five years. If the Form ~90 ts for the organization's first, second, third, fourth, or fifth tax year as a section 501(c)(3)
      organization, check this boxiind stop here      . . . . . . . . . . . . . . . . . . . . . . . . .                                  D       •
Section C. Computation of ~C.blic Support Percentage
 14   Public support percet,tge for 2017 (hne 6, column (f) divided by hne 11 , column (f)) . . . •             14                       %
 15   Public support perce age from 2016 Schedule A, Part 11, hne 14 . . . . . . . . . .                        15                       %
 16a 33 113% support tes -2017. If the organization did not check the box on hne 13, and hne 14 Is 33113% or more, check this
      box and stop herl The organization qualifies as a publicly supported organization . . . . . . . . . . . .                          D       •
   b 33 113% suppo test-2016. If the organization did not check a box on hne 13 or 16a, and hne 15 Is 33 113% or more, check
      this box and op here. The organization qualifies as a publicly supported organization . . . . . . . . . . .                        D       •
 17a   10%-fact and-circumstances test-2017. If the organization did not check a box on line 13, 16a, or 16b, and line 14 Is
       10% or    ore, and 1f the organization meets the "facts-and-circumstances" test, check this box and stop here. Explain in
       Part V ow the organization meets the "facts-and-circumstances" test. The organization qualifies as a publicly supported
       org ization . • • . . . . . . . . . . . . . • . . . . . . . . . . . . . . . . . . .                                       D               •
   b 1 Vo-facts-and-circumstances test-2016. If the organization did not check a box on line 13, 16a, 16b, or 17a, and line
          Is 10% or more, and if the organization meets the "facts-and-circumstances" test, check this box and stop here.
     Explain in Part VI how the orgamzatIon meets the "facts-and-circumstances" test. The organization qualifies as a publicly
     supported organization . . . • . . . . . . . . . . . • • . . . . • . • . . . . . . .                                      D                 •
 1     rivate foundation. If the organization dtd not check a box on line 13, 16a, 16b, 17a, or 17b, check this box and see
     instructions . . . . . • . . . . . . . . . . . . . • . . . . . . . • . . • • . . .                                        D                 •
                                                                                                                    Schedule A (Fonn 990 or 990-EZ) 2017




QNA
            TRUE
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Schedule A (Form 990 or 990-EZ) 2017                                                                                                           Page 3
j:ffij•jjj      Support Schedule for Organizations Described in Section 509(a)(2)
           , (Complete only if you checked the box on line 10 of Part I or if the organization failed to qualify under Part II.
               If the organization fails to qualify under the tests listed below, please complete Part II.)
SecIon
    t·         .
           A Pu bl"IC SUDDOrt
Calendar year (or fiscal year beginning in)             •(a) 2013  (b) 2014      (c) 2015   (d) 2016        (e) 2017 (f) Total
  1    Gifts, grants, contnbut1ons, and membership fees
       received. (Do not include any "unusual grants.'')  1082534   1193092         940764     304891                 3521281
   2      Gross receipts from adm1ss1ons, merchandise
          sold or services performed, or facthf1es
          furnished In any actIvIty that is related to the
          organization's tax-exempt purpose . . .              276546              127                      129904                         406577
   3      Gross receipts from act1v1ties that are not an
          unrelated trade or business under section 513                 1              2              2                                             5
   4      Tax    revenues     levied     for    the
          organization's benefrt and either paid to
          or expended on its behalf
  5       The value of services or facilities
          furnished by a governmental unit to the
          organization without charge .
  6       Total. Add lines 1 through 5 .                      1359081        1193221         940766         434795                       3927863
  7a      Amounts included on lines 1, 2, and 3
          received from disqualified persons
      b   Amounts included on lines 2 and 3
          received from other than disqualified
          persons that exceed the greater of $5,000
          or 1% of the amount on ltne 13 for the year                         \




                                                             - - - - -
      C   Add lines 7a and 7b
  8       Public support. (Subtract line 7c from
          line6.)                                                                                                                        3927863
Section B. Total Support
Calendar year (or fiscal year beginning in)            •     (a) 2013       (b) 2014       (c) 2015       (d) 2016      (e) 2017        (f) Total
  9   Amounts from line 6                                    1359081         1193221         940766         434795                       3927863
 10a Gross income from interest, dividends,
          payments received on securities loans, rents,
          royalties, and income from similar sources .
      b   Unrelated business taxable income (less
          section 511 taxes) from businesses
          acquired after June 30, 1975 .
      C   Add lines 10a and 1Ob
 11       Net income from unrelated business
          act1v1t1es not included tn line 1Ob, whether
          or not the business Is regularly earned on
 12       Other income. Do not include gain or
          loss from the sale of capital assets
          (Explain in Part VI.) .
 13       Total supporL (Add lines 9, 10c, 11,
          and 12.)                                           1359081        1193221          940766         434795                       3927863
 14   First five years. If the Form 990 is for the organization's first, second, third, fourth, or fifth tax year as a section 501 (c)(3)
      organization, check this box and stop here       . . . . . . . . . . . . . . . . . .                               . . . .          O   •
Section C. Computation of Public Support Percentage
 15   Public support percentage for 2017 (line 8, column (f) divided by line 13, column (f))                      15     10 0. 0 0 0 %
 16   Public su art ercenta e from 2016 Schedule A, Part 111, line 15 . . . . . .                                 16                      %
Section D. Computation of Investment Income Percentage
 17   Investment income percentage for 2017 (ltne 10c, column (f) d1v1ded by line 13, column (f))                 17                      %
 18   Investment income percentage from 2016 Schedule A, Part Ill, ltne 17 . . . . . . .                          18                      %
 19a 33113% support tests-2017. If the organization did not check the box on ltne 14, and ltne 15 is more than 33 1ra%, and line
      17 is not more than 33 113%, check this box and stop here. The organization qualifies as a publicly supported organization   •      ~
    b 33113% support tests-2016. If the organization did not check a box on ltne 14 or ltne 19a, and ltne 16 1s more than 33113%, and
      hne 18 is not more than 33113%, check this box and stop here. The organization qualifies as a publicly supported organization•      O
 20       Private foundation. If the organization did not check a box on line 14, 19a, or 19b, check this box and see instructions • 0
QNA                                                                                                              Schedule A (Form 990 or 990-EZ) 2017
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htM•rl     Supporting Organizations                                                                        '
           (Complete only if you checked a box in line 12 on Part I. If you checked 12a of Part I, complete Sections A
           and 8. If you checked 12b of Part I, complete Sections A and C. If you checked 12c of Part I, complete
           Sections A, D, and E. If you checked 12d of Part I, complete Sections A and D, and complete Part V.)
Section A. All Suooorting On::aanizations
                                                                                                                                       Yes No
  1       Are all of the organization's supported organizations listed by name in the organization's governing
          documents? If "No," descnbe m Part VI how the supported organizations are designated. If designated by
          class or purpose, descnbe the designation. If h1stoflc and continuing relationship, explain.                            1
  2       Did the organization have any supported organization that does not have an IRS determ1nat1on of status
          under section 509(a)(1) or (2)? If "Yes," exp/am m Part VI how the organization determined that the supported
          organization was described in section 509(a)(1) or (2).                                                                 2
  3a      Ord the organization have a supported organization described in section 501 (c)(4), (5), or (6)? If "Yes," answer     _ _ _J
          (b) and (c) below.                                                                                                     3a
      b Ord the organization confirm that each supported organization qualified under section 501 (c)(4), (5), or (6) and
        sat1sf1ed the public support tests under section 509(a)(2)? If "Yes," describe m Part VI when and how the               __ _J
          organization made the determmat1on.                                                                                   3b _ _J
                                                                                                                                _
      c   Did the organization ensure that all support to such organizations was used exclusively for section 170(c)(2)(8)
          purposes? If "Yes," explain in Part VI what controls the organization put in place to ensure such use.                 3c
  4a      Was any supported organization not organized in the United States ("foreign supported organization")? If
          "Yes," and if you checked 12a or 12b m Part I, answer (b) and (c) below.                                               4a
      b   Did the organization have ultimate control and d1scret1on in deciding whether to make grants to the foreign
          supported organization? If "Yes," describe in Part VI how the organization had such control and discretion            __ _J
          despite being controlled or supervised by or in connection with its supported organizations.                           4b
      c   Did the organization support any foreign supported organization that does not have an IRS determination
          under sections 501 (c)(3) and 509(a)(1) or (2)? If "Yes," explain in Part VI what controls the organization used
          to ensure that all support to the foreign supported organization was used exclusively for section 170(c)(2)(B)
          purposes.
                                                                                                                                1--1---,,-
                                                                                                                                 4c
  5a      Did the organization add, substitute, or remove any supported organizations dunng the tax year? If "Yes,"
          answer (b) and (c) below (if applicable). Also, provide detail in Part VI, including (1) the names and EIN
          numbers of the supported organizations added, substituted, or removed; (iij the reasons for each such action;
          (iii) the authonty under the organization's organizing document authorizing such action; and (1v) how the action ,
          was accomplished (such as by amendment to the organizing document).
                                                                                                                                ___ , _
                                                                                                                             5a
      b   Type I or Type II only. Was any added or substituted supported organization part of a class already
          designated in the organization's organizing document?                                                                  5b
      c   Substitutions only. Was the subst1tut1on the result of an event beyond the organization's control?                     5c
  6       Did the organization provide support (whether in the form of grants or the provision of services or facilities) to
          anyone other than (i) ,ts supported organizations, (ii) 1ndiv1duals that are part of the charitable class benefited
          by one or more of its supported organizations, or (1i1) other supporting organizations that also support or
          benefit one or more of the filing organization's supported organizations? If "Yes," provide detail m Part VI.
                                                                                                                                ----,-
                                                                                                                            6
  7       Ord the organization provide a grant, loan, compensation, or other s1m1lar payment to a substantial contributor
          (defined in section 4958(c)(3)(C)), a family member of a substantial contributor, or a 35% controlled entity with
          regard to a substantial contributor? If "Yes," complete Part I of Schedule L (Form 990 or 990-EZ).                7
  8       Did the organization make a loan to a disqualified person (as defined in section 4958) not descnbed in line 7? 1----1e---1_J
          If "Yes," complete Part I of Schedule L (Form 990 or 990-EZ).                                                           a
                                                                                                                                1---1---1----,
  9a Was the organization controlled directly or indirectly at any time dunng the tax year by one or more
     disqualified persons as defined in section 4946 (other than foundation managers and organizations described                __ _J
     in section 509(a)(1) or (2))? If "Yes," provide detail in Part VI.                                                          9a
   b Did one or more disqualified persons (as defined in line 9a) hold a controlling interest in any entity in which            _ _ _j
     the supporting organization had an interest? If "Yes," provide detall In Part VI.                                           9b
   c Did a d1squahf1ed person (as defined ,n line 9a) have an ownership interest in, or derive any personal benefit             _ _ _J
     from, assets in which the supporting organization also had an interest? If "Yes," provide detail m Part VI.                 9c
10a  Was the organization subject to the excess business holdings rules of section 4943 because of section
     4943(f) (regarding certain Type II supporting organizations, and all Type Ill non-functionally integrated
     supporting organizations)? If "Yes," answer 10b below.
                                                                                                                                1-¼-I_J
                                                                                                                                10a
   b Did the organization have any excess business holdings 1n the tax year? (Use Schedule C, Form 4720, to                     _ _ _j
          determine whether the organization had excess business holdings.)                                                     10b
                                                                                                              Schedule A (Fonn 990 or 990-EZ) 2017


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                      Su ~Orting Organizations (continued)
                  '
                                                                                                                                                   Yes No
 11           Has the organization accepted a gift or contribution from any of the following persons?
      a       A person who directly or indirectly controls, either alone or together with persons described in (b) and (c)
              below, the governing body of a supported organization?                                                                     11a
      b       A family member of a person described in (a) above?                                                                        11b
      c       A 35% controlled ent1t of a arson described in a or b above? If "Yes" to a, b, ore, rov,de detail ,n Part VI.              11c
Section B. Type I Supporting Organizations
                                                                                                                                                   Yes    No
  1           Did the directors, trustees, or membership of one or more supported organizations have the power to




                                                                                                                                                         J
              regularly appoint or elect at least a majority of the organization's directors or trustees at all times dunng the
              tax year? If "No," descnbe in Part VI how the supported organization(s) effectively operated, supervised, or
              controlled the organization's activities. If the organization had more than one supported organization,
              describe how the powers to appoint and/or remove directors or trustees were allocated among the supported
              organizations and what conditions or restrictions, if any, applied to such powers dunng the tax year.                     --
                                                                                                                                         1
                                                                                                                                           --
  2           Did the organization operate for the benefit of any supported organization other than the supported
              organization(s) that operated, supervised, or controlled the supporting organization? If "Yes," explain in Part
              VI how providing such benefit earned out the purposes of the supported orgamzat1on(s) that operated,
              supervised, or controlled the supporting organization.'                                                                   ----
                                                                                                                                         2
                                                                                                                                                         1-

                          .
Section C. Type II Supporting Organizations
                                                                                                                                                   Yes   No
  1

                                                                                                                                                         J
              Were a majority of the organization's directors or trustees during the tax year also a majority of the directors
              or trustees of each of the organization's supported organ1zation(s)? If "No," describe in Part VI how control
              or management of the supporting organization was vested in the same persons that controlled or managed
              the supported organizat1on(s).                                                                                                 1
          .                                  .
Section D. All Type Ill Supporting Organizations
                                                                                                                                                   Yes No
  1           Did the organization provide to each of its supported organizations, by the last day of the fifth month of the
              organization's tax year, (i) a written notice describing the type and amount of support provided during the prior tax
              year, (ii) a copy of the Form 990 that was most recently filed as of the date of not1f1cat1on, and (iii) copies of the
              organization's governing documents 1n effect on the date of not1ficat1on, to the extent not previously provided?          --
                                                                                                                                         1
                                                                                                                                           --, _
  2           Were any of the organization's officers, directors, or trustees either (1) appointed or elected by the supported
              organization(s) or (ii) serving on the governing body of a supported organization? If "No, " explain in Part VI how
              the organization maintained a close and continuous working relationship with the supported organizat1on(s).                    2



                                                                                                                                                         J
  3           By reason of the relationship described in (2), did the organization's supported organizations have a
              significant voice in the organization's investment policies and in directing the use of the organization's
              income or assets at all times during the tax year? If "Yes," describe in Part VI the role the organization's
              supported organizations played ,n this regard.                                                                                 3
Section E. Type Ill Functionally Integrated Supporting Organizations
  1           Check the box next to the method that the organization used to satisfy the Integral Part Test during the year (see instructions).
      a       D The organization satisfied the Act1v1t1es Test. Complete line 2 below.
      b       D The organization is the parent of each of its supported organizations. Complete line 3 below.
   c          D The organization supported a governmental entity. Descnbe in Part VI how you supported a government entity (see instructions).
 2            Activities Test. Answer (a) and (b) below.                                                                                           Yes No



                                                                                                                                                         J
   a Did substantially all of the organization's activities during the tax year directly further the exempt purposes of
              the supported organrzation(s) to which the organization was responsive? If "Yes, " then 1n Part VI identify
              those supported organizations and explain how these activities directly furthered the,r exempt purposes,
              how the organization was responsive to those supported organizations, and how the organization determined
              that these activities constituted substantially all of its activities.                                                     2a



                                                                                                                                                         J
   b Did the activities described in (a) constitute act1vit1es that, but for the organization's involvement, one or more
     of the organization's supported organization(s) would have been engaged in? If "Yes, n explain in Part VI the                       -   . -
              reasons for the organization's position that its supported organ1zation(s) would have engaged in these
              activities but for the organization's mvolvement.                                                                        - --
                                                                                                                                         2b
 3
  a
              Parent of Supported Organ1zat1ons. Answer (a) and (b) below.
              Did the organization have the power to regularly appoint or elect a majority of the officers, directors, or
              trustees of each of the supported organizations? Provide details ,n Part VI.                                               3a
                                                                                                                                                               I
   b Did the organization exercise a substantial degree of direction over the policies, programs, and act1v1t1es of each
              of its suooorted oraanizations? If "Yes," describe in Part VI the role otayed by the oraanizat1on in this reaard.
                                                                                                                                       --
                                                                                                                                       3b
                                                                                                                                          - _J
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•@itl Type Ill Non-Functionally Integrated 509(a)(3) Supporting Organizations
  1    D Check here 1f the organization satisfied the Integral Part Test as a qualifying trust on Nov. 20, 1970 (explain 1n Part VI). See
         instructions. All other Type III non-funct1onaII1v integrated supportmq organizations mus t compete
                                                                                                         I    Sec1ons
                                                                                                                 t    Aht roug hE
                                                                                                (A) Pnor Year        (B) Current Year
 Section A - Adjusted Net Income
                                                                                                                         (optional)
   1 Net short-term capital gain                                                        1
  2 Recoveries of prior-year distributions                                              2
  3 Other gross income (see instructions)                                               3
  4 Add lines 1 through 3.                                                              4
  5 Depreciation and depletion                                                          5
   6 Portion of operating expenses paid or incurred for production or
   collection of gross income or for management, conservation, or
   maintenance of property held for production of income (see instructions)              6
   7 Other expenses (see instructions)                                                   7
   8 Adjusted Net Income (subtract lines 5, 6, and 7 from line 4).                       8
                                                                                                                          (B) Current Year
Section B - Minimum Asset Amount                                                                  (A) Pnor Year
                                                                                                                              (optional)
   1 Aggregate fair market value of all non-exempt-use assets (see
   1nstruct1ons for short tax year or assets held for part of year):
    a Average monthly value of securities                                               1a
                                                                                                                                              I
    b Average monthly cash balances                                                     1b
    c Fair market value of other non-exempt-use assets                                  1c
    d Total (add lines 1a, 1 b, and 1 c)                                                1d
    e Discount claimed for blockage or other
    factors (explain in detail in Part VI):
   2 Acquisition indebtedness aoohcable to non-exempt-use assets                         2
                                                                                                                                              I
   3 Subtract line 2 from line 1d.                                                       3
   4 Cash deemed held for exempt use. Enter 1-1/2% of line 3 (for greater amount,
   see instructions).                                                                    4
   5 Net value of non-exempt-use assets (subtract line 4 from hne 3)                     5
   6 Multiply hne 5 bv .035.                                                            6
   7 Recoveries of pnor-year d1stnbut1ons                                               7
   8 Minimum Asset Amount (add line 7 to hne 6)                                         8
Section C - Distributable Amount                                                                                            Current Year

   1 Adjusted net income for prior year (from Section A, line 8, Column A)               1
   2 Enter 85% of line 1.                                                                2
   3 Minimum asset amount for prior year (from Section B, line 8, Column A)              3
   4 Enter greater of line 2 or hne 3.                                                   4
   5 Income tax imposed in prior year                                                    5
   6 Distributable Amount. Subtract line 5 from hne 4, unless subject to
   emergency temporary reduction (see instructions).                                      6
   7  D  Check here 1f the current year is the organization's first as a non-functionally integrated Type Ill supporting organization (see
         instructions).
                                                                                                           Schedule A (Form 990 or 990-EZ) 2017




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• :1:1aa.,.     Type Ill Non-Functionally Integrated 509(a)(3) Supporting Organizations (continued)
 Section D - Distributions                                                                                                            Current Year
   1 Amounts paid to suooorted organizations to accomohsh exempt purposes
   2 Amountc paid to perform actIv1ty that directly furthers exempt purposes of supported
       organizations, in excess of income from act1v1ty
   3 Administrative expenses paid to accomplish exemot ourooses of suooorted organizations
   4 Amounts paid to acauIre exempt-use assets
   5 Qualified set-aside amounts (prior IRS aooroval reauiredl
   6 Other distributions /describe ,n Part VI). See 1nstruct1ons.
   7 Total annual distributions. Add lines 1 through 6.
   8 Distributions to attentive supported orgarnz:ntIon:; to which the organization Is responsive
      (provide details ,n Part VI). See instructions.
   9 Distributable amount for 2017 from Section C, hne 6
  10 Line 8 amount divided by fine 9 amount
                                                                                                            (ii}                         (iii}
                                                                                 (i)
      Section E - Distribution Allocations (see instructions}                                        Underdistributions             Distributable
                                                                         Excess Distributions
                                                                                                         Pre-2017                  Amount for 2017
  1       Distributable amount for 2017.from Section C, line 6
  2       Underd1stnbut1ons, 1f any, for years prior to 2017
          (reasonable cause required-explain in Part VI). See
          InstructIons.
  3       Excess distributions carryover, 1f any, to 2017
      ~   I                                                                                                                                                 1
      From 2013
      b                                                                   --   - -   .   --   - -   ----   - -- --·---   --   . ---- ----- ---   ~   -- -   1
    C From 2014                                                                                                                                             I
    d From 2015
    e From 2016
    f Total of lines 3a through e
    g Aoohed to underd1stnbut1ons of prior years                                                                                                            I
    h Aool1ed to 2017 distributable amount
    i Carryover from 2012 not aoohed (see instructions)
    j Remainder. Subtract Imes 3g, 3h, and 31 from 3f.
  4   Distributions for 2017 from
      Section D, line 7:                      $
    a Aoolied to underdistribut1ons of prior years
    b Aoohed to 2017 distributable amount
    C Remainder. Subtract Imes 4a and 4b from 4.
  5       Remaining underd1stnbut1ons 1for years prior to 2017, 1f
          any. Subtract lines 3g and 4a from line 2. For result
          greater than zero, explain in Part VI. See instructions.
 6        Remaining underd1stribut1ons for 2017. Subtract lines 3h
          and 4b from line 1. For result greater than zero, explain 1n
          Part VI. See instructions.
  7       Excess distributions carryover to 2018. Add lines 31

 8
          and 4c.
          Breakdown of hne 7:
                                                                                                                                                            I
      a   Excess from 2013
      b   Excess from 2014
      C   Excess from 2015
      d   Excess from 2016
   e      Excess from 2017
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•ifflifd          Supplemental Information. Provide the explanations required by Part II, line 10; Part 11, line 17a or 17b; Part
                  Ill, line 12; Part IV, Section A, lines 1, 2, 3b, 3c, 4b, 4c, Sa, 6, 9a, 9b, 9c, 11 a, 11 b, and 11 c; Part IV, $ection
                  B, lines 1 and 2; Part IV, Section C, line 1; Part IV, Section D, lines 2 and 3; Part IV, Section E, hnes 1c, 2a, 2b,
                  3a, and 3b; Part V, line 1; Part V, Section B, line 1e; Part V, Section D, hnes 5, 6, and 8; and Part V, Section E,
                  lines 2, 5, and 6. Also complete this part for any add1t1onal information. (See instructions.)




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     SCHEDULED                                                                                                                                        0MB No. 1545-0047
     (Form 990)                                      Supplemental Financial Statements
                                                    • Complete if the organization answered "Yes" on Form 990,
                                                 Part IV, line 6, 7, 8, 9, 10, 11a, 11b, 11c, 11d, 11e, 11f, 12a, or 12b.
                                                                                                                                                       -~©17
     Department of the Treasury                                          •   Attach to Form 990.                                                      Open to Public
     Internal Revenue Service               •   Go to www.irs.gov/Form990 for instructions and the latest information.                                Inspection
     Name of the organization                                                                                                  Employer identtficat,on number

        TRUE THE VOTE, INC                                                                                                                XX-XXXXXXX
                       Organizations Maintaining Donor Advised Funds or Other Similar Funds or Accounts.
                       Complete if the organization answered "Yes" on Form 990, Part IV, line 6.
                                                                                         (a) Donor advised funds                        (bl Funds and other accounts
        1       Total number at end of year .
        2       Aggregate value of contributions to {during year)
        3       Aggregate value of grants from {dunng year)
        4       Aggregate value at end of year .
        5       Did the organization inform all donors and donor advisors in wnting that the assets held in donor advised
                funds are the organization's property, subJect to the organization's exclusive legal control? . . . .                                    D Yes D No
        6       Did the organization inform all grantees, donors, and donor advisors in writing that grant funds can be used
                only for charitable purposes and not for the benefit of the donor or donor advisor, or for any other purpose
                conferring impermissible private benefit? . . . . . . . . . . . . . . . . . . . .                                                        D Yes D No
     1@111 Conservation Easements.
                       Complete if the organization answered "Yes" on Form 990, Part IV, line 7.
        1       Purpose{s) of conservation easements held by the organization (check all that apply).
                0 Preservation of land for public use {e.g., recreation or education) D Preservation of a historically important land area
                D Protection of natural habitat                                       D Preservation of a cert1f1ed historic structure


                                                                                                                                      -
                D Preservation of open space
       2        Complete lines 2a through 2d if the organization held a qualified conservation contribution in the form of a conservation
                easement on the last day of the tax year.                                                              Held at the End of the Tax Year

            a   Total number of conservation easements           .   .   .   .   .   .   .   .   .   .   .   .     .                   2a
            b Total acreage restricted by conservation easements . . . . . . . . . .                                                   2b
            c Number of conservation easements on a cert1f1ed historic structure included in {a)                                       2c
            d Number of conservation easements included in (c) acquired after 7/25/06, and not on a
                historic structure listed in the National Register . . . . . . . . . . . .                    2d
       3        Number of conservation easements modified, transferred, released, extinguished, or terminated by the organization during the
                tax year •
       4        Number of states where property subject to conservation easement Is located                      • ______________________ _
       5        Does the organization have a written policy regarding the periodic monitoring, inspection, handling of
                violations, and enforcement of the conservation easements it holds? . . . . . . . . . . .                   D Yes D No
       6        Staff and volunteer hours devoted to monitoring, InspectIng, handling of v1olat1ons, and enforcing conservation easements during the year

       7
                •Amount
                   ----------------------
                           of expenses incurred In monitoring, inspecting, handling of violations, and enforcing conservation easements during the year
                •$
       8        Does each conservation easement reported on line 2(d) above satisfy the requirements of section 170{h}{4}(B)(1)
                and section 170(h)(4){B)(11)? . . . . . - . . . . . . . . . . . . . . - . . . . - .                             D Yes D No
       9        In Part XIII, describe how the organization reports conservation easements in its revenue and expense statement, and
                balance sheet, and include, 1f applicable, the text of the footnote to the organization's financial statements that describes the

     •iffi•jj•  organization's accounting for conservation easements.
                  Organizations Maintaining Collections of Art, Historical Treasures, or Other Similar Assets.
                  Complete if the organization answered "Yes" on Form 990, Part IV, line 8.
       1a If the organization elected, as permitted under SFAS 116 {ASC 958), not to report in its revenue statement and balance sheet
                works of art, historical treasures, or other similar assets held for public exhibition, education, or research In furtherance of
                public service, provide, in Part XIII, the text of the footnote to its f1nanc1al statements that describes these items.
         b If the organization elected, as permitted under SFAS 116 {ASC 958), to report in its revenue statement and balance sheet
            works of art, historical treasures, or other similar assets held for public exhibition, education, or research in furtherance of
            public service, provide the following amounts relating to these items:
            (i) Revenue included on Form 990, Part VIII, line 1 . . . . . . . . . . . . . . . .                                               •
                                                                                                                     $ _____________________________ _
            (ii) Assets included In Form 990, Part X • • • • • • • • • • . . • • _ . . . . _                         $                        •
·,     2    If the organization received or held works of art, historical treasures, or other similar assets for financial gain, provide the
            following amounts required to be reported under SFAS 116 {ASC 958) relating to these items:
                                                                                                                                              • -- -- -------- --
 '       a Revenue included on Form 990, Part VIII, line 1 . . . . .
         b Assets included in Form 990, Part X . . . . . . . . .
     For Paporwork Reduction /\ct Notico, soothe lnstruct1ono for Form 000.
     QNA
                                                                                                                     $ ------ ----·
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   3
                  Organizations Maintaining Collections of Art, Historical Treasures, or Other Similar Assets (continued)
           Using the'organization's acquIsItIon, accession, and other records, check any of the following that are a significant use of its
           collection items (check all that apply):
       a   O Public exhib1t1on                                           d   O Loan or exchange programs
       b   O Scholarly research                                          e   O Other -------------- -----
       c   O Preservation for future generations
   4       Provide a description of the organization's collections and explain how they further the organization's exempt purpose In Part
           XIII.
   5       During the year, did the organization solicit or receive donations of art, historical treasures, or other similar
           assets to be sold to raise funds rather than to be maintained as part of the organization's collection?           O Yes   No     •
l:ffll•Ni         Escrow and Custodial Arrangements.
                  Complete if the organization answered "Yes" on Form 990, Part IV, line 9, or reported an amount on Form
                  990, Part X, line 21.
   1a      Is the organization an agent, trustee, custodian or other intermediary for contributions or other assets not
           included on Form 990, Part X? • • • • • . . . . . . • • . • . • . . • . . • . • .                                 O Yes D No
      b    If "Yes," explain the arrangement In Part XIII and complete the following table:
                                                                                                                        Amount
      c    Beginning balance . . . .                                                                   1c
      d    Additions during the year                                                                   1d
      e    D1stribut1ons dunng the year                                                                1e
      f    Ending balance . . . . .                                                                    1f
           Did the organization include an amount on Form 990, Part X, line 21, for escrow or custodial account habihty? D Yes D No
           If "Yes," ex lam the arrangement in Part XIII. Check here if the ex lanat1on has been rovided on Part XIII .            D
                  Endowment Funds.
                 Complete if the organization answered "Yes" on Form 990, Part IV, line 10.
                                               (a) Current year (b) Pnor year (c) Two years back         (d) Three years back   (e) Four years back

   1a   Beginning of year balance
      b Contributions
      C Net investment earnings, gains, and
        losses
      d Grants or scholarships
      e    Other expenditures for facilities and
           programs •                    .
      f    Administrative expenses .               .
   g       End of year balance .
  2        Provide the estimated percentage of the current year end balance (line 1g, column (a)) held as:
      a    Board designated or quasi-endowment           • ·---             %
      b    Permanent endowment        • --·-----------
                                           ----       --- %
      c                                          •
           Temporanly restricted endowment -----------·-··----·%
           The percentages on Imes 2a, 2b, and 2c should equal 100%.
  3a       Are there endowment funds not in the possession of the organization that are held and administered for the
           organization by:                                                                                                          Yes No
           (i) unrelated organizations . • . . • • . . . . • • • • • • . • .                                                 3a(il
           (ii) related organizations . . • • . . • . . • . . . • • • • . • .                                                3a(ii)
      b    If "Yes" on line 3a(u), are the related organizations listed as required on Schedule R?                             3b

•ifii1•
  4        Describe m Part XIII the intended uses of the orgamzat1on's endowment funds.
                   Land, Buildings, and Equipment.
                   compe  I t e 1·t th e organization
                                                 · ·  answere d "Yes " on Form 990 I P art 1v I r,ne 11 a. s ee Form 990 I Part x I r,ne 1 o
                         Description of property            (a) Cost or other basis (b) Cost or other basis (c) Accumulated (d) Book value
                                                                 (investment)              (other)             deprecIatIon
  1a   Land
   b   Buildings
   C Leasehold improvements               .
   d Equipment                    .          .
   e Other            .
Total. Add lines 1a through 1e. (Column (d) must eaual Form 990, Part X, column (BJ, line 10c.J .
QNA
                                                                                                                  .•
                                                                                                                       Schedule D (Fonn 990) 2017
                                                                                                                                                             ,,
                                                                                                                                                      ,..,
                      Case 4:20-cv-04034 Document 41-2 Filed on 01/11/21 in TXSD Page 102 of 161
                    TRUE THE ~OTE: INC                                              XX-XXXXXXX
        Schedule D (Fonn 990) 2017                                                                                                                                     Page 3

        j:fflji9j     • Investments-Other Securities.                                                                  ,
                           Complete if the organization answered "Yes" on Form 990, Part IV, line 11 b. See Form 990, Part X, line 12.
                                     (a) Descnpt1on of secunty or category                                        {b) Book value       (c) Method of valuation:
                                           Qncludmg name of security)                                                              Cost or end-of-year market value

        (1) Financial derivatives
        (2) Closely-held equity interests .               .   .     .   .
        (3) Other----------------------------------------------------------------------------------------------------------
           (A)
           (B)
           (C) ------------ --     --------------

            (D)
        --- (E) --------                         --- ------------
        --- (F)                                  ----------------

            (G)
            (H)
        -----------------------------------------------------------------------------------------------------------+
                           Investments-Program Related.
                           CompeI te 1            . f10n answere d "Yes " on Form 990 Part IV , I"me 11 c. See Form 990 I Part X, I"1ne 13
                                     "f th e orqaniza
                                                                                     '
                                         (a) Description of investment                                            {b) Book value       (c) Method of valuation-
                                                                                                                                   Cost or end-of-year market value

         (1)
         (2)
         (3)
         (4)
         (5)
         (6)
         (7)
         (8)
         (9)
       Total. (Column (b) must equal Form 990, Part X, col. (BJ /me 13)     •
       •:F.ni • •:-       Other Assets.
                          Complete if the organization answered "Yes" on Form 990, Part IV, line 11 d. See Form 990, Part X, line 15.
                                                                                (a) Description                                                       (bl Book value
         (1)
         (2)
         (3)
         (4)
         (5)
         (6)
         (7)
         (8)
         (9)
       Total. (Column (b) must equal Form 990, Part X, col. (BJ /me 15.)                                                                .•
       •:1:1••·--          Other Liabilities.
                           Complete if the organization answered "Yes" on Form 990, Part IV, line 11e or 11f. See Form 990, Part X,
                           line 25.
       1.                     (a) Oescnpt1on of hab1hty                                    {b) Book value
        (1) Federal income taxes
        (2)
        (3)
        (4)
        (5)
        (6)
        (7)
        (8)
'        (9)
                                                                            •
       ,,,.....---:-,:,-,---:-:----......,..,::---e-:,-:--:--:..,....-..,...-;::-:-::----:-:,..,...,.-+------------i
      Total. (Column (b) must equal Form 990, Part X, col. (BJ line 25)
    ~ 2. L1ab1hty for uncertain tax pos1t1ons. In Part XIII, provide the text of the footnote to the organization's financial statements that reports the
      organ1zat1on's hab1hty for uncertain tax pos1t1ons under FIN 48 (ASC 740). Check here 1f the text of the footnote has been provided in Part XIII                  D
       ONA                                                                                                                                      Schedule D (Form 990) 2017
                               Case 4:20-cv-04034 Document 41-2 Filed on 01/11/21 in TXSD Page 103 of 161
                             TRUE THE VOTE, INC                                                 r

             •ifflf3•
             Schedule D (Form 990) 2017

                                  Reconciliation of Revenue per Audited Financial Statements With Revenue per Return.
                                  Com lete if the organization answered "Yes" on Form 990, Part IV, line 12a.
                                                                                                                                                                                                                                                                 Page4



                  1        Total revenue, gains, and other support per audited financial statements . . . . . . . 1
                                                                                                                                                                                                                              t----lf---------
                  2        Amounts included on hne 1 but not on Form 990, Part VIII, line 12:
                    a      Net unrealized gains (losses) on investments                                                                                                      2a
                    b      Donated services and use of fac11Jt1es                                                                                                         i--2b----1---------1
                    c Recoveries of prior year grants .                                                                                                                      2c
                                                                                                                                                                          r----;i---------;
                    d Other {Describe in Part XIII.) .                                                                                                                       2d
                    e Add Imes 2a through 2d . . .
                                                                                                                                                                          ------------------1
                                                                                                                                                                                          i-=2-=-e-+--------
                  3   Subtract line 2e from line 1 . .                                                                                                                                                                            3
                                                                                                                                                                                                                              t----1--------
                  4  Amounts included on Form 990, Part VIII, line 12, but not on line 1:
                   a Investment expenses not included on Form 990, Part VIII, line 7b         4a
                                                                                             r----;i---------;
                   b Other (Describe 1n Part XIII.) . . . . . . . . . . . . . .               4b
                   c Add lines 4a and 4b . . . . . . . . . . . . . . . .                          . . . . . . . 4c                                                       ------------------1
                                                                                                                                                                                         1----;--------
                 5   Total revenue. Add Imes 3 and 4c. (This must equal Form 990, Part/, /me 12.) . . . . . . . 5
                                       Reconciliation of Expenses per Audited Financial Statements With Expenses per Return.
                                       Complete if the organization answered "Yes" on Form 990, Part IV, line 12a.
                 1        Total expenses and losses per audited financial statements                                                                                                                                              1
                 2
                                                                '
                          Amounts included on line 1 but not on Form 990, Part IX, hne 25:     -                               .                                                              --
                     a    Donated services and use of facilities                                    2a
                     b    Prior year adjustments                                                    2b
                     C    Other losses .                                                            2c
                     d
                     e
                          Other (Describe in Part XIII.) .
                          Add Imes 2a through 2d
                                                                                                    2d
                                                                                                                                                                                                                              -  2e
                 3        Subtract line 2e from line 1                                                                                                                                                               '            3
                 4        Amounts included on Form 990, Part IX, hne 25, but not on line 1:
                  a       Investment expenses not included on Form 990, Part VIII, hne 7b           4a
                  b       Other (Describe in Part XIII.) .                                          4b
                     C    Add lines 4a and 4b                                                                                                                                                                                   4c
                 5        Total expenses. Add Imes 3 and 4c. (This must equal Form 990, Part I, /me 18.) .                                                                                                                        5
            ·~•:41111                  Supplemental Information.
    ½ , Provide the descnpt1ons required for Part 11, lines 3, 5, and 9; Part Ill, Imes 1a and 4; Part IV, lines 1band 2b; Part V, line 4; Part X, line
    ,_.   { ·2; Part XI, Imes 2d and 4b; and Part XII, hnes 2d and 4b. Also complete this part to provide any add1t1onal information .




•




            -••••••••-•••-•••••--•••••""• •••• "''"'""'"''"''"' • • -••••-• •••• ••••• ••• ••••••••••••-••••--•••-•• •• •• .,..,.., • ..,., ... •••••• .. ••••• '"'"''"''"'""'"''"' ••• • ••• ••••••••• • • • •••- ••••••••••-• • • ••• •••••••• •   •   ••   •••• • •••• •   I ••




           - ----------------------------------------1
           QNA                                                                                                                                                                                                                        Schedule D (Form 990) 2017 •
                                                                                                                                                                                                                                                         '
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     SCHEDULEJ                                                                                                                      0MB No 1545-0047
     (Form 990)
                                                           Compensation information
                                              For certain Officers, Directors, Trustees, Key Employees, and Highest
                                                                     Compensated Employees
                                          • Complete if the organization answered "Yes" on Form 990, Part IV, line 23.
                                                                                                                                      ~@17
     Department of the Treasury                                     • Attach to Form 990.                                           Open to Public
     Internal Revenue Service              • Go to www.irs.gov/Form990 for instructions and the latest information.                  Inspection
     Name of the organization                                                                                 Employer identification number

               TRUE THE VOTE,              INC                                                                                       XX-XXXXXXX
                   Questions Regarding Compensation
                                                                                                                                               Yes   No
        1a      Check the appropriate box(es) if the organization provided any of the following to or for a person listed on Form
                990, Part VII, Section A, line 1a. Complete Part Ill to provide any relevant information regarding these items.
                D First-class or charter travel                        D Housing allowance or residence for personal use
                D Travel for companions                                D Payments for business use of personal residence
                D Tax indemnification and gross-up payments            D Health or social club dues or InrtIatIon fees
                D Discretionary spending account                       D Personal services (such as, maid, chauffeur, chef)
           b    If any of the boxes on line 1a are checked, did the organization follow a written policy regarding payment
                or reimbursement or provIsIon of all of the expenses described above? If "No," complete Part Ill to
                exp lam. . . . .               . . . . . . . . . . . . .                         . . . .                                 1b    X

       2        Ord the organization require substantiation pnor to re,mbursmg or allowing expenses incurred by all
                directors, trustees, and officers, including the CEO/Executive Director, regarding the items checked on line
                1a? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                  2     X

       3        Indicate which, ,f any, of the following the filing organization used to establish the compensation of the
                organization's CEO/Executive Director. Check all that apply. Do not check any boxes for methods used by a
                related organrzat,on to establish compensation of the CEO/Executive Director, but explain m Part Ill.
                D Compensation committee                               D Written employment contract
                D Independent compensation consultant                  D Compensation survey or study
                D Form 990 of other organizations                      D Approval by the board or compensation committee
       4        During the year, did any person hsted on Form 990, Part VII, Section A, line 1a, with respect to the frhng
                organization or a related organization:
           a Receive a severance payment or change-of-control payment?                . . . . . . .                                      4a          X
           b    Participate m, or receive payment from, a supplemental nonquahfred retirement plan?                                      4b          X
           c    Participate ,n, or receive payment from, an equity-based compensation arrangement?                                       4c          X
                If "Yes" to any of Imes 4a-c, list the persons and provide the applicable amounts for each ,tern In Part Ill.

                Only section 501(c)(3), 501(c)(4), and 501(c)(29) organizations must complete lines 5-9.
       5        For persons hsted on Form 990, Part VII, Section A, line 1a, did the organization pay or accrue any
                compensation contingent on the revenues of:
           a The organization? . . . . . . . . .                                                                                         5a
           b Any related organrzat,on? . . . . . .                                                                                       5b          X
             If "Yes" on line Sa or Sb, describe rn Part Ill.

       6        For persons hsted on Form 990, Part VII, Section A, hne 1a, did the organrzat,on pay or accrue any
                compensation contingent on the net earnings of:
           a     The organization? . . . . . . . . .                                                                                    6a           X
           b    Any related organization?     • • . . • .                                                                               6b           X
                If "Yes" on line 6a or 6b, describe in Part Ill.

       7        For persons listed on Form 990, Part VII, Section A, line 1a, did the organization provide any nonf1xed
                payments not described on lines 5 and 6? If "Yes," describe in Part Ill . . . . . . . . . . . .                          7           X
       8        Were any amounts reported on Form 990, Part VII, paid or accrued pursuant to a contract that was subJect
                to the initial contract exception described m Regulations section 53.4958-4(a)(3)? If "Yes," describe
                in Part Ill . . . . . . . . . . . . . . . . . . . . . . . . . • . . . . . .                                              8           X
.,                                                                                                                                     _ _ __J
       9        If "Yes" on hne 8, did the organization also follow the rebuttable presumption procedure described in
                Regulations section 53.4958-B(c)?  . . . . • . . . . . . . . . . . . . • . . .                                           9
     For Paperwork Reduction Act Notice, see the Instructions for Form 990.                                                     Schedule J (Form 990) 2017
     QNA
                          Case 4:20-cv-04034 Document 41-2 Filed on 01/11/21 in TXSD Page 105 of 161
          TRUE THE VOTE, INC                                                                    XX-XXXXXXX
 Schedule J (Form 990) 201 7                                                                                                                                                                                                                                                       Page    2
•@Ii• Officers, Directors, Trustees, Key Employees, and Highest Compensated Employees. Use duplicate copies if additional space is needed.
 For each ind1v1dual whose compensation must be reported on Schedule J, report compensation from the organization on row (1) and from related orgamzat1ons, described m the
 instructions, on row (11). Do not 11st any ind1v1duals that aren't hsted on Fonn 990, Part VII.
 Note: The sum of columns (B)(1H111) for each hsted ind1v1dual must eaual the total amount of Form 990, Part VII, Section A, hne 1a, aoollcable column (D) and (El amounts for that ind1v1dual.
                                                      (B) Breakdown of W-2 and/or 1099-MISC compensation
                                                                                                                                                         (C) Retirement and                  (DJ Nontaxable                  (E) Total of columns               (F) Compensation
                                                       (1) Base                    (ii) Bonus & incentive                    (1i1J Other                   other deferred                         benefits                         (B)(iHD)                  in column (B) reported
             (A) Name and Title
                                                     compensation                       compensation                        reportable                     compensation                                                                                        as deferred on pnor
                                                                                                                          compensation                                                                                                                               Form 990

                                         {I)
           CATHERINE ENGELBRECHT
                                        (ii)
                                                ----------
                                                        112500                                                                                                                                                            -------·------- -- ... -. -- ------- ---.. ·--- ..
                                                           ------ ----.... --- .. --·---------- -. ------- ---- -------------------- . ----- . ------- ----------·--· ---- ---------- ------- .. ---.... -. ---------....112500
    1      EXECUTIVE DIRECTOR
                                         (1)
                                        (ii)
                                                ··-·····-·······-···------ ................................. ·-------·-······---·-----· -·-·····-······----------- ······----··--·---·-······ ··········-·-·----··-----.. ·····-·········----·-·· ----
    2
                                         (I)
    3                                   (II)
                                         (I)
    4                                    (II)
                                                -------------------------- ----------------- -------------------------- -------------------------- -------------------------- -------------------------- ---------------------------
                                         (i)
                                         (ii)                                                                                                                                        ,. -·- -. --.----... -- ---------- .. --- -------- --- --··-- ----- ... --------------
                                                -.------.---.--......... ------ -- -.... -------------- --· -- . -.. --- -... ----.... ------ - ------.··------ ---------·. -... -------·
    5
                                          (I)
    6                                    {II)
                                         {I)
      7                                  {II)
                                         (I)
      8                                  {II)
                                                -------------------------- ---------------- -------------------------- -------------------------- -------------------------------- ---------------------------
                                         (1)
      9                                  (II)
                                                -------------------------- ----------------- -------------------------- -------------------------- -------------------------- -------------------------- ---------------------------
                                         (1)
   10                                    (ii)
                                         {I)
   11                                    {II)
                                          (I)
   12                                    {II)
                                         {I)
   13                                    {II)
                                                -------------------------- -------------------------- -------------------------- -------------------------- ---------------- ------------------------- ---------------------------
                                          (I)
                                         (ii)
                                                -------------------------- -------------------------- -------------------------- -------------------------- -------------------------- ----------------- ---------------------------
   14
                                          (i)
                                         (ii)
                                                ------------- --- --------- - -- ---.---. ----------- -- -. - -.----- ---. ------.-------- ---- -------- . -. --... ------. -------.... --- ............... ---.. - ... -----......... ---··-- --- --- ... ---- ... -.--.. -- ............ -...
   15
                                          (I)
                                         (ii)
                                                ------... ---.. ----- ------ --- -- ---------- . -------- -. -..... -.--·-- --. ------------ -.... - -. ------ ----------- ·- ---.. ----------. -· --. --.. ------ - --. -........ ---- ---........... ----- -- ..... --. -. -- .. ---------
   16
                                                                                                                                                                                                                                                      Schedule J (Form 990) 2017


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   .,,
                                Case 4:20-cv-04034 Document 41-2 Filed on 01/11/21 in TXSD Page 106 of 161
ScheduleJ(Form990) 20 17             TRUE THE VOTE, INC                                                                                      XX-XXXXXXX              Page 3
hfM•jj•    Supplemental Information
Provide the information, explanation, or descriptions required for Part I, lines 1a, 1 b, 3, 4a, 4b, 4c, Sa, Sb, 6a, 6b, 7, and 8, and for Part II. Also complete this part
for any additional information.




                                                                                                                                                     Schedule J (Form 990) 2017

     QNA
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 SCHEDULE L                                       Transactions With Interested Persons                                                                          0MB No. 1545-0047
 (Form 990 or 990-EZ)      • Complete If the organization answered "Yes" on Form 990, Part IV, line 25a, 25b, 26, 27, 28a,                                         ~©17
                                                28b, or 28c, or Form 990-EZ, Part V, line 38a or 40b.
Department pf the Treasury                             • Attach to Form 990 or Form 990-EZ.                                                                        Open To Public
Internal Revenue Service
Name of the orgamzat1on
                                       •  Go to www.irs. 011/Fonn990 for instructions and the latest information.                                                  Inspection
                                                                                                                                   Employer identification number
        TRUE THE VOTE, INC                                                                                                                           XX-XXXXXXX
                Excess Benefit Transactions (section 501 (c}(3), section 501 (c)(4), and 501 (c)(29) organizations only).
                Complete 1f the organization answered "Yes" on Form 990, Part IV, line 25a or 25b, or Form 990-EZ, Part V, line 40b.
   1     (a} Name of dlsqual1fled person
                                                        (bl Relat1onsh1p between d1squaltf1ed person and                                                                     {d) Corrected?
                                                                                                                            (c) Description of transaction
                                                                           organrzabon
                                                                                                                                                                             Yes      No
  (1)
  (2)
  (3)
  (4)
  (5)
  (6)
   2     Enter the amount of tax incurred by the organization managers or d1squalif1ed persons during the year
         under section 4958 .                                                                                                                              • $_ _ _ _ __
   3     Enter the amount of tax, if any, on hne 2, above, reimbursed by the organization                                                                .• $_ _ _ _ __
•@jj•          Loans to and/or From Interested Persons.
               Complete 1f the organization answered "Yes" on Form 990-EZ, Part V, hne 38a or Form 990, Part IV, line 26; or 1f the
               organization reported an amount on Form 990, Part X, line 5, 6, or 22.

  (al Name of interested person      (bl Relat1onsh1p     (cl Purpose of     (di Loan to or          (el Ongrnal        (f) Balance due       (g) In default? (h) Approved    (i)Wrrtten
                                     with orgamlatlon          loan             from the          principal amount                                            by board or    agreement?
                                                                             organrzat,on?                                                                   committee?

                                                                                To      From                                                   Yes     No    Yes     No      Yes     No
  (1)   CATHERINE ENGELBREC EXECUTIVE DIR ADVANCES                          N           N                 40607                 40607                   X      X              X
  (2)
  (3)
  (4)
                                                                                                                                                                                               (
  (5)
  (6)
  (7)
  (8)
  (9)
(10)
Total                                                                                  $                        .•           40607                                                         I
1:1:Tii••II    Grants or Assistance Benefiting Interested Persons.
               Complete 1f the organization answered "Yes" on Form 990, Part IV, hne 27.
    (al, Name of interested person        (b) Relat1onsh1p between interested        (c) Amount of assistance        (d) Type of assistance              (e) Purpose of assistance
                                              person and the orgamzat,on

  (1)
  (2)
 (3)
 (4)
 (5)
 (6)
 (7)
 (8)
 (9)
(10)
For Paperwork Reduction Act Notice, see the Instructions for Form 990 or 990-EZ.                                                              Schedule L (Fonn 990 or 990-EZ) 2017
ONA




                                                                                                                                                                                           ;:
                                                                                                                                                                                           I
             Case 4:20-cv-04034 Document 41-2 Filed on 01/11/21 in TXSD Page 108 of 161
Schedule L (Form 990 or 990-EZ) 2017                                                                                                      Page 2

1:#fllN       Business Transactions Involving Interested Persons.
              Complete 1f the organization answered "Yes" on Form 990, Part IV, hne 28a, 28b, or 28c.
            (a) Name of interested person         (bl Relat1onsh1p between   (c) Amount of        (d) Description of transaction   (e) Shanng of
                                                 interested person and the     transaction                                         organization's
                                                         organization                                                                revenues?

                                                                                                                                    Yes     No
 (1)
 (2)
 (3)
 (4)
 (5)
 (6)
 (7)
 (8)
 (9)
(10)
 ..           Supplemental Information
                          ..
              Provide add1t1onal information for responses to questions on Schedule L (see instructions) .




QNA                                                                                                        Schedule L (Form 990 or 990-EZ) 2017
                  Case 4:20-cv-04034 Document 41-2 Filed on 01/11/21 in TXSD Page 109 of 161
 SCHEDULEO                                             Supplemental Information to Form 990 or 990-EZ                                                                                   0MB No. 1545-0047
 (Form 990 or 990-EZ)                                 Complete to provide information for responses to specific questions on
                                                          Form 990 or 990-EZ or to provide any additional information.                                                                     ~@17
 Department of the Treasury                                                        • Attach to Form 990 or 990-EZ.                                                                      Open to Public
 Internal Revenue Service                                           • Go to www.irs.gov/Fonn990 for the latest infonnation.                                                             Inspection
 Name of the orgamzat1on                                                                                                                                    Employer identification number
     TRUE THE VOTE                              INC                                                                                                                 XX-XXXXXXX

____ PART _IX, ___ LINE __ 2 4 e : ---------------------------------------------------------------------------------------------------------------------------------------------------
____ other_ management__ activities _______________________________________________________________________________________________________________________________ _

     Bank fees
----------------------------------------------------·----------------------------------------------------------------------------------------------------------------------------------------
____ Pa ym _Pro c __ Services --------------------------------------------------------------------------------------------------------------------------------------------------

-___ ~ i c / fees --------------------------------------------------------. ----------------------------------------------------------------------------------------------------

-- --Contract
     -- ----- ---------- --Labor                                                       ,                                                                     .
                           ----- -------- -----. -------------- ------ --- -------- -------------- ------ ------ .. ------- ------------ ----- ------ ------. ----------- --------- . --- ----- ----------------- ----

____ Other _operational__ expenses----------------------------------------------------------------------------------------------------------------------------------



    PART VI, SECTION A, LINE 6:
----------------------------------------------------------------------------------------------------------·-----------------------------------------------------------------------------------
    Stockholders
---------------------------------------------------------------------------------------------------------------------------------------------------------------------------------- .



____ ?.ART _VI , ___ SECTION _B, ___LI NE __ 11 _: ------------------------------------------------------------------------------------------------------------------------------

____ ?.resented __ an ct __ approved------------------------------------------------------------------------------------------------------------------------------------------




____ PART _VI , ___ SECT I ON _B, __ LI NE __ 12 c_: ----------------------------------------------------------------------------------------------------------------------------

----~omp l i ance __policy _is __ in __ pl ace ---------------------------------------------------------------------------------------------------------------------------




____ PART _VI , ___ SECTION__ B, __ LI NE __ 15 a_:----------------------------------------------------------------------------------------------------------------------------

----~ev i ew _ of __market _rates __ and _wages---------------------------------------------------------------------------------------------------------------------




____ ?. ART _VI , ___ SECT I ON _B, __ LI NE __ 1 Sb : ----------------------------------------------------------------------------------------------------------------------------

----~ey i ew _of_ market p 1 ace __ compensation-----------------------------------------------------------------------------------------------------------------




____ PA~ T _VI , ___ SECT I ON _C, __ LI NE __ l 9_: ------------------------------------------------------------------------------------------------------------------------------

____Via__ written __ request ------------------------------------------------------------------------------------------------- --------------------------------------- _______ _


For Paperwork Reduction Act Notice, see the Instructions for Form 990 or 990-EZ.                                                     Cat. No. 51056K             Schedule O (Form 990 or 990-EZ) (2017)
QNA
                     Case 4:20-cv-04034 Document 41-2 Filed on 01/11/21 in TXSD Page 110 of 161

Schedule O {Form 990 or 990-EZ) (2017)                                                                                                                                                                                                           Page 2
Name of the organization                                                                                                                                                                      Employer identification number

     TRUE THE VOTE, INC                                                                                                                                                                           XX-XXXXXXX




------------------------------------------------------------------------------------------------------------------------------------------------------------------·-------------------------
    '                                                         '




--------------------------------------------·-------·· . ···----------------------··...................................................................................................................... - ---------------- ... ------------------------·--



                                                                                                                                                                                                                    ..




-------------------------------------------------------------------------------------- '-----------------------------------------------------------------------------------------------------




                                                                                                                                                                                              Schedule O (Form 990 or 990-EZ) (2017)
QNA
                                                      Case 4:20-cv-04034 Document 41-2 Filed on 01/11/21 in TXSD Page 111 of 161
                                                                                                                                                                                                                                    0MB No 1545-0047
SCHEDULER                                                                         Related Organizations and Unrelated Partnerships
(Form 990)
                                                                        • Complete if the organization answered "Yes" on Form 990, Part IV, line 33, 34, 35b, 36, or 37.                                                             ~@17
                                                                                                                • Attach to Form 990.                                                                                               Open to Public
Department of the Treasury
Internal Revenue Service                                                                 • Go to www.irs.gov/Form990 for instructions and the latest information.                                                                    Inspection          I
Name of the organ1zat1on                                                                                                                                                                                               Employer identification number

          TRUE THE VOTE                               INC                                                                                                                                                                   XX-XXXXXXX
•¢till             Identification of Disregarded Entities. Complete if the organization answered "Yes" on Form 990, Part IV, line 33.

                                                    (a)                                                                                  (b)                            (c)                   (d)                     (e)                        (f)
                        Name, address, and EIN (1f applicable) of disregarded entity                                               Primary act1v1ty            Legal dom1c1le (state     Total income          End-of-year assets        Direct controlling
                                                                                                                                                                or foreign country)                                                            entity

__{1)__ ELECTION _INTEGRITY_ LLC_ 3 6-4 7 3196 5 ___________________________________________________ _
    PO BOX 131768 HOUSTON                   TX 77219                                                                      ELCTION QUALITY REVIEWS                    TX                                                              N/A

__(2)_------------ -- ----------------------------------- --------------- ---------------------- ---------------


--(3) -------------------------------------------------------------------- ---------------------------------

--(4) --- -------- --- ---------------------------- -------- ------------ ---- ----------- --- -- ---- ------ ---------


-_(5)_-----------------------------------------------------------------------------------------------------

__ (6}_ ____________________________________________________________________________________________________ _

                    Identification of Related Tax-Exempt Organizations. Complete if the organization answered "Yes" on Form 990, Part IV, line 34 because it had
•GIi•               one or more related tax-exempt organizations during the tax year.
                                                    W                                                                     00                          (c)                     (d)                   (e)                     (f)                    (g)
                        Name, address, and EIN of related organization                                          Primary act1v1ty           Legal dom1c1le (state   Exempt Code section   Public charity status      Direct controlling     Section 512(b)(13)
                                                                                                                                            or foreign country)                          (1f section 501 (c)(3))          entity              controlled
                                                                                                                                                                                                                                                 entity?

                                                                                                                                                                                                                                            Yes        No
-_(1)____ -----------------------------------------------------------------------------------


-_(2)_------------- --------------------------- ------ ---- ------------------ --------------- ---


-_(3)_---------------- ------ --- --------- ---- --------------- ------- -- ----- --- -----------. --· -


-.(4)_----------------· ---. -· --.. ----...... ----· ---·--·----------- ------ -·-------------· --· -

--(5). ------. ----------------.. ----.. -... --..... --· ---·-------------. --· ---. ----------. ----.


-_(6) . --.. ----... ----· ---. -----· ---· ----... ---·----... ---.. --... ------. ·---. ---· --.. ---·· -.

-_(7). ----.. ----... --·· .. ----. -----... --. -.. ----------·-------. -.. --. --.. -----..... -. ·-.... -
 For Paperwork Reduction Act Notice, see the Instructions for Form 990.                                                                                     Cat. No. 50135Y                                             Schedule R (Form 990) 2017
  ONA
                                                      Case 4:20-cv-04034 Document 41-2 Filed on 01/11/21 in TXSD Page 112 of 161
          TRUE THE VOTE,                             INC                                                                XX-XXXXXXX
Schedule R (Form 990) 2017                                                                                                                                                                                                                              Page2

                   Identification of Related Organizations Taxable as a Partnership. Complete if the organization answered "Yes" on Form 990, Part IV, line 34
httHOi             because it had one or more related organizations treated as a partnership during the tax year.
                     (a)                      (bl             (c)          (d)            (e)             (f)      (g)       (h)        (i)          Ol        (kl
        Name, address, and EIN of                           Primary act1v1ty           Legal        Direct controlling           Predominant           Share of total      Share of end-of- D1sproport1onate      CodeV-UBI         General or    Percentage
          related organization                                                       dom1cde              entity               income (related,          income              year assets      allocations?      amount in box 20    managing      ownership
                                                                                     (state or                                    unrelated,                                                                     of Schedule K-1     partner?
                                                                                                                                excluded from
                                                                                      foreign                                                                                                                      (Form 1065)
                                                                                                                                  tax under
                                                                                     country)                                 sections 512-514)

                                                                                                                                                                                                Yes        No                      Yes       No
-_( 1)_----------------- ------ ---- ------------


__ (2) ------------- ---- -- ------------- -------


__ (3) -------------------------------- -------


- _( 4) _---------------------- --- --------------


__ (5) ---------------------------------------


__ (6) ----------- ----------------------------


- _(7)_----------- ----------------- --- --------

htiHN              Identification of Related Organizations Taxable as a Corporation or Trust. Complete if the organization answered "Yes" on Form 990, Part IV,
                   line 34 because it had one or more related organizations treated as a corporation or trust during the tax year.
                              (a)                                                      (b)                            (cl                       (d)                     (el                    (f)                (g)              (h)                (1)
          Name, address, and EIN of related organization                         Primary act1v1ty                Legal domicile         Direct controlling        Type of entity          Share of total       Share of         Percentage    Section 512{b)(13)
                                                                                                           (state or foreign country)         entity         (C corp, S corp, or trust)     income         end-of-year assets   ownership        controlled
                                                                                                                                                                                                                                                    entity?
                                                                                                                                                                                                                                               Yes        No
-_(1)_----------------------------------------------------------------


--(2) ---- --- --- ------------------------------- ------------------- ----


--(3) ----- ----- ------ ------------------------------- -- ----------- ----


-_(4)_------------ --------------------------------... --.. ---.... -- ----


-_(5)... --...... -------------. ----.... ---.... -..... ---... ------... ----


-_(6)_--. -. ---. -- ---------------------................... -----.... ----


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                                                                                                                                                                                                                            Schedule R (Form 990) 2017
  QNA
                          Case 4:20-cv-04034 Document 41-2 Filed on 01/11/21 in TXSD Page 113 of 161
           TRUE THE VOTE, INC                                                                XX-XXXXXXX
Schedule R (Form 990) 2017                                                                                                                                                               Page3

•@l!J Transactions With Related Organizations. Complete 1f the organization answered "Yes" on Form 990, Part IV, line 34, 35b, or 36.
  Note: Complete lrne 1 rf any entity 1s listed in Parts II, Ill, or IV of this schedule.
  1    Durrng the tax year, did the organrzat1on engage rn any of the following transactions with one or more related organrzat1ons lrsted 1n Parts II-IV?
                                                                                                                                                                                   Yes
                                                                                                                                                                                          .I
                                                                                                                                                                                          No


                                                                                                                                                                                      .
                                                                                                                                                                                           I•

    a Receipt of (i) interest, (ii) annuities, (iii) royalties, or (iv) rent from a controlled entity                                                                        1a
    b Gift, grant, or capital contrrbut1on to related organrzat1on(s)                                                                                                        1b
    c Gift, grant, or capital contnbut1on from related organrzat1on(s)                                                                                                       1c
    d Loans or loan guarantees to or for related organizat1on(s)                                                                                                             1d
    e Loans or loan guarantees by related organizat1on(s)                                                                                                                    1e
                                                                                                                                                                           _ _ _;._J
    f      Dividends from related organrzat1on(s)                                                                                                                            11
    g      Sale of assets to related organization(s)                                                                                                                         1g
    h      Purchase of assets from related organrzation(s)                                                                                                                   1h
    i      Exchange of assets with related organizat1on(s)                                                                                                                   1i
    j      Lease of facilities, equipment, or other assets to related organ1zation(s)                                                                                        1j
                                                                                                                                                                           _ _ ....i..J
    k      Lease of facilities, equipment, or other assets from related organ1zation(s)                                                                                      1k
    I      Performance of services or membership or fundraising solic1tat1ons for related organizat1on(s)                                                                    11
    m      Performance of services or membership or fundra1srng sollc1tat1ons by related organrzat1on(s)                                                                    1m
    n      Sharing of facilities, equipment, mailing hsts, or, other assets with related organizat1on(s) .                                                                   1n
    o      Sharing of paid employees with related organrzat1on(s)                                                                                                            10

    p Reimbursement pard to related organrzatron(s) for expenses
                                                                                                                                                                           --~
                                                                                                                                                                             1p
    q Reimbursement paid by related organization(s) for expenses                                                                                                             1q
                                                                                                                                                                           _ _ ..i_J
       r Other transfer of cash or property to related organizat1on(s)                                                                                                     1r
       s   Other transfer of cash or property from related organrzat1on(s)                                                                                                 1s
   2       If the answer to any of the above 1s "Yes," see the rnstruct1ons for rn orma 10n on who must complete this line, rncludrng covered relationships and transaction thresholds.
                                                        (a)                                                        (b)                   {c)                            {d)
                                            Name of related orgamzat,on                                        Transaction         Amount involved     Method of determining amount involved
                                                                                                                type (a-s)



 (1)


 (2)

 (3)


 (4)


 15\

 (61
                                                                                                                                                               Schedule R (Form 990) 2017
  QNA
                                                          Case 4:20-cv-04034 Document 41-2 Filed on 01/11/21 in TXSD Page 114 of 161
           TRUE THE VOTE, INC                                                                                               XX-XXXXXXX
Schedule R (Form 990) 2017                                                                                                                                                                                                                  Page4

i:tffll1•            Unrelated Organizations Taxable as a Partnership. Complete 1f the organization answered "Yes" on Form 990, Part IV, line 37.

Provide the following information for each entity taxed as a partnership through which the organization conducted more than five percent of its activities (measured by total assets
or gross revenue) that was not a related organization. See instructions regarding exclusion for certain investment partnerships.
                                   (a)                                              (b)                 (c)                 (di               (e)              (f)           (g)              (h)               (1)            rn          (k)
              Name, address, and EIN of entity                                Primary activity    Legal dom1cIle       Predominant     Are all partners     Share of      Share of     D1sproport1onate   CodeV-UBI        General or   Percentage
                                                                                                 (state or foreign   income (related,      section        total income   end-of-year     allocations?   amount in box 20   managing     ownership
                                                                                                     country)      unrelated, excluded    501(c)(3)                        assets                        of Schedule K-1    partner?
                                                                                                                      from tax under   organ1zat1ons?                                                      (Form 1065)
                                                                                                                    sections 512-514)   1---~-
                                                                                                                                          Yes No                                       Yes No                              Yes No
__(1) --------------------------. ---------------------------

--(2)_------------------------------------------- -- ------- --


__ (3) ------------------------------------------- -----------


-_(4) ---------- -------------- -- -- ---------------- ----------


-_(5) -- ---- -------------------------- --------------------- -


-_(6)_------ ----- ----------------- --------------------------


__ (7) ------------- --- --------------------------------------

--(8)_------------------ -------------- ----------------------


--(9)_------------- -----------------------------------------

(1O)______________________________________________________ _


(11) ----------------------------------------------------- _

(12) --- -- -- ___ -- ------ ________ . ___ -- _________________ -- -- _


{13)__________________ ------ _-- ____ -- _____________________ _


( 14)____ -- _____ --- -- ___________ -- -- ______ --- __ -- _-- ____ --- _


(15)________________ --- ____________ -- __ -- ___________ -- -- -- _


(16)_______ ---- _____ -- _________________ -- ____________ --- __ _


                                                                                                                                                                                                                    Schedule R (Form 990) 2017
  QNA
         Case 4:20-cv-04034 Document 41-2 Filed on 01/11/21 in TXSD Page 115 of 161
     TRUE THE VOTB, INC                                                    XX-XXXXXXX
 Schedule R (Fann 990) 2017
                                                                                                                                                                                         Page5
                   Supplemental Information.
 i@tW              Provide additional information for responses to questions on Schedule R. See Instructions.


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QNA                                                                                                                                                       Schedule R (Form 990) 2017
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                           EXHIBIT P
                       Case 4:20-cv-04034 Document 41-2 Filed on 01/11/21 in TXSD Page 117 of 161

Form         990                                 Return of Organization Exempt From Income Tax
                                                                                                                                                                              0MB No. 1545-0047


                                       Under section 501(c), 527, or 4947(a)(1) of the Internal Revenue Code (except private foundations)                                        ~@18
                                                 • Do not enter social security numbers on this form as it may be made public.                                              Open to Public
Department of the Treasury
Internal Revenue Service                           • Go to www.irs.gov/Form990 for instructions and the latest information.                                                  Inspection
A          For the 2018 calendar year, or tax year beginning                                                , 2018, and ending                                      ,20
B          Check if applicable: C Name of organization         TRUE THE VOTE, INC                                                                       D Employer identification number

•          Address change              Doing business as
                                                                                                                       I
                                                                                                                                                           XX-XXXXXXX
•          Name change                 Number and street (or P.O. box if mail is not delivered to street address)        Room/suite                     E Telephone number

•          Initial return              PO BOX 131768
•          Final return/terminated     City or town, state or province, country, and ZIP or foreign postal code

•          Amended return              HOUSTON, TX 77219-1768                                                                                           G Gross receipts $      436046
                                                                                                                                                                                              •
•          Application pending F Name and address of principal officer: CATHERINE H ENGELBRECHT
                                       13909 TRACK ROAD EAST CAT SPRING, TX 78933
                                                                                                                                                                            D Yes x No
                                                                                                                                        H(a) Is this a group return for subordinates?
                                                                                                                                        H(b) Are all subordinates included? D Yes   No        •
I          Tax-exempt status:           D
                                        x 501{c){3)             D 501{c){          )• {insert no.) D 4947{a){1) or 0521                          If "No," attach a list. (see instructions)

J          Website:    •                                                                                                                H(c) Group exemption number               •
K          Form of organization:     x Corporation D Trust D Association 00ther •
                                     D                                                                            I L Year of formation : 2010 J M State of legal domicile: TX
• :.im••                Summary
              1       Briefly describe the organization's mission or most significant activities:
    GI
                                                                                                                           -------------------------------------------------------------------·
    u                 To equip citizens to take a stand for free and fair elections
    C                ----------------------------------------------------------------------------------------------------------------------------------------------------------------------
    I'll
    ...C
    GI        2                              •
                      Check this box D if the organization discontinued its operations or disposed of more than 25% of its net assets .
     >
     0
    c.:,      3       Number of voting members of the governing body (Part VI, line 1a).                            3                      4
                                                                                                                                           4
    .
    all
    IJl
     GI
    ·s:
    :g
              4
              5
              6
                      Number of independent voting members of the governing body (Part VI, line 1 b)
                      Total number of individuals employed in calendar year 2018 (Part V, line 2a)
                      Total number of volunteers (estimate if necessary)
                                                                                                                    4
                                                                                                                    5
                                                                                                                    6
                                                                                                                                           1
                                                                                                                                        8000
    <         7a      Total unrelated business revenue from Part VIII, column (C), line 12                         7a
                b     Net unrelated business taxable income from Form 990-T, line 38                               7b
                                                                                                                                            Prior Year                           Current Year

    GI       8        Contributions and grants (Part VIII, line 1h).                                                                             423535                                     436046
    :I
    C
    GI
             9        Program service revenue (Part VIII, line 2g)
    >
    GI      10        Investment income (Part VIII, column (A), lines 3, 4, and 7d)
    a:
            11        Other revenue (Part VIII, column (A), lines 5, 6d, 8c, 9c, 10c, and 11 e)
            12        Total revenue-add lines 8 through 11 (must equal Part VIII, column (A), line 12)                                           423535                                     436046
            13        Grants and similar amounts paid (Part IX, column (A), lines 1-3) .
            14        Benefits paid to or for members (Part IX, column (A), line 4)
    IJl
    GI
            15        Salaries, other compensation, employee benefits (Part IX, column (A), lines 5-10)                                          121285                                     159392
    IJl
    C       16a       Professional fundraising fees (Part IX, column (A), line 11e)
    GI
    C.
    ~
               b      Total fundraising expenses (Part IX, column (D), line 25)                     •
                                                                                    ------------------------·                                                                                         I
            17        Other expenses (Part IX, column (A), lines 11 a-11 d, 11 f-24e)                                                          442103                                       266018
            18        Total expenses. Add lines 13-17 (must equal Part IX, column (A), line 25)                                                563388                                       425410
            19        Revenue less expenses. Subtract line 18 from line 12                                                                    -139853                                        10636
~= 20 Total assets (Part X, line 16)
.!lg
G>.!l!
                                                                                                                                   Beginning of Current Year
                                                                                                                                                       60732
                                                                                                                                                                                  End of Year
                                                                                                                                                                                             66650
J&I 21                Total liabilities (Part X, line 26)                                                                                               6625                                  1907
D-g
ZJi! 22
• :r. ,     ... ,.    Net assets or fund balances. Subtract line 21 from line 20
                        Signature Block
                                                                                                                                                       54107                                 64743

    Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my knowledge and belief, it is
    true, correct, and complete. Declaration of preparer (other than officer) is based on all information of which preparer has any knowledge.

                                                                                                                                                   I
Sign                           Signature of officer                                                                                                Date
Here                   • CATHERINE H ENGELBRECHT, EXECUTIVE DIRECTOR
                               Type or print name and title
Paid                   • CHAR ESTES
                            Print/Type preparer's name          I
                                                               09/15/2019
                                                                            !Preparer's signature
                                                                                 P01773344
                                                                                                                                 Date                    I Check     D if IPTIN
Preparer1--------------...L..---------------'----~--'--s_el_f-_em_p_lo_y_e_d..___ _ _ _ __
Use Only .._F_i_rm_'s_n_a_m_e__•- - - EVERYONES  TEXAS
                                      ------------       TAX
                                                   ------- - - - -SERVICE
                                                                  --+I_F_irm_'s_E_IN_  XX-XXXXXXX _
                                                                                     •_________
                            Firm's address   •        5018 ANTOINE DR SUITE D 77092-3352                                                        J Phone no.         713-683-8888
May the IRS discuss this return with the preparer shown above? (see instructions)                                                                                         X Yes No      •     •
For Paperwork Reduction Act Notice, see the separate instructions.                                                                                                                      Form 990 (2018)
QNA
             Case 4:20-cv-04034 Document 41-2 Filed on 01/11/21 in TXSD Page 118 of 161
              TRUE THE VOTE, INC                                         XX-XXXXXXX
Form 990 (2018)                                                                                                                                 Page2
1@1jj1        Statement of Program Service Accomplishments

  1
              Check if Schedule O contains a response or note to any line in this Part Ill
        Briefly describe the organization's mission:
                                                                                                                                                   •
         TO EQUIP CITIZENS TO TAKE A STAND FOR FREE AND
         FAIR ELECTIONS

  2     Did the organization undertake any significant program services during the year which were not listed on the
        prior Form 990 or 990-EZ?                                                                                      D Yes D   X No
        If "Yes," describe these new services on Schedule 0.
  3     Did the organization cease conducting, or make significant changes in how it conducts, any program
        services? .                                                                                                        Yes D  •
                                                                                                                                 X No
        If "Yes," describe these changes on Schedule 0.
  4     Describe the organization's program service accomplishments for each of its three largest program services, as measured by
        expenses. Section 501 (c)(3) and 501 (c)(4) organizations are required to report the amount of grants and allocations to others,
        the total expenses, and revenue, if any, for each program service reported.

  4a    (Code: ______________ _) (Expenses $ ______________________ including grants of $ _______________________ _) (Revenue $




  4b    (Code: ______________ _) (Expenses $ ______________________ including grants of $ _______________________ _) (Revenue $




  4c    (Code: ______________ _) (Expenses $ ______________________ including grants of $ _______________________ _) (Revenue $




  4d    Other program services (Describe in Schedule 0.)
        (Expenses $                 including grants of $                             ) (Revenue$
  4e    Total program service expenses         •
QNA                                                                                                                                   Form   990 (2018)
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                TRUE THE VOTE, INC                                         XX-XXXXXXX
Form 990 (2018)                                                                                                                               Page3
l::F.r.lllTI   Checklist of Required Schedules
                                                                                                                                        Yes    No

   1     Is the organization described in section 501 {c){3) or 4947{a){1) {other than a private foundation)? If "Yes,"
         complete Schedule A .                                                                                                   1       X
   2     Is the organization required to complete Schedule B, Schedule of Contributors {see instructions)?                       2             X
   3     Did the organization engage in direct or indirect political campaign activities on behalf of or in opposition to
         candidates for public office? If "Yes," complete Schedule C, Part I .                                                   3             X
   4     Section 501(c)(3) organizations. Did the organization engage in lobbying activities, or have a section 501{h)
         election in effect during the tax year? If "Yes," complete Schedule C, Part II .                                        4             X
   5     Is the organization a section 501 {c){4), 501 {c){5), or 501 {c){6) organization that receives membership dues,
         assessments, or similar amounts as defined in Revenue Procedure 98-19? If "Yes," complete Schedule C, Part Ill          5             X
   6     Did the organization maintain any donor advised funds or any similar funds or accounts for which donors
         have the right to provide advice on the distribution or investment of amounts in such funds or accounts? If
         "Yes," complete Schedule D, Part I                                                                                      6             X
   7     Did the organization receive or hold a conservation easement, including easements to preserve open space,
         the environment, historic land areas, or historic structures? If "Yes," complete Schedule D, Part II                    7             X
   8     Did the organization maintain collections of works of art, historical treasures, or other similar assets? If "Yes,"
         complete Schedule D, Part Ill                                                                                           8             X
   9  Did the organization report an amount in Part X, line 21, for escrow or custodial account liability, serve as a
      custodian for amounts not listed in Part X; or provide credit counseling, debt management, credit repair, or
      debt negotiation services? If "Yes," complete Schedule D, Part IV .                                                        9             X
 10   Did the organization, directly or through a related organization, hold assets in temporarily restricted
      endowments, permanent endowments, or quasi-endowments? If "Yes," complete Schedule D, Part V                              10             X
 11   If the organization's answer to any of the following questions is "Yes," then complete Schedule D, Parts VI,
      VII, VIII, IX, or X as applicable.                                                                                                            I
    a Did the organization report an amount for land, buildings, and equipment in Part X, line 10? If "Yes,"
      complete Schedule D, Part VI                                                                                              11a            X
    b Did the organization report an amount for investments-other securities in Part X, line 12 that is 5% or more
      of its total assets reported in Part X, line 16? If "Yes," complete Schedule D, Part VII                                  11b            X
    C Did the organization report an amount for investments-program related in Part X, line 13 that is 5% or more
      of its total assets reported in Part X, line 16? If "Yes," complete Schedule D, Part VIII .                               11c            X
    d Did the organization report an amount for other assets in Part X, line 15 that is 5% or more of its total assets
      reported in Part X, line 16? If "Yes," complete Schedule D, Part IX                                                       11d            X
    e Did the organization report an amount for other liabilities in Part X, line 25? If "Yes," complete Schedule D, Part X     11e            X
    f Did the organization's separate or consolidated financial statements for the tax year include a footnote that addresses
      the organization's liability for uncertain tax positions under FIN 48 {ASC 740)? If "Yes," complete Schedule D, Part X    11f            X
 12a Did the organization obtain separate, independent audited financial statements for the tax year? If "Yes," complete
     Schedule D, Parts XI and XII                                                                                               12a            X
   b Was the organization included in consolidated, independent audited financial statements for the tax year? If
     "Yes," and if the organization answered "No" to line 12a, then completing Schedule D, Parts XI and XII is optional         12b            X
 13  Is the organization a school described in section 170{b){1){A){ii)? If "Yes," complete Schedule E                           13            X
 14a Did the organization maintain an office, employees, or agents outside of the United States?                                14a            X
    b Did the organization have aggregate revenues or expenses of more than $10,000 from grantmaking,
      fundraising, business, investment, and program service activities outside the United States, or aggregate
      foreign investments valued at $100,000 or more? If "Yes," complete Schedule F, Parts I and IV.                            14b            X
 15   Did the organization report on Part IX, column {A), line 3, more than $5,000 of grants or other assistance to or
      for any foreign organization? If "Yes," complete Schedule F, Parts II and IV                                              15             X
 16   Did the organization report on Part IX, column (A), line 3, more than $5,000 of aggregate grants or other
      assistance to or for foreign individuals? If "Yes," complete Schedule F, Parts Ill and IV.                                16             X
 17   Did the organization report a total of more than $15,000 of expenses for professional fundraising services on
      Part IX, column (A), lines 6 and 11 e? If "Yes," complete Schedule G, Part I (see instructions)                           17             X
 18   Did the organization report more than $15,000 total of fundraising event gross income and contributions on
      Part VI II, lines 1c and Ba? If "Yes," complete Schedule G, Part II .                                                     18             X
 19   Did the organization report more than $15,000 of gross income from gaming activities on Part VIII, line 9a?
      If "Yes," complete Schedule G, Part Ill                                                                                    19            X
 20a Did the organization operate one or more hospital facilities? If "Yes," complete Schedule H .                              20a            X
    b If "Yes" to line 20a, did the organization attach a copy of its audited financial statements to this return?              20b
 21   Did the organization report more than $5,000 of grants or other assistance to any domestic organization or
      domestic government on Part IX, column (A), line 1? If "Yes," complete Schedule I, Parts I and II                         21             X
QNA                                                                                                                              Form   990 (2018)
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                TRUE THE VOTE, INC                                         XX-XXXXXXX
Form 990 (2018)                                                                                                                                                 Page4
l::F.r.llL'•   Checklist of Required Schedules (continued)
                                                                                                                                                          Yes       No

 22       Did the organization report more than $5,000 of grants or other assistance to or for domestic individuals on
          Part IX, column (A), line 2? If "Yes," complete Schedule I, Parts I and Ill                                                          22                   X
 23       Did the organization answer "Yes" to Part VII, Section A, line 3, 4, or 5 about compensation of the
          organization's current and former officers, directors, trustees, key employees, and highest compensated
          employees? If "Yes," complete Schedule J .                                                                                           23                   X
 24a      Did the organization have a true-exempt bond issue with an outstanding principal amount of more than
          $100,000 as of the last day of the year, that was issued after December 31, 2002? If "Yes," answer lines 24b
          through 24d and complete Schedule K. If "No," go to line 25a                                                                         24a                  X
   b Did the organization invest any proceeds of tax-exempt bonds beyond a temporary period exception? .                                       24b
   c Did the organization maintain an escrow account other than a refunding escrow at any time during the year
     to defease any true-exempt bonds?                                                                                                         24c
   d Did the organization act as an "on behalf of" issuer for bonds outstanding at any time during the year? .                                 24d
 25a Section 501(c)(3), 501(c)(4), and 501(c)(29) organizations. Did the organization engage in an excess benefit
     transaction with a disqualified person during the year? If "Yes," complete Schedule L, Part I                                             25a                  X
      b Is the organization aware that it engaged in an excess benefit transaction with a disqualified person in a prior
        year, and that the transaction has not been reported on any of the organization's prior Forms 990 or 990-EZ?
          If "Yes," complete Schedule L, Part I .                                                                                              25b                  X
 26       Did the organization report any amount on Part X, line 5, 6, or 22 for receivables from or payables to any
          current or former officers, directors, trustees, key employees, highest compensated employees, or
          disqualified persons? If "Yes," complete Schedule L, Part II                                                                         26                   X
 27   Did the organization provide a grant or other assistance to an officer, director, trustee, key employee,
      substantial contributor or employee thereof, a grant selection committee member, or to a 35% controlled
      entity or family member of any of these persons? If "Yes," complete Schedule L, Part Ill .                                               27                   X
 28   Was the organization a party to a business transaction with one of the following parties (see Schedule L,
      Part IV instructions for applicable filing thresholds, conditions, and exceptions):
    a A current or former officer, director, trustee, or key employee? If "Yes," complete Schedule L, Part IV                                  28a                  X
                                                                                                                                                                         I
    b A family member of a current or former officer, director, trustee, or key employee? If "Yes," complete
          Schedule L, Part IV                                                                                                                  28b                  X
      c   An entity of which a current or former officer, director, trustee, or key employee (or a family member thereof)
          was an officer, director, trustee, or direct or indirect owner? If "Yes," complete Schedule L, Part IV                               28c                  X
 29       Did the organization receive more than $25,000 in non-cash contributions? If "Yes," complete Schedule M                              29                   X
 30       Did the organization receive contributions of art, historical treasures, or other similar assets, or qualified
          conservation contributions? If "Yes," complete Schedule M                                                                            30                   X
 31       Did the organization liquidate, terminate, or dissolve and cease operations? If "Yes," complete Schedule N, Part I                   31                   X
 32       Did the organization sell, exchange, dispose of, or transfer more than 25% of its net assets? If "Yes,"
          complete Schedule N, Part II                                                                                                         32                   X
 33       Did the organization own 100% of an entity disregarded as separate from the organization under Regulations
          sections 301. 7701-2 and 301. 7701-3? If "Yes," complete Schedule R, Part I .                                                        33                   X
 34       Was the organization related to any true-exempt or trueable entity? If "Yes," complete Schedule R, Part II, Ill,
          or IV, and Part V, line 1                                                                                                            34                   X
 35a  Did the organization have a controlled entity within the meaning of section 512(b)(13)?                                                  35a                  X
    b If "Yes" to line 35a, did the organization receive any payment from or engage in any transaction with a
      controlled entity within the meaning of section 512(b)(13)? If "Yes," complete Schedule R, Part V, line 2 .                              35b
 36   Section 501 (c)(3) organizations. Did the organization make any transfers to an exempt non-charitable
      related organization? If "Yes," complete Schedule R, Part V, line 2 .                                                                    36                   X
 37   Did the organization conduct more than 5% of its activities through an entity that is not a related organization
      and that is treated as a partnership for federal income true purposes? If "Yes," complete Schedule R, Part VI                            37                   X
 38   Did the organization complete Schedule O and provide explanations in Schedule O for Part VI, lines 11 b and
      19? Note. All Form 990 filers are required to complete Schedule 0 .                                                                      38                   X
• ::r.P•'•     Statements Regarding Other IRS Filings and Tax Compliance
               Check if Schedule O contains a response or note to any line in this Part V          .   .   .       .   .       .   .   .   .   .    .     .     .   D
                                                                                                                                                          Yes       No
   1a     Enter the number reported in Box 3 of Form 1096. Enter -0- if not applicable         1a        0     i           I
    b     Enter the number of Forms W-2G included in line 1a. Enter -0- if not applicable .  I 1b I      0
      C   Did the organization comply with backup withholding rules for reportable payments to vendors and
          reportable gaming (gambling) winnings to prize winners?                                                                              1c
QNA                                                                                                                                                Form   990 (2018)
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Form 990 (2018)                                                                                                                                                  Page5
l:.F.r.•••      Statements Regarding Other IRS Filings and Tax Compliance (continued)
                                                                                                                                                           Yes    No

  2a      Enter the number of employees reported on Form W-3, Transmittal of Wage and Tax
          Statements, filed for the calendar year ending with or within the year covered by this return       2a          I I                  1
      b   If at least one is reported on line 2a, did the organization file all required federal employment tax returns?                           2b       X
          Note. If the sum of lines 1a and 2a is greater than 250, you may be required to e-fi/e (see instructions)
  3a      Did the organization have unrelated business gross income of $1,000 or more during the year?                                             3a
   b      If "Yes," has it filed a Form 990-T for this year? If "No" to line 3b, provide an explanation in Schedule O.                             3b
  4a      At any time during the calendar year, did the organization have an interest in, or a signature or other authority over,
          a financial account in a foreign country (such as a bank account, securities account, or other financial account)?                       4a
      b   If "Yes," enter the name of the foreign country:         •
                                                                  -----------------------------------------------------------------------------
          See instructions for filing requirements for FinCEN Form 114, Report of Foreign Bank and Financial Accounts (FBAR).
  5a      Was the organization a party to a prohibited tax shelter transaction at any time during the tax year? .                                  5a
   b      Did any taxable party notify the organization that it was or is a party to a prohibited tax shelter transaction?                         5b
      C   If "Yes" to line 5a or 5b, did the organization file Form 8886-T?                                                                        5c
  6a      Does the organization have annual gross receipts that are normally greater than $100,000, and did the
          organization solicit any contributions that were not tax deductible as charitable contributions? .                                       6a
      b   If "Yes," did the organization include with every solicitation an express statement that such contributions or
          gifts were not tax deductible?                                                                                                           6b
  7       Organizations that may receive deductible contributions under section 170(c).
      a   Did the organization receive a payment in excess of $75 made partly as a contribution and partly for goods
          and services provided to the payor?                                                                                                      7a
      b   If "Yes," did the organization notify the donor of the value of the goods or services provided?                                          7b
      C   Did the organization sell, exchange, or otherwise dispose of tangible personal property for which it was
          required to file Form 8282?                                                                                                              7c
      d   If "Yes," indicate the number of Forms 8282 filed during the year                                                 j 7d j
      e   Did the organization receive any funds, directly or indirectly, to pay premiums on a personal benefit contract?                          7e
    f     Did the organization, during the year, pay premiums, directly or indirectly, on a personal benefit contract? .                           7f
      g   If the organization received a contribution of qualified intellectual property, did the organization file Form 8899 as required?         7g
      h   If the organization received a contribution of cars, boats, airplanes, or other vehicles, did the organization file a Form 1098-C?       7h
  8   Sponsoring organizations maintaining donor advised funds. Did a donor advised fund maintained by the
      sponsoring organization have excess business holdings at any time during the year?                                                           8
  9   Sponsoring organizations maintaining donor advised funds.
    a Did the sponsoring organization make any taxable distributions under section 4966?                                                           9a
    b Did the sponsoring organization make a distribution to a donor, donor advisor, or related person?                                            9b
 10   Section 501 (c)(7) organizations. Enter:
    a Initiation fees and capital contributions included on Part VIII, line 12                       1oa                  !      I
    b Gross receipts, included on Form 990, Part VIII, line 12, for public use of club facilities    10b
 11   Section 501 (c)(12) organizations. Enter:
    a Gross income from members or shareholders .                                                    11a
    b Gross income from other sources (Do not net amounts due or paid to other sources
      against amounts due or received from them.)                                                    11b
 12a Section 4947(a)(1) non-exempt charitable trusts. Is the organization filing Form 990 in lieu of Form 1041?                                    12a
    b If "Yes," enter the amount of tax-exempt interest received or accrued during the year. .       12b                  !      I
 13   Section 501 (c)(29) qualified nonprofit health insurance issuers.
    a Is the organization licensed to issue qualified health plans in more than one state?                                                         13a
      Note. See the instructions for additional information the organization must report on Schedule 0 .
      b   Enter the amount of reserves the organization is required to maintain by the states in which
          the organization is licensed to issue qualified health plans                                    13b J           I
      C   Enter the amount of reserves on hand                                                            13c
 14a      Did the organization receive any payments for indoor tanning services during the tax year?                                               14a
   b      If "Yes," has it filed a Form 720 to report these payments? If "No," provide an explanation in Schedule 0                                14b
 15       Is the organization subject to the section 4960 tax on payment(s) of more than $1,000,000 in remuneration or
          excess parachute payment(s) during the year?                                                                                             15
          If "Yes," see instructions and file Form 4720, Schedule N.
 16       Is the organization an educational institution subject to the section 4968 excise tax on net investment income?                          16
          If "Yes," complete Form 4720, Schedule 0.
QNA                                                                                                                                                 Form   990 (2018)
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hEffl9i    Governance, Management, and Disclosure For each "Yes" response to lines 2 through lb below, and for a "No"
           response to line Ba, Bb, or 10b below, describe the circumstances, processes, or changes in Schedule 0. See instructions.
           Check if Schedule O contains a response or note to any line in this Part VI . . . . . . . . . . . . . D
Section A. Governing Body and Management
                                                                                                                                                       Yes      No
  1a Enter the number of voting members of the governing body at the end of the tax year .                               1a                 4
         If there are material differences in voting rights among members of the governing body, or
         if the governing body delegated broad authority to an executive committee or similar
         committee, explain in Schedule 0.
      b Enter the number of voting members included in line 1a, above, who are independent                               1b                 4
  2   Did any officer, director, trustee, or key employee have a family relationship or a business relationship with
      any other officer, director, trustee, or key employee?                                                            2
 3 Did the organization delegate control over management duties customarily performed by or under the direct
      supervision of officers, directors, or trustees, or key employees to a management company or other person?        3
 4 Did the organization make any significant changes to its governing documents since the prior Form 990 was filed?     4
 5 Did the organization become aware during the year of a significant diversion of the organization's assets? .         5
 6 Did the organization have members or stockholders?                                                                   6 X
  7a Did the organization have members, stockholders, or other persons who had the power to elect or appoint
      one or more members of the governing body?                                                                       7a
    b Are any governance decisions of the organization reserved to (or subject to approval by) members,
      stockholders, or persons other than the governing body?                                                          7b
 8    Did the organization contemporaneously document the meetings held or written actions undertaken during
      the year by the following:
    a The governing body?                                                                                              Sa
    b Each committee with authority to act on behalf of the governing body?                                            Sb
  9   Is there any officer, director, trustee, or key employee listed in Part VII, Section A, who cannot be reached at
      the organization's mailing address? If "Yes," provide the names and addresses in Schedule O .                     9
Section B. Policies (This Section B requests information about policies not required by the Internal Revenue Code.)
                                                                                                                                                       Yes      No
 10a Did the organization have local chapters, branches, or affiliates?                                                                         10a             X
   b If "Yes," did the organization have written policies and procedures governing the activities of such chapters,
     affiliates, and branches to ensure their operations are consistent with the organization 's exempt purposes?                               10b
 11a Has the organization provided a complete copy of this Form 990 to all members of its governing body before filing the form?                11a       X
   b Describe in Schedule O the process, if any, used by the organization to review this Form 990.                                                                   I
 12a Did the organization have a written conflict of interest policy? If "No," go to line 13                                                    12a       X
   b Were officers, directors, or trustees, and key employees required to disclose annually interests that could give rise to conflicts?        12b       X
   C Did the organization regularly and consistently monitor and enforce compliance with the policy? If "Yes,"
     describe in Schedule O how this was done .                                                                                                 12c       X
 13 Did the organization have a written whistleblower policy?                                                                                   13        X
 14 Did the organization have a written document retention and destruction policy?                                                              14        X
 15 Did the process for determining compensation of the following persons include a review and approval by
     independent persons, comparability data, and contemporaneous substantiation of the deliberation and decision?
   a The organization 's CEO, Executive Director, or top management official                                                                    15a       X
                                                                                                                                                                     I
   b Other officers or key employees of the organization                                                                                        15b       X
     If "Yes" to line 15a or 15b, describe the process in Schedule O (see instructions).
 16a Did the organization invest in, contribute assets to, or participate in a joint venture or similar arrangement
     with a taxable entity during the year? .                                                                                                   16a
                                                                                                                                                                     I
      b If "Yes," did the organization follow a written policy or procedure requiring the organization to evaluate its
         participation in joint venture arrangements under applicable federal tax law, and take steps to safeguard the
         organization's exempt status with respect to such arrangements?                                                                        16b
                                                                                                                                                                     I
Section C. Disclosure
 17      List the states with which a copy of this Form 990 is required to be filed         • ----------------------------------------------------------------------·
 18      Section 6104 requires an organization to make its Forms 1023 (1024 or 1024-A if applicable), 990, and 990-T (Section 501 (c)
         (3)s only) available for public inspection. Indicate how you made these available. Check all that apply.
         D Own website           D Another's website         D Upon request D Other (explain in Schedule 0)
 19      Describe in Schedule O whether (and if so, how) the organization made its governing documents, conflict of interest policy, and
         financial statements available to the public during the tax year.
 20      State the name, address, and telephone number of the person who possesses the organization's books and records
                              CATHERINE ENGELBRECHT 832-444-7701
                                                                                                                                                      •
                              13909 TRACK ROAD E CAT SPRING, TX 78933
QNA                                                                                                                                              Form 990 (2018)
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•=Zffli'•i• Compensation of Officers, Directors, Trustees, Key Employees, Highest Compensated Employees, and
                 Independent Contractors
              Check if Schedule O contains a response or note to any line in this Part VII .                                          D
Section A. Officers, Directors, Trustees, Key Employees, and Highest Compensated Employees
1a Complete this table for all persons required to be listed. Report compensation for the calendar year ending with or within the
organization's tax year.
   • List all of the organization's current officers, directors, trustees (whether individuals or organizations), regardless of amount of
compensation. Enter -0- in columns (D), (E), and (F) if no compensation was paid.
    • List all of the organization's current key employees, if any. See instructions for definition of "key employee."
    • List the organization's five current highest compensated employees (other than an officer, director, trustee, or key employee)
who received reportable compensation (Box 5 of Form W-2 and/or Box 7 of Form 1099-MISC) of more than $100,000 from the
organization and any related organizations.
    • List all of the organization's former officers, key employees, and highest compensated employees who received more than
$100,000 of reportable compensation from the organization and any related organizations.
    • List all of the organization's former directors or trustees that received, in the capacity as a former director or trustee of the
organization, more than $10,000 of reportable compensation from the organization and any related organizations.
List persons in the following order: individual trustees or directors; institutional trustees; officers; key employees; highest
compensated employees; and former such persons.
D Check this box if neither the organization nor any related organization compensated any current officer, director, or trustee.
                                                                                                   (Cl
                                                                                                 Position
                               (A)                                        (Bl                                                 (Dl             (El             (F)
                                                                                    (do not check more than one
                         Name and Title                                Average      box, unless person is both an         Reportable      Reportable       Estimated
                                                                       hours per    officer and a director/trustee)     compensation compensation from     amount of
                                                                     week (list an, o-                                       from           related           other
                                                                       hours for   ~9:      5" 0
                                                                                            f/l. 03l ;      <DI
                                                                                                            3 -· 0
                                                                                                           12.rg.
                                                                                                                   "Tl
                                                                                                                              the        organizations   compensation
                                                                        related     Ca"[
                                                                     organizations a c:
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                                                                                                  !!l (I)3               organization
                                                                                                                   !!l (W-2/1099-MISC)
                                                                                                                                       (W-2/1099-MISC)      from the

                                                                     below dotted
                                                                          line)
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                                                                                                               (I)
                                                                                                                                                          organization
                                                                                                                                                          and related
                                                                                                                                                         organizations
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                                                                                      ii
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                                                                                             (I)
                                                                                                          U)
                                                                                                          !!I.
                                                                                                          (I)
                                                                                                          a.


- (1) __________________________________________________________
          CATHERINE ENGELBRECHT                                  _        35
    EXECUTIVE DIRECTOR                                                              X                                   143071                     0                 0
- (2) __________________________________________________________
          DIANNE JOSEPHS                                         _         1
    BOARD MEMBER                                                                    X                                           0                  0                 0
- (3) __________________________________________________________
          GREGG PHILLIPS                                         _         1
    BOARD MEMBER                                                                    X                                           0                  0                 0
- (4) __________________________________________________________
          BRENT MUDD                                             _         1
    BOARD MEMBER                                                                    X                                           0                  0                 0
- (5) __________________________________________________________ _

- (6) __________________________________________________________ _

- (7) __________________________________________________________ _

- (8) __________________________________________________________ _


- (9) __________________________________________________________ _

(1 O)__________________________________________________________ _

(11)__________________________________________________________ _

(12)__________________________________________________________ _

(13)__________________________________________________________ _

(14)__________________________________________________________ _

QNA                                                                                                                                                       Form   990 (2018)
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• ::r.r.:a,,r • Section A. Officers, Directors, Trustees, Key Employees, and Highest Compensated Employees (continued)
                                                                                                     (C)

                              (A)                                       (B)                    Position                                (D)                  (E)               (F)
                                                                                    (do not check more than one
                        Name and title                               Average        box, unless person is both an                   Reportable    Reportable            Estimated
                                                                     hours per      officer and a director/trustee)               compensation compensation from        amount of
                                                                   week (list any                                                      from         related                other
                                                                                    05"
                                                                                    -,
                                                                                              5"    Q      ;,;        <1>I    "Tl
                                                                                                                              o
                                                                     hours for      c. 9:     ~     _    ~            3t5·              the      organizations        compensation
                                                                                        <           o"     ~                  3 organization (W-2/1099- MISC)
                                                                      related
                                                                   organizations
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                                                                                                                                                                       organization
                                                                                    Oet       g          -o           mg
                                                                   below dotted
                                                                        line)
                                                                                    -,2       e!.        '<(1)!         ~                                              and related
                                                                                                                                                                      organizations
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                                                                                                                        C.

(15)__________________________________________________________ _

(16)__________________________________________________________ _

(17)__________________________________________________________ _

(18)__________________________________________________________ _

(19)__________________________________________________________ _


(20)-----------------------------------------------------------

(21)__________________________________________________________ _


(22)-----------------------------------------------------------

(23)-----------------------------------------------------------

(24)-----------------------------------------------------------

(25)-----------------------------------------------------------

   1b      Sub-total .                                                                        143071                          •
    c      Total from continuation sheets to Part VII, Section A                                                              •
   2
    d      Total (add lines 1b and 1c) .                                                      143071
           Total number of individuals (including but not limited to those listed above) who received more than $100,000 of
                                                                                                                              •
           reportable compensation from the organization                   •    1
                                                                                                                                                                               Yes    No

   3       Did the organization list any former officer, director, or trustee, key employee, or highest compensated                                                                        I
           employee on line 1a? If "Yes," complete Schedule J for such individual                                                                                      3               X
   4  For any individual listed on line 1a, is the sum of reportable compensation and other compensation from the
      organization and related organizations greater than $150,000? If "Yes," complete Schedule J for such
      individual .                                                                                                                                                     4
                                                                                                                                                                                           I
  5   Did any person listed on line 1a receive or accrue compensation from any unrelated organization or individual                                                                        I
      for services rendered to the organization? If "Yes," complete Schedule J for such person                                                                         5
Section B. Independent Contractors
   1       Complete this table for your five highest compensated independent contractors that received more than $100,000 of
           compensation from the organization. Report compensation for the calendar year ending with or within the organization's tax
           year.
                                                  (A)                                                                                        (Bl                        (C)
                                       Name and business address                                                                  Description of services          Compensation

       ,

       ,

       ,

       ,

       ,

   2       Total number of independent contractors (including but not limited to those listed above) who
           received more than $100,000 of compensation from the organization                                      •
                                                                                                                                                                       Form 990 (2018)
                                                                                                                                                                                           I
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•@190• Statement of Revenue
                     Check if Schedule O contains a response or note to any line in this Part VIII .
                                                                                                  (A)            (B)          (C)            (D)
                                                                                                                                                      •
                                                                                             Total revenue   Related or   Unrelated        Revenue
                                                                                                               exempt     business    excluded from tax
                                                                                                              function     revenue     under sections
                                                                                                              revenue                      512-514
......
1/J 1/J
CC
 ca ::i
             1a    Federated campaigns                            1a
... 0            b Membership dues                                1b
c, E
                 C Fundraising events                             1c
=
·- =
C,
    .ca.
 tn<t.
                 d Related organizations                          1d
in E             e Government grants (contributions)              1e
·-~pn...
...    G)
                 f All other contributions, gifts, grants,
:I .c              and similar amounts not included above         1f           436046
...
:@ 0
C"tl             g Noncash contributions included in lines 1a-1 f: $
                                                                     ---------------------
0 C
O ca
   G)
   ::::,
                 h Total. Add lines 1a-1f
                                                                        Business Code
                                                                                         •      436046
   C
             2a
  I
  a:          b
                   -------------------------------------------------
   G)              -------------------------------------------------
  -~u            C
                   -------------------------------------------------
   G)
                 d
  tn               -------------------------------------------------
   E             e
   ~               -------------------------------------------------
   C)            f   All other program service revenue .
  e
  D.
             3
                 g Total. Add lines 2a-2f
                     Investment income (including dividends, interest,
                                                                        •
                     and other similar amounts)                         •
             4       Income from investment of tax-exempt bond proceeds •
             5       Royalties
                                                        (i)Real
                                                                        • (ii) Personal

             6a Gross rents
              b Less: rental expenses
              C Rental income or (loss)
              d Net rental income or (loss)
                                                     (i) Securities         (ii) Other
                                                                                         •
             7a    Gross amount from sales of
                   assets other than inventory
                 b Less: cost or other basis
                   and sales expenses
                 C Gain or (loss)
                 d Net gain or (loss)                                                    •
   Cl)
   ::::,     8a Gross income from fundraising
   C
   Cl)          events (not including $
                                        -----------------
   .ii
  a:
   Cl)
  .c
                of contributions reported on line 1c).
                See Part IV, line 18                      a
  0           b Less: direct expenses                     b
              C Net income or (loss) from fundraising events
             9a Gross income from gaming activities.
                                                                                         •
                See Part IV, line 19                      a
              b Less: direct expenses                     b
              C Net income or (loss) from gaming activities
            10a Gross sales of inventory, less
                                                                                         •
                returns and allowances                    a
              b Less: cost of goods sold                  b
              C Net income or (loss) from sales of inventory .
                                Miscellaneous Revenue                   Business Code
                                                                                         •
            11a ------------------------------------------------·
              b ------------------------------------------------·
              C
                ------------------------------------------------·
              d All other revenue
              e Total. Add lines 11a-11d                                                 •
QNA
            12  Total revenue. See instructions                                          •      436046
                                                                                                                                         Form   990 (2018)
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•Rffl1f3i
Form 990 (2018)
                 Statement of Functional Expenses
Section 501 (c)(3) and 501 (c)(4) organizations must complete all columns. All other organizations must complete column (A).
            Check if Schedule O contains a response or note to any line in this Part IX .                          .   .   .     .   .   .   .   .   .     .     .    .   D
                                                                                                                                                                          X
Do not include amounts reported on lines 6b, 7b,            (A)                (B)                                         (C)                             (D)
                                                     Total expenses      Program service                           Management and                    Fundraising
Bb, 9b, and 10b of Part VIII.                                               expenses                               general expenses                   expenses
  1       Grants and other assistance to domestic organizations
          and domestic governments. See Part IV, line 21
  2       Grants and other assistance to domestic
          individuals. See Part IV, line 22
  3       Grants and other assistance to foreign
          organizations, foreign governments, and foreign
          individuals. See Part IV, lines 15 and 16 .
  4       Benefits paid to or for members
  5       Compensation of current officers, directors,
          trustees, and key employees                                             143071                  143071
  6       Compensation not included above, to disqualified
          persons (as defined under section 4958(1)(1)) and
          persons described in section 4958(c)(3)(8)
  7       Other salaries and wages                                                   14026                 14026
  8       Pension plan accruals and contributions (include
          section 401 (k) and 403(b) employer contributions)
  9  Other employee benefits .
 10  Payroll truces .                                                                  2295                 2295
 11  Fees for services (non-employees):
    aManagement
   b Legal
   C Accounting
   d Lobbying
   e Professional fundraising services. See Part IV, line 17
   f Investment management fees
   g Other. (If line 11g amount exceeds 10% of line 25, column
     (A) amount, list line 11g expenses on Schedule 0.)
 12       Advertising and promotion
 13       Office expenses                                                            17292                 17292
 14       Information technology                                                     57969                 57969
 15       Royalties
 16       Occupancy
 17       Travel                                                                     53363                 53363
 18       Payments of travel or entertainment expenses
          for any federal, state, or local public officials
 19       Conferences, conventions, and meetings
 20       Interest
 21       Payments to affiliates .
 22       Depreciation, depletion, and amortization
 23       Insurance.
 24       Other expenses. Itemize expenses not covered
          above (List miscellaneous expenses in line 24e. If
          line 24e amount exceeds 10% of line 25, column
          (A) amount, list line 24e expenses on Schedule 0.)
      a LEGAL    PROF
         ------------------------------------------------------------·
                                                                                       8143                 8143
      b PHONE     COMMUNICATIONS
         ------------------------------------------------------------·
                                                                                       6433                 6433
   C BANK FEES
      ------------------------------------------------------------·
                                                                                          540                540
   d MISC
      ------------------------------------------------------------·
                                                                                          638                638
   e All other expenses ----------------------------------                       121640
                                 Other program service expenses Payment processing, additional~expenses   121640
 25 Total functional expenses. Add lines 1 through 24e                           425410                   425410
 26       Joint costs. Complete this line only if the
          organization reported in column (8) joint costs
          from a combined educational campaign and
          fundraisin~ solicitation. Check here
          following OP 98-2 (ASC 958-720)
                                                        ••
                                                        if

QNA                                                                                                                                                      Form 990 (2018)
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                 TRUE THE VOTE, INC                                         XX-XXXXXXX

•Rffif:j
Form 990 (2018)

                  Balance Sheet
                  Check if Schedule O contains a response or note to any line in this Part X
                                                                                                                                                Page 11



                                                                                                                                                 .•
                                                                                                                 (A)                    (B)
                                                                                                          Beginning of year         End of year
       1        Cash- non-interest-bearing                                                                         20125      1                4754
       2        Savings and temporary cash investments                                                                        2
       3        Pledges and grants receivable, net                                                                            3
       4        Accounts receivable, net                                                                                      4
       5        Loans and other receivables from current and former officers, directors,
                trustees, key employees, and highest compensated employees.
                Complete Part II of Schedule L                                                                     40607      5              61896
       6        Loans and other receivables from other disqualified persons (as defined under section
                4958(ij(1)), persons described in section 4958(c)(3)(8), and contributing employers and
                sponsoring organizations of section 501 (c)(9) voluntary employees' beneficiary
 II)            organizations (see instructions). Complete Part II of Schedule L                                              6
~
II)
 II)
        7       Notes and loans receivable, net                                                                               7
c(      8       Inventories for sale or use                                                                                   8
        9       Prepaid expenses and deferred charges                                                                         9
       10a      Land , buildings, and equipment: cost or
                other basis. Complete Part VI of Schedule D       10a
            b   Less: accumulated depreciation                    10b                                                         10c
       11       Investments-publicly traded securities                                                                        11
       12       Investments-other securities. See Part IV, line 11                                                            12
       13       Investments-program-related. See Part IV, line 11                                                             13
       14       Intangible assets                                                                                             14
       15       Other assets. See Part IV, line 11 .                                                                          15
       16       Total assets. Add lines 1 through 15 (must equal line 34) .                                        60732      16             66650
       17       Accounts payable and accrued expenses                                                               6625      17              1907
       18       Grants payable .                                                                                              18
       19       Deferred revenue                                                                                              19
       20       Tax-exempt bond liabilities .                                                                                 20
       21       Escrow or custodial account liability. Complete Part IV of Schedule D .                                       21
 II)
 Cl)   22       Loans and other payables to current and former officers, directors,
~               trustees, key employees, highest compensated employees, and
:cca            disqualified persons. Complete Part II of Schedule L                                                          22
:::i   23       Secured mortgages and notes payable to unrelated third parties                                                23
       24       Unsecured notes and loans payable to unrelated third parties                                                  24
       25       Other liabilities (including federal income tax, payables to related third
                parties, and other liabilities not included on lines 17-24). Complete Part X
                of Schedule D                                                                                                 25
       26       Total liabilities. Add lines 17 through 25                                                             6625   26               1907
 II)
                Organizations that follow SFAS 117 (ASC 958), check here                 • •        and
 Cl)
 ()
                complete lines 27 through 29, and lines 33 and 34.
 C
 ca    27       Unrestricted net assets                                                                                       27
iu     28       Temporarily restricted net assets .                                                                           28
m
'tJ    29       Permanently restricted net assets .                                                                           29
 C
 ::s                                                                                      • •X and
 .
u.
 0
 II)
                Organizations that do not follow SFAS 117 (ASC 958), check here
                complete lines 30 through 34.
       30       Capital stock or trust principal, or current funds                                                            30
~
II)
 II)
       31       Paid-in or capital surplus, or land, building, or equipment fund                                              31
c(     32       Retained earnings, endowment, accumulated income, or other funds                                   54107      32             64743
~      33       Total net assets or fund balances .                                                                54107      33             64743
z
       34       Total liabilities and net assets/fund balances                                                     60732      34             66650
QNA                                                                                                                                   Form    990 (2018)
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•Rffll!••
Form 990 (2018)

              Reconciliation of Net Assets
               Check if Schedule O contains a response or note to any line in this Part XI                                                         .•
  1      Total revenue (must equal Part VIII, column (A), line 12) .                                                 1                  436046
  2      Total expenses (must equal Part IX, column (A), line 25)                                                    2                  425410
  3      Revenue less expenses. Subtract line 2 from line 1                                                          3                   10636
  4      Net assets or fund balances at beginning of year (must equal Part X, line 33, column (A)) .                 4                   54107
  5      Net unrealized gains (losses) on investments                                                                5
  6      Donated services and use of facilities                                                                      6
  7      Investment expenses                                                                                         7
  8      Prior period adjustments .                                                                                  8
  9      Other changes in net assets or fund balances (explain in Schedule 0)                                        9
 10      Net assets or fund balances at end of year. Combine lines 3 through 9 (must equal Part X, line
         33, column (B))                                                                                             10                      64743
• :i:loii9:41 • Financial Statements and Reporting
              Check if Schedule O contains a response or note to any line in this Part XII .     .   .   .   .   .    .   .   .   .    .     .     .   D
                                                                                                                                             Yes       No
  1  Accounting method used to prepare the Form 990: D Cash X Accrual  •             •   Other
     If the organization changed its method of accounting from a prior year or checked "Other," explain in
     Schedule 0 .
  2a Were the organization's financial statements compiled or reviewed by an independent accountant?                              2a                   X
     If "Yes," check a box below to indicate whether the financial statements for the year were compiled or
     reviewed on a separate basis, consolidated basis, or both:
     D Separate basis D Consolidated basis D Both consolidated and separate basis
   b Were the organization's financial statements audited by an independent accountant?                                           2b                   X
     If "Yes," check a box below to indicate whether the financial statements for the year were audited on a
     separate basis, consolidated basis, or both:
     D Separate basis D Consolidated basis D Both consolidated and separate basis
   C If "Yes" to line 2a or 2b, does the organization have a committee that assumes responsibility for oversight
     of the audit, review, or compilation of its financial statements and selection of an independent accountant?                 2c
     If the organization changed either its oversight process or selection process during the tax year, explain in
     Schedule 0 .
  3a As a result of a federal award, was the organization required to undergo an audit or audits as set forth in
         the Single Audit Act and 0MB Circular A-133? .                                                                           3a                   X
      b If "Yes," did the organization undergo the required audit or audits? If the organization did not undergo the
         required audit or audits, explain why in Schedule O and describe any steps taken to undergo such audits.                 3b
QNA                                                                                                                                   Form   990 (2018)
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                                                                                                                                                               OMB No. 1545-0047
SCHEDULE A                                     Public Charity Status and Public Support
(Form 990 or 990-EZ)
                                Complete if the organization is a section 501(c)(3) organization or a section 4947(a)(1) nonexempt charitable trust.                2018
                                                                  a Attach to Form 990 or Form 990-EZ.
Department of the Treasury                                                                                                                                     Open to Public
Internal Revenue Service                       a Go to www.irs.gov/Form990 for instructions and the latest information.
                                                                                                                                                                Inspection
Name of the organization                                                                                                         Employer identification number
   TRUE THE VOTE, INC                                                                 XX-XXXXXXX
 Part I Reason for Public Charity Status (All organizations must complete this part.) See instructions.
The organization is not a private foundation because it is: (For lines 1 through 12, check only one box.)
  1  •  A church, convention of churches, or association of churches described in section 170(b)(1)(A)(i).
  2  •  A school described in section 170(b)(1)(A)(ii). (Attach Schedule E (Form 990 or 990-EZ).)
  3  •  A hospital or a cooperative hospital service organization described in section 170(b)(1)(A)(iii).
  4  •  A medical research organization operated in conjunction with a hospital described in section 170(b)(1)(A)(iii). Enter the
        hospital’s name, city, and state:
  5
     •  An organization operated for the benefit of a college or university owned or operated by a governmental unit described in
        section 170(b)(1)(A)(iv). (Complete Part II.)
   6 • A federal, state, or local government or governmental unit described in section 170(b)(1)(A)(v).
   7
     • described
       An organization that normally receives a substantial part of its support from a governmental unit or from the general public
                  in section 170(b)(1)(A)(vi). (Complete Part II.)
   8 • A community trust described in section 170(b)(1)(A)(vi). (Complete Part II.)
   9 • An agricultural research organization described in section 170(b)(1)(A)(ix) operated in conjunction with a land-grant college
       or university or a non-land-grant college of agriculture (see instructions). Enter the name, city, and state of the college or
              university:
 10       •x An organization that normally receives: (1) more than 331/3% of its support from contributions, membership fees, and gross
              receipts from activities related to its exempt functions—subject to certain exceptions, and (2) no more than 331/3% of its
              support from gross investment income and unrelated business taxable income (less section 511 tax) from businesses
              acquired by the organization after June 30, 1975. See section 509(a)(2). (Complete Part III.)
 11       •   An organization organized and operated exclusively to test for public safety. See section 509(a)(4).
 12       •   An organization organized and operated exclusively for the benefit of, to perform the functions of, or to carry out the purposes
              of one or more publicly supported organizations described in section 509(a)(1) or section 509(a)(2). See section 509(a)(3).
              Check the box in lines 12a through 12d that describes the type of supporting organization and complete lines 12e, 12f, and 12g.
      a       • Type  I. A supporting organization operated, supervised, or controlled by its supported organization(s), typically by giving
                the supported organization(s) the power to regularly appoint or elect a majority of the directors or trustees of the
                  supporting organization. You must complete Part IV, Sections A and B.
      b       • Type II. A supporting organization supervised or controlled in connection with its supported organization(s), by having
                control or management of the supporting organization vested in the same persons that control or manage the supported
                  organization(s). You must complete Part IV, Sections A and C.
      c       •   Type III functionally integrated. A supporting organization operated in connection with, and functionally integrated with,
                  its supported organization(s) (see instructions). You must complete Part IV, Sections A, D, and E.
      d       • Type   III non-functionally integrated. A supporting organization operated in connection with its supported organization(s)
                that is not functionally integrated. The organization generally must satisfy a distribution requirement and an attentiveness
                  requirement (see instructions). You must complete Part IV, Sections A and D, and Part V.
      e       • Check  this box if the organization received a written determination from the IRS that it is a Type I, Type II, Type III
                functionally integrated, or Type III non-functionally integrated supporting organization.
      f Enter the number of supported organizations . . . . . . . . .                                       .   .   .   .    .   .   .   .    .   .    .   .    .     .
      g Provide the following information about the supported organization(s).
          (i) Name of supported organization               (ii) EIN        (iii) Type of organization    (iv) Is the organization (v) Amount of monetary              (vi) Amount of
                                                                           (described on lines 1–10     listed in your governing        support (see                other support (see
                                                                           above (see instructions))            document?               instructions)                  instructions)

                                                                                                          Yes           No

(A)

(B)

(C)

(D)

(E)

Total
For Paperwork Reduction Act Notice, see the Instructions for Form 990 or 990-EZ.                                    QNA                      Schedule A (Form 990 or 990-EZ) 2018
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           TRUE THE VOTE, INC                                                  XX-XXXXXXX
Schedule A (Form 990 or 990-EZ) 2018                                                                                                        Page 2
 Part II   Support Schedule for Organizations Described in Sections 170(b)(1)(A)(iv) and 170(b)(1)(A)(vi)
           (Complete only if you checked the box on line 5, 7, or 8 of Part I or if the organization failed to qualify under
           Part III. If the organization fails to qualify under the tests listed below, please complete Part III.)
Section A. Public Support
Calendar year (or fiscal year beginning in) a          (a) 2014       (b) 2015       (c) 2016       (d) 2017         (e) 2018         (f) Total
  1   Gifts, grants, contributions, and
      membership fees received. (Do not
      include any “unusual grants.”) . . .
  2      Tax     revenues   levied   for    the
         organization’s benefit and either paid
         to or expended on its behalf . . .
  3      The value of services or facilities
         furnished by a governmental unit to the
         organization without charge . . . .
  4      Total. Add lines 1 through 3 .   .   .   .
  5      The portion of total contributions by
         each     person     (other    than     a
         governmental     unit     or    publicly
         supported organization) included on
         line 1 that exceeds 2% of the amount
         shown on line 11, column (f) . . . .
  6      Public support. Subtract line 5 from line 4
Section B. Total Support
Calendar year (or fiscal year beginning in) a          (a) 2014       (b) 2015       (c) 2016       (d) 2017         (e) 2018         (f) Total
  7   Amounts from line 4 . . . . . .
  8   Gross income from interest, dividends,
      payments received on securities loans,
      rents, royalties, and income from
      similar sources . . . . . . . .
  9      Net income from unrelated business
         activities, whether or not the business
         is regularly carried on   . . . . .
 10      Other income. Do not include gain or
         loss from the sale of capital assets
         (Explain in Part VI.) . . . . . . .
 11      Total support. Add lines 7 through 10
 12      Gross receipts from related activities, etc. (see instructions) . . . . . . . . . . . .                   12 I
 13      First five years. If the Form 990 is for the organization’s first, second, third, fourth, or fifth tax year as a section 501(c)(3)
         organization, check this box and stop here . . . . . . . . . . . . . . . . . . . . . . . . . a
Section C. Computation of Public Support Percentage
                                                                                                                                                  •
 14     Public support percentage for 2018 (line 6, column (f) divided by line 11, column (f)) . . . .     14                     %
 15     Public support percentage from 2017 Schedule A, Part II, line 14 . . . . . . . . . .               15                     %
 16a    331/3% support test—2018. If the organization did not check the box on line 13, and line 14 is 331/3% or more, check this
        box and stop here. The organization qualifies as a publicly supported organization . . . . . . . . . . . . a
                                                                                                                            •
      b 331/3% support test—2017. If the organization did not check a box on line 13 or 16a, and line 15 is 331/3% or more, check
        this box and stop here. The organization qualifies as a publicly supported organization . . . . . . . . . . . a
 17a 10%-facts-and-circumstances test—2018. If the organization did not check a box on line 13, 16a, or 16b, and line 14 is
                                                                                                                            •
         10% or more, and if the organization meets the “facts-and-circumstances” test, check this box and stop here. Explain in
         Part VI how the organization meets the “facts-and-circumstances” test. The organization qualifies as a publicly supported
         organization . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . a
    b 10%-facts-and-circumstances test—2017. If the organization did not check a box on line 13, 16a, 16b, or 17a, and line
                                                                                                                                                  •
      15 is 10% or more, and if the organization meets the “facts-and-circumstances” test, check this box and stop here.
      Explain in Part VI how the organization meets the “facts-and-circumstances” test. The organization qualifies as a publicly

 18
      supported organization . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . a
      Private foundation. If the organization did not check a box on line 13, 16a, 16b, 17a, or 17b, check this box and see
                                                                                                                                                  •
      instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . a
                                                                                                                                                  •
                                                                                                               Schedule A (Form 990 or 990-EZ) 2018



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Schedule A (Form 990 or 990-EZ) 2018
Part III   Support Schedule for Organizations Described in Section 509(a)(2)
           (Complete only if you checked the box on line 10 of Part I or if the organization failed to qualify under Part II.
           If the organization fails to qualify under the tests listed below, please complete Part II.)
Section A. Public Support
Calendar year (or fiscal year beginning in) a             (a) 2014       (b) 2015       (c) 2016      (d) 2017           (e) 2018
                                                                                                                                                Page 3




                                                                                                                                          (f) Total
  1   Gifts, grants, contributions, and membership fees
      received. (Do not include any “unusual grants.”)    1193092          940764         304891                                           2438747
  2   Gross receipts from admissions, merchandise
      sold or services performed, or facilities
      furnished in any activity that is related to the
      organization’s tax-exempt purpose . . .                   127                       129904                                            130031
  3   Gross receipts from activities that are not an
      unrelated trade or business under section 513                  2              2                                                                 4
  4       Tax    revenues     levied     for    the
          organization’s benefit and either paid to
          or expended on its behalf . . . .
  5       The value of services or facilities
          furnished by a governmental unit to the
          organization without charge . . . .
  6       Total. Add lines 1 through 5 . . . .            1193221          940766         434795                                           2568782
  7a      Amounts included on lines 1, 2, and 3
          received from disqualified persons .
      b Amounts included on lines 2 and 3
        received from other than disqualified
        persons that exceed the greater of $5,000
        or 1% of the amount on line 13 for the year
      c   Add lines 7a and 7b . . . . . .
  8       Public support. (Subtract line 7c from
          line 6.) . . . . . . . . . . .                                                                                                   2568782
Section B. Total Support
Calendar year (or fiscal year beginning in) a             (a) 2014       (b) 2015       (c) 2016      (d) 2017           (e) 2018         (f) Total
  9   Amounts from line 6 . . . . . .                     1193221          940766         434795                                           2568782
 10a Gross income from interest, dividends,
      payments received on securities loans, rents,
      royalties, and income from similar sources .
      b Unrelated business taxable income (less
        section 511 taxes) from businesses
        acquired after June 30, 1975 . . . .
      c   Add lines 10a and 10b . . . . .
 11       Net income from unrelated business
          activities not included in line 10b, whether
          or not the business is regularly carried on
 12       Other income. Do not include gain or
          loss from the sale of capital assets
          (Explain in Part VI.) . . . . . . .
 13       Total support. (Add lines 9, 10c, 11,
          and 12.) . . . . . . . . . .                  1193221          940766         434795                                      2568782
 14       First five years. If the Form 990 is for the organization’s first, second, third, fourth, or fifth tax year as a section 501(c)(3)
          organization, check this box and stop here . . . . . . . . . . . . . . . . . . . . . . . . . a
Section C. Computation of Public Support Percentage
                                                                                                                                                      •
 15       Public support percentage for 2018 (line 8, column (f), divided by line 13, column (f)) .    .   .   .    .     15     100.000              %
 16       Public support percentage from 2017 Schedule A, Part III, line 15 . . . . . . .              .   .   .    .     16     100.000              %
Section D. Computation of Investment Income Percentage
 17     Investment income percentage for 2018 (line 10c, column (f), divided by line 13, column (f)) . . .          17                   %
 18     Investment income percentage from 2017 Schedule A, Part III, line 17 . . . . . . . . . .                    18                   %
 19a    331/3% support tests—2018. If the organization did not check the box on line 14, and line 15 is more than 331/3%, and line
        17 is not more than 331/3%, check this box and stop here. The organization qualifies as a publicly supported organization . a x
      b 331/3% support tests—2017. If the organization did not check a box on line 14 or line 19a, and line 16 is more than 331/3%, and
                                                                                                                                                      •
        line 18 is not more than 331/3%, check this box and stop here. The organization qualifies as a publicly supported organization a
                                                                                                                                                      •
 20
 QNA
          Private foundation. If the organization did not check a box on line 14, 19a, or 19b, check this box and see instructions               a
                                                                                                                                                      •
                                                                                                                   Schedule A (Form 990 or 990-EZ) 2018
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Schedule A (Form 990 or 990-EZ) 2018
Part IV   Supporting Organizations
          (Complete only if you checked a box in line 12 on Part I. If you checked 12a of Part I, complete Sections A
          and B. If you checked 12b of Part I, complete Sections A and C. If you checked 12c of Part I, complete
          Sections A, D, and E. If you checked 12d of Part I, complete Sections A and D, and complete Part V.)
Section A. All Supporting Organizations
                                                                                                                                       Page 4




                                                                                                                                  Yes No
  1     Are all of the organization’s supported organizations listed by name in the organization’s governing
        documents? If “No,” describe in Part VI how the supported organizations are designated. If designated by
        class or purpose, describe the designation. If historic and continuing relationship, explain.                        1
  2     Did the organization have any supported organization that does not have an IRS determination of status
        under section 509(a)(1) or (2)? If “Yes,” explain in Part VI how the organization determined that the supported
        organization was described in section 509(a)(1) or (2).                                                              2
  3a    Did the organization have a supported organization described in section 501(c)(4), (5), or (6)? If “Yes,” answer
        (b) and (c) below.                                                                                                   3a
   b Did the organization confirm that each supported organization qualified under section 501(c)(4), (5), or (6) and
     satisfied the public support tests under section 509(a)(2)? If “Yes,” describe in Part VI when and how the
     organization made the determination.                                                                                    3b
   c Did the organization ensure that all support to such organizations was used exclusively for section 170(c)(2)(B)
     purposes? If “Yes,” explain in Part VI what controls the organization put in place to ensure such use.                  3c
  4a Was any supported organization not organized in the United States (“foreign supported organization”)? If
     “Yes,” and if you checked 12a or 12b in Part I, answer (b) and (c) below.                                               4a
    b Did the organization have ultimate control and discretion in deciding whether to make grants to the foreign
      supported organization? If “Yes,” describe in Part VI how the organization had such control and discretion
      despite being controlled or supervised by or in connection with its supported organizations.                           4b
    c   Did the organization support any foreign supported organization that does not have an IRS determination
        under sections 501(c)(3) and 509(a)(1) or (2)? If “Yes,” explain in Part VI what controls the organization used
        to ensure that all support to the foreign supported organization was used exclusively for section 170(c)(2)(B)
        purposes.                                                                                                            4c
  5a    Did the organization add, substitute, or remove any supported organizations during the tax year? If “Yes,”
        answer (b) and (c) below (if applicable). Also, provide detail in Part VI, including (i) the names and EIN
        numbers of the supported organizations added, substituted, or removed; (ii) the reasons for each such action;
        (iii) the authority under the organization’s organizing document authorizing such action; and (iv) how the action
        was accomplished (such as by amendment to the organizing document).                                                  5a
    b Type I or Type II only. Was any added or substituted supported organization part of a class already
      designated in the organization’s organizing document?                                                                  5b
    c Substitutions only. Was the substitution the result of an event beyond the organization’s control?                     5c
  6   Did the organization provide support (whether in the form of grants or the provision of services or facilities) to
      anyone other than (i) its supported organizations, (ii) individuals that are part of the charitable class benefited
      by one or more of its supported organizations, or (iii) other supporting organizations that also support or
      benefit one or more of the filing organization’s supported organizations? If “Yes,” provide detail in Part VI.         6
  7     Did the organization provide a grant, loan, compensation, or other similar payment to a substantial contributor
        (as defined in section 4958(c)(3)(C)), a family member of a substantial contributor, or a 35% controlled entity
        with regard to a substantial contributor? If “Yes,” complete Part I of Schedule L (Form 990 or 990-EZ).              7
  8     Did the organization make a loan to a disqualified person (as defined in section 4958) not described in line 7?
        If “Yes,” complete Part I of Schedule L (Form 990 or 990-EZ).                                                        8
  9a  Was the organization controlled directly or indirectly at any time during the tax year by one or more
      disqualified persons as defined in section 4946 (other than foundation managers and organizations described
      in section 509(a)(1) or (2))? If “Yes,” provide detail in Part VI.                                                     9a
    b Did one or more disqualified persons (as defined in line 9a) hold a controlling interest in any entity in which
      the supporting organization had an interest? If “Yes,” provide detail in Part VI.                                      9b
    c Did a disqualified person (as defined in line 9a) have an ownership interest in, or derive any personal benefit
      from, assets in which the supporting organization also had an interest? If “Yes,” provide detail in Part VI.           9c
 10a  Was the organization subject to the excess business holdings rules of section 4943 because of section
      4943(f) (regarding certain Type II supporting organizations, and all Type III non-functionally integrated
      supporting organizations)? If “Yes,” answer 10b below.                                                                10a
    b Did the organization have any excess business holdings in the tax year? (Use Schedule C, Form 4720, to
      determine whether the organization had excess business holdings.)                                                     10b
                                                                                                          Schedule A (Form 990 or 990-EZ) 2018


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Schedule A (Form 990 or 990-EZ) 2018                                                                                                         Page 5
Part IV       Supporting Organizations (continued)
                                                                                                                                        Yes No
 11   Has the organization accepted a gift or contribution from any of the following persons?
   a  A person who directly or indirectly controls, either alone or together with persons described in (b) and (c)
      below, the governing body of a supported organization?                                                                      11a
    b A family member of a person described in (a) above?                                                                         11b
    c A 35% controlled entity of a person described in (a) or (b) above? If “Yes” to a, b, or c, provide detail in Part VI.       11c
Section B. Type I Supporting Organizations
                                                                                                                                        Yes No
  1     Did the directors, trustees, or membership of one or more supported organizations have the power to
        regularly appoint or elect at least a majority of the organization’s directors or trustees at all times during the
        tax year? If “No,” describe in Part VI how the supported organization(s) effectively operated, supervised, or
        controlled the organization’s activities. If the organization had more than one supported organization,
        describe how the powers to appoint and/or remove directors or trustees were allocated among the supported
        organizations and what conditions or restrictions, if any, applied to such powers during the tax year.
                                                                                                                                   1
  2     Did the organization operate for the benefit of any supported organization other than the supported
        organization(s) that operated, supervised, or controlled the supporting organization? If “Yes,” explain in Part
        VI how providing such benefit carried out the purposes of the supported organization(s) that operated,
        supervised, or controlled the supporting organization.                                                                     2
Section C. Type II Supporting Organizations
                                                                                                                                        Yes No
  1     Were a majority of the organization’s directors or trustees during the tax year also a majority of the directors
        or trustees of each of the organization’s supported organization(s)? If “No,” describe in Part VI how control
        or management of the supporting organization was vested in the same persons that controlled or managed
        the supported organization(s).                                                                                             1
Section D. All Type III Supporting Organizations
                                                                                                                                        Yes No
  1     Did the organization provide to each of its supported organizations, by the last day of the fifth month of the
        organization’s tax year, (i) a written notice describing the type and amount of support provided during the prior tax
        year, (ii) a copy of the Form 990 that was most recently filed as of the date of notification, and (iii) copies of the
        organization’s governing documents in effect on the date of notification, to the extent not previously provided?           1
  2     Were any of the organization’s officers, directors, or trustees either (i) appointed or elected by the supported
        organization(s) or (ii) serving on the governing body of a supported organization? If “No,” explain in Part VI how
        the organization maintained a close and continuous working relationship with the supported organization(s).                2
  3     By reason of the relationship described in (2), did the organization’s supported organizations have a
        significant voice in the organization’s investment policies and in directing the use of the organization’s
        income or assets at all times during the tax year? If “Yes,” describe in Part VI the role the organization’s
        supported organizations played in this regard.                                                                             3
Section E. Type III Functionally Integrated Supporting Organizations
  1     Check the box next to the method that the organization used to satisfy the Integral Part Test during the year (see instructions).
    a    • The organization satisfied the Activities Test. Complete line 2 below.
    b    • The organization
           The organization is the parent of each of its supported organizations. Complete line 3 below.
    c    •                  supported a governmental entity. Describe in Part VI how you supported a government entity (see instructions).

  2     Activities Test. Answer (a) and (b) below.                                                                                      Yes No
   a    Did substantially all of the organization’s activities during the tax year directly further the exempt purposes of
        the supported organization(s) to which the organization was responsive? If “Yes,” then in Part VI identify
        those supported organizations and explain how these activities directly furthered their exempt purposes,
        how the organization was responsive to those supported organizations, and how the organization determined
        that these activities constituted substantially all of its activities.                                                     2a
    b Did the activities described in (a) constitute activities that, but for the organization’s involvement, one or more
      of the organization’s supported organization(s) would have been engaged in? If “Yes,” explain in Part VI the
      reasons for the organization’s position that its supported organization(s) would have engaged in these
      activities but for the organization’s involvement.                                                                           2b
  3     Parent of Supported Organizations. Answer (a) and (b) below.
    a   Did the organization have the power to regularly appoint or elect a majority of the officers, directors, or
        trustees of each of the supported organizations? Provide details in Part VI.                                               3a
    b Did the organization exercise a substantial degree of direction over the policies, programs, and activities of each
      of its supported organizations? If “Yes,” describe in Part VI the role played by the organization in this regard.            3b
 QNA                                                                                                            Schedule A (Form 990 or 990-EZ) 2018
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Schedule A (Form 990 or 990-EZ) 2018
Part V        Type III Non-Functionally Integrated 509(a)(3) Supporting Organizations
  1    • Check  here if the organization satisfied the Integral Part Test as a qualifying trust on Nov. 20, 1970 (explain in Part VI). See
         instructions. All other Type III non-functionally integrated supporting organizations must complete Sections A through E.
 Section A—Adjusted Net Income                                                                     (A) Prior Year          (B) Current Year
                                                                                                                               (optional)
   1 Net short-term capital gain                                                          1
   2 Recoveries of prior-year distributions                                               2
   3 Other gross income (see instructions)                                                3
   4 Add lines 1 through 3.                                                               4
   5 Depreciation and depletion                                                           5
   6 Portion of operating expenses paid or incurred for production or
   collection of gross income or for management, conservation, or
   maintenance of property held for production of income (see instructions)               6
   7 Other expenses (see instructions)                                                    7
   8 Adjusted Net Income (subtract lines 5, 6, and 7 from line 4)                         8
                                                                                                                           (B) Current Year
 Section B—Minimum Asset Amount                                                                    (A) Prior Year
                                                                                                                               (optional)
   1 Aggregate fair market value of all non-exempt-use assets (see
   instructions for short tax year or assets held for part of year):                                                                           I
    a Average monthly value of securities                                                1a
    b Average monthly cash balances                                                      1b
    c Fair market value of other non-exempt-use assets                                   1c
    d Total (add lines 1a, 1b, and 1c)                                                   1d
    e Discount claimed for blockage or other
    factors (explain in detail in Part VI):                                                                                                    I
   2 Acquisition indebtedness applicable to non-exempt-use assets                         2
   3 Subtract line 2 from line 1d.                                                        3
   4 Cash deemed held for exempt use. Enter 1-1/2% of line 3 (for greater amount,
   see instructions).                                                                     4
   5 Net value of non-exempt-use assets (subtract line 4 from line 3)                     5
   6 Multiply line 5 by .035.                                                             6
   7 Recoveries of prior-year distributions                                               7
   8 Minimum Asset Amount (add line 7 to line 6)                                          8
 Section C—Distributable Amount                                                                                              Current Year

   1 Adjusted net income for prior year (from Section A, line 8, Column A)                1
   2 Enter 85% of line 1.                                                                 2
   3 Minimum asset amount for prior year (from Section B, line 8, Column A)               3
   4 Enter greater of line 2 or line 3.                                                   4
   5 Income tax imposed in prior year                                                     5
   6 Distributable Amount. Subtract line 5 from line 4, unless subject to
   emergency temporary reduction (see instructions).                                      6
   7   • Check here if the current year is the organization’s first as a non-functionally integrated Type III supporting organization (see
         instructions).
                                                                                                            Schedule A (Form 990 or 990-EZ) 2018




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 Part V       Type III Non-Functionally Integrated 509(a)(3) Supporting Organizations (continued)
 Section D—Distributions                                                                                              Current Year

    1   Amounts paid to supported organizations to accomplish exempt purposes
    2   Amounts paid to perform activity that directly furthers exempt purposes of supported
        organizations, in excess of income from activity
    3   Administrative expenses paid to accomplish exempt purposes of supported organizations
    4   Amounts paid to acquire exempt-use assets
    5   Qualified set-aside amounts (prior IRS approval required)
    6   Other distributions (describe in Part VI). See instructions.
    7   Total annual distributions. Add lines 1 through 6.
    8   Distributions to attentive supported organizations to which the organization is responsive
        (provide details in Part VI). See instructions.
   9    Distributable amount for 2018 from Section C, line 6
  10    Line 8 amount divided by line 9 amount
                                                                                                   (ii)                   (iii)
                                                                             (i)
 Section E—Distribution Allocations (see instructions)                                      Underdistributions       Distributable
                                                                     Excess Distributions
                                                                                                Pre-2018            Amount for 2018
  1     Distributable amount for 2018 from Section C, line 6
  2     Underdistributions, if any, for years prior to 2018
        (reasonable cause required—explain in Part VI). See
        instructions.
  3     Excess distributions carryover, if any, to 2018
    a   From 2013 . . . . .
    b   From 2014 . . . . .
    c   From 2015 . . . . .
    d   From 2016 . . . . .
    e   From 2017 . . . . .
    f   Total of lines 3a through e
    g   Applied to underdistributions of prior years
    h   Applied to 2018 distributable amount
    i   Carryover from 2013 not applied (see instructions)
    j   Remainder. Subtract lines 3g, 3h, and 3i from 3f.
  4     Distributions for 2018 from
        Section D, line 7:                      $
    a   Applied to underdistributions of prior years
    b   Applied to 2018 distributable amount
    c   Remainder. Subtract lines 4a and 4b from 4.
  5     Remaining underdistributions for years prior to 2018, if
        any. Subtract lines 3g and 4a from line 2. For result
        greater than zero, explain in Part VI. See instructions.
  6   Remaining underdistributions for 2018. Subtract lines 3h
      and 4b from line 1. For result greater than zero, explain in
      Part VI. See instructions.
  7   Excess distributions carryover to 2019. Add lines 3j
      and 4c.
  8   Breakdown of line 7:
    a Excess from 2014 . . .
    b Excess from 2015 . . .
    c Excess from 2016 . . .
    d Excess from 2017 . . .
    e Excess from 2018 . . .
                                                                                                        Schedule A (Form 990 or 990-EZ) 2018




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Schedule A (Form 990 or 990-EZ) 2018
Part VI       Supplemental Information. Provide the explanations required by Part II, line 10; Part II, line 17a or 17b; Part
                                                                                                                                Page 8


              III, line 12; Part IV, Section A, lines 1, 2, 3b, 3c, 4b, 4c, 5a, 6, 9a, 9b, 9c, 11a, 11b, and 11c; Part IV, Section
              B, lines 1 and 2; Part IV, Section C, line 1; Part IV, Section D, lines 2 and 3; Part IV, Section E, lines 1c, 2a, 2b,
              3a, and 3b; Part V, line 1; Part V, Section B, line 1e; Part V, Section D, lines 5, 6, and 8; and Part V, Section E,
              lines 2, 5, and 6. Also complete this part for any additional information. (See instructions.)




 QNA                                                                                                  Schedule A (Form 990 or 990-EZ) 2018
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Schedule B                                              Schedule of Contributors                                                  OMB No. 1545-0047
(Form 990, 990-EZ,
or 990-PF)
Department of the Treasury
                                                  a Attach to Form 990, Form 990-EZ, or Form 990-PF.
                                                a Go to www.irs.gov/Form990 for the latest information.
                                                                                                                                    2018
Internal Revenue Service
Name of the organization                                                                                       Employer identification number
 TRUE THE VOTE, INC                                                                                                   XX-XXXXXXX
Organization type (check one):

Filers of:                          Section:

Form 990 or 990-EZ                 •X 501(c)( 3 ) (enter number) organization
                                   • 4947(a)(1) nonexempt charitable trust not treated as a private foundation
                                   • 527 political organization
Form 990-PF                        • 501(c)(3) exempt private foundation
                                   • 4947(a)(1) nonexempt charitable trust treated as a private foundation
                                   • 501(c)(3) taxable private foundation
Check if your organization is covered by the General Rule or a Special Rule.
Note: Only a section 501(c)(7), (8), or (10) organization can check boxes for both the General Rule and a Special Rule. See
instructions.

General Rule


     • For an organization filing Form 990, 990-EZ, or 990-PF that received, during the year, contributions totaling $5,000
       or more (in money or property) from any one contributor. Complete Parts I and II. See instructions for determining a
           contributor’s total contributions.

Special Rules


     • For an organization described in section 501(c)(3) filing Form 990 or 990-EZ that met the 33 / % support test of the
                                                                                                                1 3

       regulations under sections 509(a)(1) and 170(b)(1)(A)(vi), that checked Schedule A (Form 990 or 990-EZ), Part II, line
           13, 16a, or 16b, and that received from any one contributor, during the year, total contributions of the greater of (1)
           $5,000; or (2) 2% of the amount on (i) Form 990, Part VIII, line 1h; or (ii) Form 990-EZ, line 1. Complete Parts I and II.


     • For an organization described in section 501(c)(7), (8), or (10) filing Form 990 or 990-EZ that received from any one
       contributor, during the year, total contributions of more than $1,000 exclusively for religious, charitable, scientific,
           literary, or educational purposes, or for the prevention of cruelty to children or animals. Complete Parts I (entering
           “N/A” in column (b) instead of the contributor name and address), II, and III.


     • For an organization described in section 501(c)(7), (8), or (10) filing Form 990 or 990-EZ that received from any one
       contributor, during the year, contributions exclusively for religious, charitable, etc., purposes, but no such
           contributions totaled more than $1,000. If this box is checked, enter here the total contributions that were received
           during the year for an exclusively religious, charitable, etc., purpose. Don’t complete any of the parts unless the
           General Rule applies to this organization because it received nonexclusively religious, charitable, etc., contributions
           totaling $5,000 or more during the year . . . . . . . . . . . . . . . . . . a $

Caution: An organization that isn’t covered by the General Rule and/or the Special Rules doesn’t file Schedule B (Form 990,
990-EZ, or 990-PF), but it must answer “No” on Part IV, line 2, of its Form 990; or check the box on line H of its Form 990-EZ or on its
Form 990-PF, Part I, line 2, to certify that it doesn’t meet the filing requirements of Schedule B (Form 990, 990-EZ, or 990-PF).

For Paperwork Reduction Act Notice, see the instructions for Form 990, 990-EZ, or 990-PF.                 Schedule B (Form 990, 990-EZ, or 990-PF) (2018)




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SCHEDULE D                                                                                                                                       OMB No. 1545-0047
                                            Supplemental Financial Statements
(Form 990)
                                           a Complete if the organization answered “Yes” on Form 990,
                                        Part IV, line 6, 7, 8, 9, 10, 11a, 11b, 11c, 11d, 11e, 11f, 12a, or 12b.
                                                                                                                                                   2018
Department of the Treasury                                        a Attach to Form 990.                                                          Open to Public
Internal Revenue Service             a Go to www.irs.gov/Form990 for instructions and the latest information.                                    Inspection
Name of the organization                                                                                                 Employer identification number

  TRUE THE VOTE, INC                                                               XX-XXXXXXX
  Part I Organizations Maintaining Donor Advised Funds or Other Similar Funds or Accounts.
         Complete if the organization answered “Yes” on Form 990, Part IV, line 6.
                                                                               (a) Donor advised funds                             (b) Funds and other accounts
  1       Total number at end of year . . . . . . .
  2       Aggregate value of contributions to (during year)
  3       Aggregate value of grants from (during year) .
  4       Aggregate value at end of year . . . . . .
  5       Did the organization inform all donors and donor advisors in writing that the assets held in donor advised

  6
          funds are the organization’s property, subject to the organization’s exclusive legal control? . . . . . .
          Did the organization inform all grantees, donors, and donor advisors in writing that grant funds can be used
                                                                                                                                                    • Yes • No


-
          only for charitable purposes and not for the benefit of the donor or donor advisor, or for any other purpose

  Part II
          conferring impermissible private benefit? . . . . . . . . . . . . . . . . . . . . . .
                 Conservation Easements.
                                                                                                                                                    • Yes • No
                 Complete if the organization answered “Yes” on Form 990, Part IV, line 7.
  1       Purpose(s) of conservation easements held by the organization (check all that apply).
    •        Preservation of land for public use (e.g., recreation or education)            •
                                                                                    Preservation of a historically important land area
    •        Protection of natural habitat                                                  •
                                                                                    Preservation of a certified historic structure

  2
    •        Preservation of open space
          Complete lines 2a through 2d if the organization held a qualified conservation contribution in the form of a conservation
          easement on the last day of the tax year.                                                              Held at the End of the Tax Year
      a   Total number of conservation easements . . . . . . . . . . . . . . . . .                                 2a
      b   Total acreage restricted by conservation easements . . . . . . . . . . . . . .                           2b
      c   Number of conservation easements on a certified historic structure included in (a) . . . .               2c
      d   Number of conservation easements included in (c) acquired after 7/25/06, and not on a
          historic structure listed in the National Register . . . . . . . . . . . . . . .                         2d
  3       Number of conservation easements modified, transferred, released, extinguished, or terminated by the organization during the
          tax year a
  4       Number of states where property subject to conservation easement is located a
  5       Does the organization have a written policy regarding the periodic monitoring, inspection, handling of

  6
          violations, and enforcement of the conservation easements it holds? . . . . . . . . . . . . .                               Yes       No
          Staff and volunteer hours devoted to monitoring, inspecting, handling of violations, and enforcing conservation easements during the year
                                                                                                                                                    •             •
          a
  7       Amount of expenses incurred in monitoring, inspecting, handling of violations, and enforcing conservation easements during the year
          a$
  8       Does each conservation easement reported on line 2(d) above satisfy the requirements of section 170(h)(4)(B)(i)

  9
          and section 170(h)(4)(B)(ii)? . . . . . . . . . . . . . . . . . . . . . . . . . . .
          In Part XIII, describe how the organization reports conservation easements in its revenue and expense statement, and
                                                                                                                                 Yes      No        •             •


-
          balance sheet, and include, if applicable, the text of the footnote to the organization’s financial statements that describes the
          organization’s accounting for conservation easements.
 Part III        Organizations Maintaining Collections of Art, Historical Treasures, or Other Similar Assets.
                 Complete if the organization answered “Yes” on Form 990, Part IV, line 8.
  1a      If the organization elected, as permitted under SFAS 116 (ASC 958), not to report in its revenue statement and balance sheet
          works of art, historical treasures, or other similar assets held for public exhibition, education, or research in furtherance of
          public service, provide, in Part XIII, the text of the footnote to its financial statements that describes these items.
    b If the organization elected, as permitted under SFAS 116 (ASC 958), to report in its revenue statement and balance sheet
      works of art, historical treasures, or other similar assets held for public exhibition, education, or research in furtherance of
      public service, provide the following amounts relating to these items:
          (i) Revenue included on Form 990, Part VIII, line 1 . . . . . . . . . . . . . . . . a $
          (ii) Assets included in Form 990, Part X . . . . . . . . . . . . . . . . . . . . a $
  2       If the organization received or held works of art, historical treasures, or other similar assets for financial gain, provide the
          following amounts required to be reported under SFAS 116 (ASC 958) relating to these items:
      a Revenue included on Form 990, Part VIII, line 1        .   .   .   .    .   .   .   .   .   .    .   .   .   .     .   .   .   a    $
      b Assets included in Form 990, Part X . . . .            .   .   .   .    .   .   .   .   .   .    .   .   .   .     .   .   .   a    $
For Paperwork Reduction Act Notice, see the Instructions for Form 990.                                                                      Schedule D (Form 990) 2018
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          TRUE THE VOTE, INC                                               XX-XXXXXXX


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Schedule D (Form 990) 2018
 Part III
  3

      a
                                                                                                                   Page 2
                Organizations Maintaining Collections of Art, Historical Treasures, or Other Similar Assets (continued)
          Using the organization’s acquisition, accession, and other records, check any of the following that are a significant use of its
          collection items (check all that apply):
    • Public   exhibition                                         d • Loan or exchange programs
    • Preservation for future generations
      b Scholarly research                                        e • Other

  4
    •Provide a description of the organization’s collections and explain how they further the organization’s exempt purpose in Part
      c

          XIII.




-
  5       During the year, did the organization solicit or receive donations of art, historical treasures, or other similar

 Part IV
          assets to be sold to raise funds rather than to be maintained as part of the organization’s collection? . .
                Escrow and Custodial Arrangements.
                                                                                                                                                • Yes • No
                Complete if the organization answered “Yes” on Form 990, Part IV, line 9, or reported an amount on Form
                990, Part X, line 21.
  1a      Is the organization an agent, trustee, custodian or other intermediary for contributions or other assets not
          included on Form 990, Part X? . . . . . . . . . . . . . . . . . . . . . . . . . .
      b If “Yes,” explain the arrangement in Part XIII and complete the following table:
                                                                                                                                                • Yes • No
                                                                                                                                           Amount
   c      Beginning balance . . . . . . . . . . . . . . . . . . . . . .                               1c
   d      Additions during the year     . . . . . . . . . . . . . . . . . . .                         1d
   e      Distributions during the year   . . . . . . . . . . . . . . . . . .                         1e
   f      Ending balance . . . . . . . . . . . . . . . . . . . . . . .                              I 1f I
                                                                                                                                                •. Yes • No
-
  2a      Did the organization include an amount on Form 990, Part X, line 21, for escrow or custodial account liability?
   b
  Part V
          If “Yes,” explain the arrangement in Part XIII. Check here if the explanation has been provided on Part XIII . .
                Endowment Funds.
                                                                                                                                                   .   •
                Complete if the organization answered “Yes” on Form 990, Part IV, line 10.
                                                   (a) Current year       (b) Prior year      (c) Two years back       (d) Three years back     (e) Four years back
  1a Beginning of year balance . . .
   b Contributions . . . . . . .
   c Net investment earnings, gains, and
     losses . . . . . . . . . .
      d Grants or scholarships . . . .
      e Other expenditures for facilities and
        programs . . . . . . . . .
    f     Administrative expenses . . . .
   g      End of year balance . . . . .
  2       Provide the estimated percentage of the current year end balance (line 1g, column (a)) held as:
    a     Board designated or quasi-endowment a                   %
    b     Permanent endowment a                   %
    c     Temporarily restricted endowment a                 %
          The percentages on lines 2a, 2b, and 2c should equal 100%.
  3a      Are there endowment funds not in the possession of the organization that are held and administered for the
          organization by:                                                                                                                                Yes No
      (i) unrelated organizations . . . . . . . . . . . . . . . . . . . .                                     .    .     .   .   .   .     .     3a(i)
      (ii) related organizations . . . . . . . . . . . . . . . . . . . . .                                    .    .     .   .   .   .     .     3a(ii)




-
    b If “Yes” on line 3a(ii), are the related organizations listed as required on Schedule R? .              .    .     .   .   .   .     .      3b
  4   Describe in Part XIII the intended uses of the organization’s endowment funds.
 Part VI        Land, Buildings, and Equipment.
                Complete if the organization answered “Yes” on Form 990, Part IV, line 11a. See Form 990, Part X, line 10.
                       Description of property          (a) Cost or other basis   (b) Cost or other basis     (c) Accumulated                   (d) Book value
                                                             (investment)                 (other)                depreciation

  1a   Land . . . . . . . . . . .
   b   Buildings . . . . . . . . . .
   c   Leasehold improvements       . . . .
   d   Equipment . . . . . . . . .
   e   Other . . . . . . . . . . .
Total. Add lines 1a through 1e. (Column (d) must equal Form 990, Part X, column (B), line 10c.) .                  .     .   .   . a
QNA                                                                                                                                      Schedule D (Form 990) 2018
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Schedule D (Form 990) 2018                                                                                                                                                    Page 3
 Part VII         Investments—Other Securities.
                  Complete if the organization answered “Yes” on Form 990, Part IV, line 11b. See Form 990, Part X, line 12.
                             (a) Description of security or category                                   (b) Book value                        (c) Method of valuation:
                                   (including name of security)                                                                          Cost or end-of-year market value

(1) Financial derivatives          . . . . . . . . . . . . . . .
(2) Closely-held equity interests . . . . . . . . . . . . .
(3) Other
            -----------------------------------------------------------------------------------+-----------+----------------------
   (A)
------------------------------------------------------------------------------------------------1----------+-----------------------
   (B)
------------------------------------------------------------------------------------------------t----------+-----------------------
   (C)
------------------------------------------------------------------------------------------------1----------+-----------------------
   (D)
------------------------------------------------------------------------------------------------t----------+-----------------------
   (E)
------------------------------------------------------------------------------------------------1----------+-----------------------
   (F)
------------------------------------------------------------------------------------------------t----------+-----------------------
   (G)
------------------------------------------------------------------------------------------------1----------+-----------------------
   (H)
------------------------------------------------------------------------------------------------t----------+----------------------~
Total. (Column (b) must equal Form 990, Part X, col. (B) line 12.) a                                                               I
Part VIII         Investments—Program Related.
                  Complete if the organization answered “Yes” on Form 990, Part IV, line 11c. See Form 990, Part X, line 13.
                                 (a) Description of investment                                         (b) Book value                        (c) Method of valuation:
                                                                                                                                         Cost or end-of-year market value

 (1)
 (2)
 (3)
 (4)
 (5)
 (6)
 (7)
 (8)
 (9)
Total. (Column (b) must equal Form 990, Part X, col. (B) line 13.) a                                                                                                                I
 Part IX          Other Assets.
                  Complete if the organization answered “Yes” on Form 990, Part IV, line 11d. See Form 990, Part X, line 15.
                                                                   (a) Description                                                                           (b) Book value

 (1)
 (2)
 (3)
 (4)
 (5)
 (6)
 (7)
 (8)
 (9)
Total. (Column (b) must equal Form 990, Part X, col. (B) line 15.) .                       .   .   .     .   .   .   .   .   .   .   .    .   . a
  Part X          Other Liabilities.
                  Complete if the organization answered “Yes” on Form 990, Part IV, line 11e or 11f. See Form 990, Part X,
                  line 25.
1.                    (a) Description of liability                            (b) Book value
 (1) Federal income taxes
 (2)
 (3)
 (4)
 (5)
 (6)
 (7)
 (8)
 (9)
Total. (Column (b) must equal Form 990, Part X, col. (B) line 25.) a
2. Liability for uncertain tax positions. In Part XIII, provide the text of the footnote to the organization’s financial statements that reports the
organization’s liability for uncertain tax positions under FIN 48 (ASC 740). Check here if the text of the footnote has been provided in Part XIII
QNA
                                                                                                                                                                                •
                                                                                                                                                       Schedule D (Form 990) 2018
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         TRUE THE VOTE, INC                                                 -
Schedule D (Form 990) 2018                                                                                                                       Page 4
 Part XI        Reconciliation of Revenue per Audited Financial Statements With Revenue per Return.
                Complete if the organization answered “Yes” on Form 990, Part IV, line 12a.
  1   Total revenue, gains, and other support per audited financial statements . .            .   .   .   .   .   .   .   1
  2   Amounts included on line 1 but not on Form 990, Part VIII, line 12:
    a Net unrealized gains (losses) on investments . . . . . . . . .              2a
    b Donated services and use of facilities   . . . . . . . . . . .              2b
    c Recoveries of prior year grants . . . . . . . . . . . . . .                 2c
    d Other (Describe in Part XIII.) . . . . . . . . . . . . . . .                2d
    e Add lines 2a through 2d . . . . . . . . . . . . . . . . . .                             .   .   .   .   .   .   .   2e
  3   Subtract line 2e from line 1 . . . . . . . . . . . . . . . . .                          .   .   .   .   .   .   .    3
  4   Amounts included on Form 990, Part VIII, line 12, but not on line 1:
    a Investment expenses not included on Form 990, Part VIII, line 7b . .        4a
    b Other (Describe in Part XIII.) . . . . . . . . . . . . . . .                4b
    c Add lines 4a and 4b . . . . . . . . . . . . . . . . . . .                               .   .   .   .   .   .   .   4c
  5   Total revenue. Add lines 3 and 4c. (This must equal Form 990, Part I, line 12.)         .   .   .   .   .   .   .    5
 Part XII       Reconciliation of Expenses per Audited Financial Statements With Expenses per Return.
                Complete if the organization answered “Yes” on Form 990, Part IV, line 12a.
  1   Total expenses and losses per audited financial statements . . . . . . .                    .   .   .   .   .   .   1
  2   Amounts included on line 1 but not on Form 990, Part IX, line 25:
    a Donated services and use of facilities   . . . . . . . . . . .              2a
    b Prior year adjustments . . . . . . . . . . . . . . . .                      2b
    c Other losses . . . . . . . . . . . . . . . . . . . .                        2c
    d Other (Describe in Part XIII.) . . . . . . . . . . . . . . .                2d
    e Add lines 2a through 2d . . . . . . . . . . . . . . . . . . .                               .   .   .   .   .   .   2e
  3   Subtract line 2e from line 1 . . . . . . . . . . . . . . . . . .                            .   .   .   .   .   .    3
  4   Amounts included on Form 990, Part IX, line 25, but not on line 1:
    a Investment expenses not included on Form 990, Part VIII, line 7b . .        4a
    b Other (Describe in Part XIII.) . . . . . . . . . . . . . . .                4b
    c Add lines 4a and 4b . . . . . . . . . . . . . . . . . . . .                                 .   .   .   .   .   .   4c
  5   Total expenses. Add lines 3 and 4c. (This must equal Form 990, Part I, line 18.) .          .   .   .   .   .   .    5
Part XIII       Supplemental Information.
Provide the descriptions required for Part II, lines 3, 5, and 9; Part III, lines 1a and 4; Part IV, lines 1b and 2b; Part V, line 4; Part X, line
2; Part XI, lines 2d and 4b; and Part XII, lines 2d and 4b. Also complete this part to provide any additional information.




QNA                                                                                                                           Schedule D (Form 990) 2018
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SCHEDULE J                                          Compensation Information                                                                      OMB No. 1545-0047


                                                                                                                                                   2018
(Form 990)                            For certain Officers, Directors, Trustees, Key Employees, and Highest
                                                             Compensated Employees
                                   a Complete if the organization answered “Yes” on Form 990, Part IV, line 23.
                                                               a Attach to Form 990.                                                              Open to Public
Department of the Treasury
Internal Revenue Service            a Go to www.irs.gov/Form990 for instructions and the latest information.                                       Inspection
Name of the organization                                                                                            Employer identification number

   TRUE THE VOTE, INC                                                                                                                             XX-XXXXXXX
Part I Questions Regarding Compensation
                                                                                                                                                           Yes   No
   1a     Check the appropriate box(es) if the organization provided any of the following to or for a person listed on Form
          990, Part VII, Section A, line 1a. Complete Part III to provide any relevant information regarding these items.
          • First-class  or charter travel                          • Housing  allowance or residence for personal use
          • Tax indemnification and gross-up payments
            Travel  for companions                                  • Health or social
                                                                      Payments   for business use of personal residence
          • Discretionary spending account                          • Personal servicesclub(such
                                                                                              dues or initiation fees
          •                                                         •                            as maid, chauffeur, chef)

    b If any of the boxes on line 1a are checked, did the organization follow a written policy regarding payment
      or reimbursement or provision of all of the expenses described above? If “No,” complete Part III to
      explain . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                     1b    X
   2      Did the organization require substantiation prior to reimbursing or allowing expenses incurred by all
          directors, trustees, and officers, including the CEO/Executive Director, regarding the items checked on line
          1a? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                    2    X

   3      Indicate which, if any, of the following the filing organization used to establish the compensation of the
          organization’s CEO/Executive Director. Check all that apply. Do not check any boxes for methods used by a
          related organization to establish compensation of the CEO/Executive Director, but explain in Part III.
          • Compensation  committee                                 • Written employment contract
          • Form 990 of other organizations
            Independent compensation    consultant                  • Approval by thesurvey
                                                                      Compensation          or study
          •                                                         •                 board or compensation committee

   4      During the year, did any person listed on Form 990, Part VII, Section A, line 1a, with respect to the filing
          organization or a related organization:
    a Receive a severance payment or change-of-control payment? . . . . . . . . . . . . . . .                                                         4a         X
    b Participate in, or receive payment from, a supplemental nonqualified retirement plan? . . . . . . .                                             4b         X
    c Participate in, or receive payment from, an equity-based compensation arrangement? . . . . . . .                                                4c         X
      If “Yes” to any of lines 4a–c, list the persons and provide the applicable amounts for each item in Part III.

          Only section 501(c)(3), 501(c)(4), and 501(c)(29) organizations must complete lines 5–9.
   5      For persons listed on Form 990, Part VII, Section A, line 1a, did the organization pay or accrue any
          compensation contingent on the revenues of:
       a The organization? . . . . . . . . .                .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .     .       5a         X
       b Any related organization? . . . . . .              .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .     .       5b         X
         If “Yes” on line 5a or 5b, describe in Part III.

   6      For persons listed on Form 990, Part VII, Section A, line 1a, did the organization pay or accrue any
          compensation contingent on the net earnings of:
       a The organization? . . . . . . . . .                .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .     .       6a         X
       b Any related organization? . . . . . .              .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .     .       6b         X
         If “Yes” on line 6a or 6b, describe in Part III.

   7      For persons listed on Form 990, Part VII, Section A, line 1a, did the organization provide any nonfixed
          payments not described on lines 5 and 6? If “Yes,” describe in Part III . . . . . . . . . . . . .                                            7         X
   8      Were any amounts reported on Form 990, Part VII, paid or accrued pursuant to a contract that was subject
          to the initial contract exception described in Regulations section 53.4958-4(a)(3)? If “Yes,” describe
          in Part III . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                8         X
   9      If “Yes” on line 8, did the organization also follow the rebuttable presumption procedure described in
          Regulations section 53.4958-6(c)?   . . . . . . . . . . . . . . . . . . . . . . . .                                                          9
For Paperwork Reduction Act Notice, see the Instructions for Form 990.                                                                      Schedule J (Form 990) 2018
 QNA
          TRUE THE VOTE, INC                                                                                                                            XX-XXXXXXX
 Schedule J (Form 990) 2018                                                                                                                                                                     Page 2
  Part II       Officers, Directors, Trustees, Key Employees, and Highest Compensated Employees. Use duplicate copies if additional space is needed.
 For each individual whose compensation must be reported on Schedule J, report compensation from the organization on row (i) and from related organizations, described in the
 instructions, on row (ii). Do not list any individuals that aren't listed on Form 990, Part VII.
 Note: The sum of columns (B)(i)–(iii) for each listed individual must equal the total amount of Form 990, Part VII, Section A, line 1a, applicable column (D) and (E) amounts for that individual.
                                                  (B) Breakdown of W-2 and/or 1099-MISC compensation
                                                                                                                (C) Retirement and     (D) Nontaxable     (E) Total of columns      (F) Compensation
                                                    (i) Base        (ii) Bonus & incentive      (iii) Other       other deferred           benefits             (B)(i)–(D)       in column (B) reported
              (A) Name and Title                                                                                                                                                   as deferred on prior
                                                  compensation           compensation          reportable         compensation
                                                                                             compensation                                                                                Form 990

           CATHERINE ENGELBRECHT          (i)      143071                                                                                                        143071
      1    EXECUTIVE DIRECTOR            (ii)
                                         (i)
      2                                  (ii)
                                         (i)
      3                                  (ii)
                                         (i)
      4                                  (ii)
                                         (i)
      5                                  (ii)
                                         (i)
      6                                  (ii)
                                         (i)
      7                                  (ii)
                                         (i)
      8                                  (ii)
                                         (i)
      9                                  (ii)
                                         (i)
  10                                     (ii)
                                         (i)
  11                                     (ii)
                                         (i)
  12                                     (ii)
                                         (i)
  13                                     (ii)
                                         (i)
  14                                     (ii)
                                         (i)
  15                                     (ii)
                                         (i)
  16                                     (ii)
                                                                                                                                                                                                          Case 4:20-cv-04034 Document 41-2 Filed on 01/11/21 in TXSD Page 143 of 161




                                                                                                                                                                            Schedule J (Form 990) 2018


QNA
Schedule J (Form 990) 2018                                                                                                                  XX-XXXXXXX              Page 3
                                     TRUE THE VOTE, INC
 Part III  Supplemental Information
Provide the information, explanation, or descriptions required for Part I, lines 1a, 1b, 3, 4a, 4b, 4c, 5a, 5b, 6a, 6b, 7, and 8, and for Part II. Also complete this part
for any additional information.
                                                                                                                                                                                 Case 4:20-cv-04034 Document 41-2 Filed on 01/11/21 in TXSD Page 144 of 161




                                                                                                                                                    Schedule J (Form 990) 2018

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SCHEDULE L                           Transactions With Interested Persons                                                                                         OMB No. 1545-0047
(Form 990 or 990-EZ) a Complete if the organization answered “Yes” on Form 990, Part IV, line 25a, 25b, 26, 27, 28a,
                                                         28b, or 28c, or Form 990-EZ, Part V, line 38a or 40b.                                                        2018
Department of the Treasury                                      a Attach to Form 990 or Form 990-EZ.                                                              Open To Public
Internal Revenue Service                         a Go to www.irs.gov/Form990 for instructions and the latest information.                                         Inspection
Name of the organization                                                                                                            Employer identification number

   TRUE THE VOTE, INC                                                                                 XX-XXXXXXX
 Part I Excess Benefit Transactions (section 501(c)(3), section 501(c)(4), and 501(c)(29) organizations only).
                  Complete if the organization answered “Yes” on Form 990, Part IV, line 25a or 25b, or Form 990-EZ, Part V, line 40b.
                                                           (b) Relationship between disqualified person and                                                                 (d) Corrected?
   1       (a) Name of disqualified person
                                                                              organization
                                                                                                                             (c) Description of transaction
                                                                                                                                                                             Yes     No
 (1)
 (2)
 (3)
 (4)
 (5)
 (6)
  2        Enter the amount of tax incurred by the organization managers or disqualified persons during the year
           under section 4958 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . a                                                                          $




-
   3       Enter the amount of tax, if any, on line 2, above, reimbursed by the organization                             .     .    .   .   .     .    .    . a    $

 Part II          Loans to and/or From Interested Persons.
                  Complete if the organization answered “Yes” on Form 990-EZ, Part V, line 38a or Form 990, Part IV, line 26; or if the
                  organization reported an amount on Form 990, Part X, line 5, 6, or 22.

  (a) Name of interested person        (b) Relationship      (c) Purpose of    (d) Loan to or       (e) Original       (f) Balance due          (g) In default? (h) Approved (i) Written
                                       with organization          loan            from the       principal amount                                                by board or agreement?
                                                                               organization?                                                                     committee?

                                                                                To      From                                                     Yes       No   Yes    No    Yes     No
 (1) CATHERINE ENGELBREC EXECUITVE DIR ADVANCES FOR Y        N              61896                                                  61896                   X      X            X
 (2)
 (3)
 (4)
 (5)
 (6)
 (7)
 (8)
 (9)
(10)
Total    . . . . . . . . . . . . . . . . . . . . . . . . .a $                                                                 61896                                                          I
Part III    Grants or Assistance Benefiting Interested Persons.
            Complete if the organization answered “Yes” on Form 990, Part IV, line 27.
       (a) Name of interested person         (b) Relationship between interested     (c) Amount of assistance       (d) Type of assistance                  (e) Purpose of assistance
                                                 person and the organization
 (1)
 (2)
 (3)
 (4)
 (5)
 (6)
 (7)
 (8)
 (9)
(10)
For Paperwork Reduction Act Notice, see the Instructions for Form 990 or 990-EZ.                                                                Schedule L (Form 990 or 990-EZ) 2018
QNA
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-
Schedule L (Form 990 or 990-EZ) 2018

Part IV       Business Transactions Involving Interested Persons.
              Complete if the organization answered “Yes” on Form 990, Part IV, line 28a, 28b, or 28c.
            (a) Name of interested person         (b) Relationship between
                                                 interested person and the
                                                         organization
                                                                             (c) Amount of
                                                                               transaction
                                                                                                 (d) Description of transaction
                                                                                                                                           Page 2




                                                                                                                                    (e) Sharing of
                                                                                                                                    organization’s
                                                                                                                                      revenues?

                                                                                                                                     Yes     No
 (1)
 (2)
 (3)
 (4)
 (5)
 (6)
 (7)
 (8)
 (9)
(10)
 Part V       Supplemental Information.
              Provide additional information for responses to questions on Schedule L (see instructions).




QNA                                                                                                         Schedule L (Form 990 or 990-EZ) 2018
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SCHEDULE O                         Supplemental Information to Form 990 or 990-EZ                                          OMB No. 1545-0047


                                                                                                                             2018
(Form 990 or 990-EZ)              Complete to provide information for responses to specific questions on
                                      Form 990 or 990-EZ or to provide any additional information.

Department of the Treasury
                                                     a Attach to Form 990 or 990-EZ.                                      Open to Public
                                           a Go to www.irs.gov/Form990 for the latest information.
Internal Revenue Service                                                                                                  Inspection
Name of the organization                                                                             Employer identification number

   TRUE THE VOTE, INC                                                                                       XX-XXXXXXX
   PART IX, LINE 24e:

   Other program service expenses Payment processing, additional

   expenses




For Paperwork Reduction Act Notice, see the Instructions for Form 990 or 990-EZ.                           Schedule O (Form 990 or 990-EZ) (2018)
QNA
                                                                                                                                                                                                              OMB No. 1545-0047
SCHEDULE R                                                       Related Organizations and Unrelated Partnerships
(Form 990)
                                                          a Complete if the organization answered “Yes” on Form 990, Part IV, line 33, 34, 35b, 36, or 37.                                                     2018
                                                                                                 a Attach to Form 990.                                                                                      Open to Public
Department of the Treasury
Internal Revenue Service                                               a Go to www.irs.gov/Form990 for instructions and the latest information.                                                              Inspection
Name of the organization                                                                                                                                                                         Employer identification number

        TRUE THE VOTE, INC                                                                                                                                                                         XX-XXXXXXX
 Part I         Identification of Disregarded Entities. Complete if the organization answered “Yes” on Form 990, Part IV, line 33.




I
                                                (a)                                                              (b)                                 (c)                 (d)                     (e)                       (f)
                    Name, address, and EIN (if applicable) of disregarded entity                           Primary activity                Legal domicile (state    Total income         End-of-year assets        Direct controlling
                                                                                                                                            or foreign country)                                                          entity

 (1) ELECTION INTEGRITY LLC XX-XXXXXXX
    PO BOX 131768 HOUSTON, TX 77219                                                           ELECTION QUALITY REVIEWS                           TX                                                            NA
 (2)

 (3)

 (4)

 (5)

 (6)


 Part II        Identification of Related Tax-Exempt Organizations. Complete if the organization answered “Yes” on Form 990, Part IV, line 34, because it had
                one or more related tax-exempt organizations during the tax year.




I
                                       (a)                                                   (b)                             (c)                      (d)                     (e)                     (f)                   (g)
                   Name, address, and EIN of related organization                       Primary activity           Legal domicile (state      Exempt Code section   Public charity status     Direct controlling     Section 512(b)(13)
                                                                                                                    or foreign country)                             (if section 501(c)(3))          entity              controlled
                                                                                                                                                                                                                          entity?
                                                                                                                                                                                                                      Yes        No
 (1)

 (2)

 (3)

 (4)

 (5)

 (6)
                                                                                                                                                                                                                                          Case 4:20-cv-04034 Document 41-2 Filed on 01/11/21 in TXSD Page 148 of 161




 (7)

For Paperwork Reduction Act Notice, see the Instructions for Form 990.                                                                                                                            Schedule R (Form 990) 2018
 QNA
        TRUE THE VOTE, INC                                                                                                                                                           XX-XXXXXXX
Schedule R (Form 990) 2018                                                                                                                                                                                                          Page 2

Part III       Identification of Related Organizations Taxable as a Partnership. Complete if the organization answered “Yes” on Form 990, Part IV, line 34,




I
               because it had one or more related organizations treated as a partnership during the tax year.
                  (a)                                 (b)                 (c)                 (d)                      (e)                   (f)                (g)               (h)                 (i)            (j)           (k)
       Name, address, and EIN of                Primary activity         Legal        Direct controlling         Predominant            Share of total    Share of end-of- Disproportionate     Code V—UBI       General or    Percentage
         related organization                                          domicile             entity             income (related,           income            year assets      allocations?     amount in box 20   managing      ownership
                                                                       (state or                                   unrelated,                                                                  of Schedule K-1    partner?
                                                                                                                excluded from
                                                                        foreign                                                                                                                  (Form 1065)
                                                                                                                   tax under
                                                                       country)                               sections 512—514)
                                                                                                                                                                               Yes No                            Yes No
 (1)

 (2)

 (3)

 (4)

 (5)

 (6)

 (7)


Part IV        Identification of Related Organizations Taxable as a Corporation or Trust. Complete if the organization answered “Yes” on Form 990, Part IV,




I
               line 34, because it had one or more related organizations treated as a corporation or trust during the tax year.
                            (a)                                          (b)                            (c)                      (d)                     (e)                  (f)                 (g)            (h)              (i)
        Name, address, and EIN of related organization             Primary activity               Legal domicile         Direct controlling        Type of entity        Share of total       Share of       Percentage   Section 512(b)(13)
                                                                                            (state or foreign country)         entity         (C corp, S corp, or trust)   income         end-of-year assets ownership       controlled
                                                                                                                                                                                                                               entity?
                                                                                                                                                                                                                           Yes       No
 (1)

 (2)

 (3)

 (4)

 (5)

 (6)
                                                                                                                                                                                                                                               Case 4:20-cv-04034 Document 41-2 Filed on 01/11/21 in TXSD Page 149 of 161




 (7)

                                                                                                                                                                                                          Schedule R (Form 990) 2018
 QNA
        TRUE THE VOTE, INC                                                                                                                                           XX-XXXXXXX
Schedule R (Form 990) 2018                                                                                                                                                                                         Page 3

 Part V       Transactions With Related Organizations. Complete if the organization answered “Yes” on Form 990, Part IV, line 34, 35b, or 36.




I
  Note: Complete line 1 if any entity is listed in Parts II, III, or IV of this schedule.                                                                                                                    Yes    No
  1   During the tax year, did the organization engage in any of the following transactions with one or more related organizations listed in Parts II–IV?
   a Receipt of (i) interest, (ii) annuities, (iii) royalties, or (iv) rent from a controlled entity . . . . . . . . . . . . . . . . . . . .                                             .   .   .     1a
   b Gift, grant, or capital contribution to related organization(s) . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                             .   .   .     1b
   c Gift, grant, or capital contribution from related organization(s)           . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                   .   .   .     1c
   d Loans or loan guarantees to or for related organization(s) . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                .   .   .     1d
   e Loans or loan guarantees by related organization(s) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                   .   .   .     1e

    f   Dividends from related organization(s) . . . . . . . . . . .                   .   .   .   .   .   .   .   .   .    .   .   .    .   .   .   .   .   .   .   .   .   .   .   .   .   .   .     1f
    g   Sale of assets to related organization(s) . . . . . . . . . . .                .   .   .   .   .   .   .   .   .    .   .   .    .   .   .   .   .   .   .   .   .   .   .   .   .   .   .     1g
    h   Purchase of assets from related organization(s) . . . . . . . .                .   .   .   .   .   .   .   .   .    .   .   .    .   .   .   .   .   .   .   .   .   .   .   .   .   .   .     1h
    i   Exchange of assets with related organization(s) . . . . . . . .                .   .   .   .   .   .   .   .   .    .   .   .    .   .   .   .   .   .   .   .   .   .   .   .   .   .   .     1i
    j   Lease of facilities, equipment, or other assets to related organization(s)     .   .   .   .   .   .   .   .   .    .   .   .    .   .   .   .   .   .   .   .   .   .   .   .   .   .   .     1j

    k Lease of facilities, equipment, or other assets from related organization(s) . . . . . . .                       .    .   .   .    .   .   .   .   .   .   .   .   .   .   .   .   .   .   .    1k
    l Performance of services or membership or fundraising solicitations for related organization(s) .                 .    .   .   .    .   .   .   .   .   .   .   .   .   .   .   .   .   .   .     1l
    m Performance of services or membership or fundraising solicitations by related organization(s) .                  .    .   .   .    .   .   .   .   .   .   .   .   .   .   .   .   .   .   .    1m
    n Sharing of facilities, equipment, mailing lists, or other assets with related organization(s) . . .              .    .   .   .    .   .   .   .   .   .   .   .   .   .   .   .   .   .   .    1n
    o Sharing of paid employees with related organization(s) . . . . . . . . . . . . . .                               .    .   .   .    .   .   .   .   .   .   .   .   .   .   .   .   .   .   .    1o

    p Reimbursement paid to related organization(s) for expenses .         .   .   .   .   .   .   .   .   .   .   .   .    .   .   .    .   .   .   .   .   .   .   .   .   .   .   .   .   .   .     1p
    q Reimbursement paid by related organization(s) for expenses .         .   .   .   .   .   .   .   .   .   .   .   .    .   .   .    .   .   .   .   .   .   .   .   .   .   .   .   .   .   .     1q

   r    Other transfer of cash or property to related organization(s) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                     1r
   s    Other transfer of cash or property from related organization(s) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                     1s
  2     If the answer to any of the above is “Yes,” see the instructions for information on who must complete this line, including covered relationships and transaction thresholds.
                                                      (a)                                                                      (b)                        (c)                                     (d)
                                         Name of related organization                                                      Transaction               Amount involved             Method of determining amount involved
                                                                                                                           type (a—s)



 (1)

 (2)

 (3)

 (4)
                                                                                                                                                                                                                            Case 4:20-cv-04034 Document 41-2 Filed on 01/11/21 in TXSD Page 150 of 161




 (5)

 (6)
                                                                                                                                                                                         Schedule R (Form 990) 2018
 QNA
       TRUE THE VOTE, INC                                                                                                                                  XX-XXXXXXX
Schedule R (Form 990) 2018                                                                                                                                                                                 Page 4

Part VI       Unrelated Organizations Taxable as a Partnership. Complete if the organization answered “Yes” on Form 990, Part IV, line 37.




I
Provide the following information for each entity taxed as a partnership through which the organization conducted more than five percent of its activities (measured by total assets
or gross revenue) that was not a related organization. See instructions regarding exclusion for certain investment partnerships.
                       (a)                         (b)                 (c)                 (d)               (e)               (f)          (g)              (h)               (i)            (j)          (k)
          Name, address, and EIN of entity   Primary activity    Legal domicile       Predominant     Are all partners     Share of      Share of     Disproportionate   Code V—UBI       General or   Percentage
                                                                (state or foreign   income (related,      section        total income   end-of-year     allocations?   amount in box 20   managing     ownership
                                                                    country)      unrelated, excluded    501(c)(3)                        assets                        of Schedule K-1    partner?
                                                                                     from tax under   organizations?                                                      (Form 1065)
                                                                                  sections 512—514)
                                                                                                        Yes No                                        Yes No                              Yes No
 (1)

 (2)

 (3)

 (4)

 (5)

 (6)

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                                                                                                                                                                                                                    Case 4:20-cv-04034 Document 41-2 Filed on 01/11/21 in TXSD Page 151 of 161




                                                                                                                                                                                  Schedule R (Form 990) 2018
 QNA
             Case 4:20-cv-04034 Document 41-2 Filed on 01/11/21 in TXSD Page 152 of 161
   TRUE THE VOTE, INC                                                         XX-XXXXXXX



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Schedule R (Form 990) 2018                                                                                             Page 5
              Supplemental Information.
Part VII      Provide additional information for responses to questions on Schedule R. See instructions.




QNA                                                                                                Schedule R (Form 990) 2018
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Form    8868                  Application for Automatic Extension of Time To File an
                                            Exempt Organization Return
(Rev. January 2019)                                                                                                                      OMB No. 1545-1709
                                                       a File a separate application for each return.
Department of the Treasury
                                                a Go to www.irs.gov/Form8868 for the latest information.
Internal Revenue Service
Electronic filing (e-file). You can electronically file Form 8868 to request a 6-month automatic extension of time to file any of the
forms listed below with the exception of Form 8870, Information Return for Transfers Associated With Certain Personal Benefit
Contracts, for which an extension request must be sent to the IRS in paper format (see instructions). For more details on the electronic
filing of this form, visit www.irs.gov/e-file-providers/e-file-for-charities-and-non-profits.
Automatic 6-Month Extension of Time. Only submit original (no copies needed).
All corporations required to file an income tax return other than Form 990-T (including 1120-C filers), partnerships, REMICs, and trusts
must use Form 7004 to request an extension of time to file income tax returns.
                                                                                                         Enter filer’s identifying number, see instructions
Type or           Name of exempt organization or other filer, see instructions.                          Employer identification number (EIN) or
print             TRUE THE VOTE, INC                                                                             XX-XXXXXXX
                  Number, street, and room or suite no. If a P.O. box, see instructions.                 Social security number (SSN)
File by the
due date for      PO BOX 131768
filing your
                  City, town or post office, state, and ZIP code. For a foreign address, see instructions.
return. See
instructions.     HOUSTON, TX 77219-1768
Enter the Return Code for the return that this application is for (file a separate application for each return)              .   .   .   .   .   .    IT]
                                                                                                                                                      0 1
 Application                                                           Return     Application                                                        Return
 Is For                                                                Code       Is For                                                             Code
 Form 990 or Form 990-EZ                                                 01       Form 990-T (corporation)                                             07
 Form 990-BL                                                             02       Form 1041-A                                                          08
 Form 4720 (individual)                                                  03       Form 4720 (other than individual)                                    09
 Form 990-PF                                                             04       Form 5227                                                            10
 Form 990-T (sec. 401(a) or 408(a) trust)                                05       Form 6069                                                            11
 Form 990-T (trust other than above)                                     06       Form 8870                                                            12

• The books are in the care of a          CATHERINE ENGELBRECHT
  Telephone No. a           (832) 444-7701                              Fax No. a              (       )     -
• If the organization does not have an office or place of business in the United States, check this box . .
• If this is for a Group Return, enter the organization’s four digit Group Exemption Number (GEN)
                                                                                                                             .   .   .   .    . . . a
                                                                                                                                          . If this is
                                                                                                                                                         •
for the whole group, check this box       . . . a            •
                                                         . If it is for part of the group, check this box . . .
a list with the names and EINs of all members the extension is for.
                                                                                                                             .   a
                                                                                                                                     •    and attach


   1     I request an automatic 6-month extension of time until            11/15, 20 19 , to file the exempt organization return for
         the organization named above. The extension is for the organization’s return for:
             •
         a x calendar year 20 18 or
         a
             • tax year beginning                               , 20       , and ending                             , 20        .

   2     If the tax year entered in line 1 is for less than 12 months, check reason:           • Initial return • Final return
         •   Change in accounting period

   3a If this application is for Forms 990-BL, 990-PF, 990-T, 4720, or 6069, enter the tentative tax, less
      any nonrefundable credits. See instructions.                                                                               3a $
    b If this application is for Forms 990-PF, 990-T, 4720, or 6069, enter any refundable credits and
      estimated tax payments made. Include any prior year overpayment allowed as a credit.                                       3b $
    c Balance due. Subtract line 3b from line 3a. Include your payment with this form, if required, by
      using EFTPS (Electronic Federal Tax Payment System). See instructions.                                                     3c $
Caution: If you are going to make an electronic funds withdrawal (direct debit) with this Form 8868, see Form 8453-EO and Form 8879-EO for payment
instructions.
For Privacy Act and Paperwork Reduction Act Notice, see instructions.                                                                Form 8868 (Rev. 1-2019)
QNA
               Case 4:20-cv-04034 Document 41-2 Filed on 01/11/21 in TXSD Page 154 of 161

Form   8879-EO                                      IRS e-file Signature Authorization                                                   OMB No. 1545-1878
                                                       for an Exempt Organization
                             For calendar year 2018, or fiscal year beginning            , 2018, and ending           , 20
Department of the Treasury
Internal Revenue Service
                                                       a Do not send to the IRS. Keep for your records.
                                                  a Go to www.irs.gov/Form8879EO for the latest information.
                                                                                                                                          2018
Name of exempt organization                                                                                   Employer identification number
 TRUE THE VOTE, INC                                                                                              XX-XXXXXXX
Name and title of officer
 CATHERINE H ENGELBRECHT - EXECUTIVE DIRECTOR

-~------------------
 Part I         Type of Return and Return Information (Whole Dollars Only)
Check the box for the return for which you are using this Form 8879-EO and enter the applicable amount, if any, from the return. If you
check the box on line 1a, 2a, 3a, 4a, or 5a, below, and the amount on that line for the return being filed with this form was blank, then
leave line 1b, 2b, 3b, 4b, or 5b, whichever is applicable, blank (do not enter -0-). But, if you entered -0- on the return, then enter -0- on
the applicable line below. Do not complete more than one line in Part I.
1a Form 990 check here a            •
                              b Total revenue, if any (Form 990, Part VIII, column (A), line 12) .                       .   .    1b
2a Form 990-EZ check here a                 •
                                 b Total revenue, if any (Form 990-EZ, line 9) . . . . . . .                             .   .    2b
3a Form 1120-POL check here a                 •
                                    b Total tax (Form 1120-POL, line 22) . . . . . . . .                                 .   .    3b
4a Form 990-PF check here a                 •
                                 b Tax based on investment income (Form 990-PF, Part VI, line 5)                         .   .    4b
                                        •
5a Form 8868 check here a X b Balance Due (Form 8868, line 3c) . . . . . . . . . . .                                     .   .    5b



-~------------------
 Part II        Declaration and Signature Authorization of Officer
Under penalties of perjury, I declare that I am an officer of the above organization and that I have examined a copy of the
organization’s 2018 electronic return and accompanying schedules and statements and to the best of my knowledge and belief, they
are true, correct, and complete. I further declare that the amount in Part I above is the amount shown on the copy of the
organization’s electronic return. I consent to allow my intermediate service provider, transmitter, or electronic return originator (ERO)
to send the organization’s return to the IRS and to receive from the IRS (a) an acknowledgement of receipt or reason for rejection of
the transmission, (b) the reason for any delay in processing the return or refund, and (c) the date of any refund. If applicable, I
authorize the U.S. Treasury and its designated Financial Agent to initiate an electronic funds withdrawal (direct debit) entry to the
financial institution account indicated in the tax preparation software for payment of the organization’s federal taxes owed on this
return, and the financial institution to debit the entry to this account. To revoke a payment, I must contact the U.S. Treasury Financial
Agent at 1-888-353-4537 no later than 2 business days prior to the payment (settlement) date. I also authorize the financial institutions
involved in the processing of the electronic payment of taxes to receive confidential information necessary to answer inquiries and
resolve issues related to the payment. I have selected a personal identification number (PIN) as my signature for the organization’s
electronic return and, if applicable, the organization’s consent to electronic funds withdrawal.
Officer’s PIN: check one box only
   •
   X I authorize
                                                   ERO firm name
                                                                                                              IIIIII
                                                                                  to enter my PIN 1 0 0 9 5 as my signature
                                                                                                              Enter five numbers, but
                                                                                                              do not enter all zeros

       on the organization’s tax year 2018 electronically filed return. If I have indicated within this return that a copy of the return is
       being filed with a state agency(ies) regulating charities as part of the IRS Fed/State program, I also authorize the aforementioned
       ERO to enter my PIN on the return’s disclosure consent screen.


   • As   an officer of the organization, I will enter my PIN as my signature on the organization’s tax year 2018 electronically filed return.
     If I have indicated within this return that a copy of the return is being filed with a state agency(ies) regulating charities as part of
       the IRS Fed/State program, I will enter my PIN on the return’s disclosure consent screen.
Officer’s signature a                                                                               Date a



-~------------------
Part III        Certification and Authentication
ERO’s EFIN/PIN. Enter your six-digit electronic filing identification
              1I I I I I I I I I I I
number (EFIN) followed by your five-digit self-selected PIN.                                                  7 9 6 1 6 8 1 9 9 4 2
                                                                                                                        Do not enter all zeros


I certify that the above numeric entry is my PIN, which is my signature on the 2018 electronically filed return for the organization
indicated above. I confirm that I am submitting this return in accordance with the requirements of Pub. 4163, Modernized e-File (MeF)
Information for Authorized IRS e-file Providers for Business Returns.
ERO’s signature a            CHAR ESTES                                                             Date a         09/15/2019

                                             ERO Must Retain This Form — See Instructions
                                     Do Not Submit This Form to the IRS Unless Requested To Do So
For Paperwork Reduction Act Notice, see back of form.                                                                                   Form 8879-EO (2018)
QNA
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                          Exhibit Q
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                          Exhibit R
      Case 4:20-cv-04034 Document 41-2 Filed on 01/11/21 in TXSD Page 161 of 161



                                                                                 122020

               Process Date Vendor                        Invoice Number        Payment Reference    Payment Method Disbursement Reference Amount

               11/12/20     OPSEC Group                   11/09/2020, 11:42 PM P20111001 - 8612229 Bill.com EFT      016AHCGKK1LM6IF       -350000.00

                                                                                                                     Subtotal              -350000.00

               11/13/20     IGG Marketing                      1605152061982 P20111201 - 9253597 Bill.com EFT        016KWLGMA1LO5SA        -10000.00

               11/13/20     IGG Marketing                                  1051 P20111201 - 9249862 Bill.com EFT     016FLELDN1LO5SB        -12075.00

                                                                                                                     Subtotal               -22075.00

               11/17/20     Vanessa Ingrassia                                 2 P20111401 - 0011385 Bill.com EFT     016YPKSXX1LSEJU         -1371.00

                                                                                                                     Subtotal                -1371.00

               11/19/20     DataWalk                           1605653116596 P20111701 - 0677832 Bill.com EFT        016JWAOMC1LWBAH        -74865.00

                                                                                                                     Subtotal               -74865.00

               11/20/20     ContentActive, LLC                          20436 P20111201 - 9249509 Bill.com Check     48596195               -10080.00

                                                                                                                     Subtotal               -10080.00

               11/30/20     Kroger Gardis and Regas LLP                       1 P20112701 - 3164913 Bill.com EFT     016LSRSOZ1M97Z8        -15957.00

               11/30/20     Milanovich Law, PLLC                              1 P20112701 - 3164694 Bill.com EFT     016UGYGDO1M97Z9        -21344.99

               11/30/20     Zimolong LLC                                   2839 P20112701 - 3165030 Bill.com EFT     016TLAFSL1M97Z6         -9045.00

                                                                                                                     Subtotal               -46346.99

               12/01/20     Clout Public Aﬀairs                            1370 P20111001 - 8612181 Bill.com Check   48806701                -5000.00

               12/01/20     William Engelbrecht                              10 P20113001 - 3586427 Bill.com EFT     016FONBHA1MBG5Q         -1437.50

                                                                                                                     Subtotal                -6437.50

               12/02/20     Amy Holsworth                                  1201 P20120101 - 3971482 Bill.com EFT     016AZKBAS1MDKQ9         -3630.37

               12/02/20     Clout Public Aﬀairs                            1342 P20120101 - 3971484 Bill.com Check   48843982                -5000.00

               12/02/20     Digital Ocean                          420879911 P20120101 - 3971256 Bill.com EFT        016TMTGDN1MDKQ8          -482.75

               12/02/20     Eric Opiela PLLC                                715 P20120101 - 3971486 Bill.com EFT     016RDLNGX1MDKQA        -25000.00

                                                                                                                     Subtotal               -34113.12

               12/07/20     Maxwell Goss PLLC                               694 P20120401 - 4912647 Bill.com EFT     016CDUFOT1MJWJB        -12183.55

                                                                                                                     Subtotal               -12183.55

               12/09/20     Axiom Strategies LLC                        13519 P20120801 - 5675973 Bill.com Check     49051168                -1500.00

               12/09/20     Genevieve Carter                                  4 P20120801 - 5675961 Bill.com EFT     016KWBRCC1MNXCG         -5000.00

               12/09/20     Michael Dean, LLC                           21188 P20120801 - 5675965 Bill.com Check     49090695               -24787.00

               12/09/20     OPSEC Group                                       7 P20120801 - 5680400 Bill.com EFT     016UZUTGD1MNXCH       -400000.00

               12/09/20     Vanessa Ingrassia                                 3 P20120801 - 5675967 Bill.com EFT     016BOWWVF1MNXCE          -284.00

               12/09/20     William Engelbrecht                               9 P20120801 - 5679398 Bill.com EFT     N/A                     -1200.00

                                                                                                                     Subtotal              -432771.00

               12/17/20     Axiom Strategies LLC                        13084 P20121601 - 8099436 Bill.com Check     49302967                -1500.00

               12/17/20     Barnet Associates                              2793 P20121601 - 8099302 Bill.com Check   49344161               -16800.00

               12/17/20     Gerlernter Tech LLC                               1 P20121601 - 8096004 Bill.com EFT     N/A                    -15000.00

               12/17/20     Vanessa Ingrassia                                 4 P20121601 - 8092706 Bill.com EFT     N/A                      -355.00

                                                                                                                     Subtotal               -33655.00

               12/21/20     Jim Simpson                                150612 P20121801 - 8595979 Bill.com EFT       N/A                     -6000.00

                                                                                                                     Grand Total          -1104763.16




CONFIDENTIAL                                                            1                                                                       TTV 0001
